                              Case 3:19-mc-05027 Document 1-2 Filed 07/24/19 Page 1 of 49

 AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action


                                            UNITED STATES DISTRICT COURT
                                                                              for the
                                                             Western District of Washington
           In re DMCA Subpoena to Cloudflare, Inc.
           "   .. ,------ -� ----
                             -      -�
                                    -
                                            f                                    )
                                     Plaintif                                    )
                                       v.                                        )          Civil Action No.    3:19-mc-05027
                                                                                 )
                                                                                 )
                                    Defendant                                    )
                               SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
                                 OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION

     To:                                                                   Cloudflare, Inc.
                                                           (Name ofperson to whom this subpoena is directed)

    @d' Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the following
documents, electronically stored information, or objects, and to pern1it inspection, copying, testing, or sampling of the
material: See description in Exhibit A attached hereto.



 IP�iace� SpeclalizeaTegafServ1ces                                                          Date and Time:

                                                                                                                                             _I
 '               112 Bryant St., #200
                 San Francisco, CA 94103                                                                     08/19/20i9 9:00 am

     D Inspection of Premises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or
other property possessed or controlled by you at the time, date, and location set forth below, so that the requesting party
may inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.

     Place:                                                                                 Date and Time:

                                                                                        I
 [



       The following provisions of Fed. R. Civ. P. 45 are attached - Rule 45(c), relating to the place of compliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.
Date:

                                       CLERK OF COURT
                                                                                               OR

                                                Signature of Clerk or Deput;y Clerk                                   Attorney's signature


The name, address, e-mail address, and telephone number of the attorney representing (name ofparty)
_______M_G�P_R_E_M_IU�M_L_T_D      _____________� , who issues or requests this subpoena, are:
Spencer D. Freeman, Freeman Law Firm, Inc., 1107 1/2 Tacoma Ave. S., Tacoma, WA 98402; 253-383-4500
                               Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things or the
inspection of premises before trial, a notice and a copy of the subpoena must be served on each party in this case before
it is served on the person to whom it is directed. Fed. R. Civ. P. 45(a)(4).
DMCA Subpoena - Page l
                           Case 3:19-mc-05027 Document 1-2 Filed 07/24/19 Page 2 of 49

 AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Peimit Inspection of Premises in a Civil Action (Page 2)

 Civil Action No.

                                                         PROOF OF SERVICE
                         (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

                I received this subpoena for (name of individual and title, if any)
 011   (date)


                0 I served the subpoena by delivering a copy to the named person as follows:

                 ---       -
                           --�---· - -- -----·------------�----------------                     -      --       ---          -      --

                                                                                           on (date)                                     ; or

                0 I returned the subpoena unexecuted because:



                Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
                tendered to the witness the fees for one day's attendance, and the mileage allowed by law, in the amount of



My fees are$                                       for travel and$                               for services, for a total of$                  0.00



                I declare under penalty of pe1jury that this information is true.


Date:                                                         ------ -------------------------····---·----
                                                                                                    Server's signature



                                                                                                 Printed name and title




                                                                                                     Server's address

Additional infonnation regarding attempted service, etc.:




DMCA Subpoena - Page 2
                         Case 3:19-mc-05027 Document 1-2 Filed 07/24/19 Page 3 of 49

 AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action(Page 3)

                             Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)
 (c) Place of Compliance.                                                               (ii) disclosing an unrctained expert's opinion or information that does
                                                                                   not describe specific occurrences in dispute and results from the expert's
  (1) For a Trial, Hearing, or Deposition. A subpoena may command a                study that was not requested by a party.
person to attend a trial, hearing, or deposition only as follows:                     (C) Spec/fying Conditions as an Alternative. In the circumstances
   (A) within 100 miles of where the person resides, is employed, or               described in Rule 45(d)(3)(B), the court may, instead of quashing or
regularly transacts business in person; or                                         modifying a subpoena, order appearance or production under specified
   (B) within the state where the person resides, is employed, or regularly        conditions if the serving party:
transacts business in person, if the person                                             (i) shows a substantial need for the testimony or material that cannot be
      (i) is a party or a party's officer; or                                      otherwise met without undue hardship; and
      (ii) is commanded to attend a trial and would not incur substantial               (ii) ensures that the subpoenaed person will be reasonably compensated.
expense.
                                                                                   (e) Duties in Responding to a Subpoena.
  (2) For Other Discovery. A subpoena may command:
   (A) production of documents, electronically stored information, or                (1) Producing Documents or Electronically Stored Information. These
tangible things at a place within 100 miles of where the person resides, is        procedures apply to producing documents or electronically stored
employed, or regularly transacts business in person; and                           information:
   (B) inspection of premises at the premises to be inspected.                        (A) Documents. A person responding to a subpoena to produce documents
                                                                                   must produce them as they are kept in the ordinary course of business or
(d) Protecting a Person Subject to a Subpoena; Enforcement.                        must organize and label them to correspond to the categories in the demand.
                                                                                      (B) Form.for Producing Electronically Stored In.formation Not Specified.
  (1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney             If a subpoena does not specify a fonn for producing electronically stored
responsible for issuing and serving a subpoena must take reasonable steps          information, the person responding must produce it in a fmm or forms in
to avoid imposing undue burden or expense on a person subject to the               which it is ordinarily maintained or in a reasonably usable fonn or forms.
subpoena. The court for the district where compliance is required must                (C) Electronically Stored Information Produced in Only One Form. The
enforce this duty and impose an appropriate sanction-which may include             person responding need not produce the same electronically stored
lost earnings and reasonable attorney's fees-on a party or attorney who            information in more than one fo1111.
fails to comply.                                                                      (D) Inaccessible Electronically Stored In.formation. The person
                                                                                   responding need not provide discovery of electronically stored information
  (2) Command to Produce Materials or Permit Inspection.                           from sources that the person identifies as not reasonably accessible because
   (A) Appearance Not Required. A person commanded to produce                      of undue burden or cost. On motion to compel discovery or for a protective
documents, electronically stored information, or tangible things, or to            order, the person responding must show that the information is not
permit the inspection of premises, need not appear in person at the place of       reasonably accessible because of undue burden or cost. If that showing is
production or inspection unless also commanded to appear for a deposition,         made, the court may nonetheless order discovery from such sources if the
hearing, or trial.                                                                 requesting party shows good cause, considering the limitations of Rule
   (B) Objections. A person commanded to produce documents or tangible             26(b)(2)(C). The court may specify conditions for the discovery.
things or to pern1it inspection may serve on the party or attorney designated
in the subpoena a written objection to inspecting, copying, testing, or            (2) Claiming Privilege or Protection.
sampling any or all of the materials or to inspecting the premises-or to             (A) In.formation Withheld. A person withholding subpoenaed information
producing electronically stored information in the form or forms requested.        under a claim that it is privileged or subject to protection as trial-preparation
The objection must be served before the earlier of the time specified for          material must:
compliance or 14 days after the subpoena is served. !f an objection is made,            (i) expressly make the claim; and
the following rules apply:                                                              (ii) describe the nature of the withheld documents, communications, or
      (i) At any time, on notice to the commanded person, the serving party        tangible things in a manner that, without revealing infonnation itself
may move the court for the district where compliance is required for an            privileged or protected, will enable the parties to assess the claim.
order compelling production or inspection.                                           (B) In.formation Produced. If infonnation produced in response to a
      (ii) These acts may be required only as directed in the order, and the       subpoena is subject to a claim of privilege or of protection as
order must protect a person who is neither a party nor a party's officer from      trial-preparation material, the person making the claim may notify any party
significant expense resulting from compliance.                                     that received the information of the claim and the basis for it. After being
                                                                                   notified, a party must promptly return, sequester, or destroy the specified
 (3) Quashing or Mod/fying a Subpoena.                                             infonnation and any copies it has; must not use or disclose the information
   (A) When Required. On timely motion, the court for the district where           until the claim is resolved; must take reasonable steps to retrieve the
compliance is required must quash or modify a subpoena that:                       information if the party disclosed it before being notified; and may promptly
     (i) fails to allow a reasonable time to comply;                               present the information under seal to the court for the district where
     (ii) requires a person to comply beyond the geographical limits               compliance is required for a determination of the claim. The person who
specified in Rule 45(c);                                                           produced the information must preserve the information until the claim is
     (iii) requires disclosure of privileged or other protected matter, if no      resolved.
exception or waiver applies; or
     (iv) subjects a person to undue burden.                                       (g) Contempt.
  (B) When Permitted. To protect a person subject to or affected by a              The court for the district where compliance is required-and also, after a
subpoena, the court for the district where compliance is required may, on          motion is transferred, the issuing comi-may hold in contempt a person
motion, quash or modify the subpoena if it requires:                               who, having been served, fails without adequate excuse to obey the
      (i) disclosing a trade secret or other confidential research,                subpoena or an order related to it.
development, or commercial information; or

       -----··----·�-----·------------------------------------------------                                                                                   --�

                                         For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).




DMCA Subpoena - Page 3
                  Case 3:19-mc-05027 Document 1-2 Filed 07/24/19 Page 4 of 49




                                               Exhibit A
                                              |
                         Documents and Information to be Produced
                             Pursuant to this DMCA Subpoena



        For the period January 1, 2016 through the present, produce all documents,1 account records, and
        other any other information that identify the person(s) or entities that caused the infringement of
        the material described in the attached Exhibit B “Notifications of Copyright Infringements issued
        pursuant to 17 U.S.C. § 512(c)(3) to Registered DMCA Agent for Service Provider Cloudflare,
        Inc”; and/or who unlawfully uploaded MG Premium Ltd’s copyrighted works at the URLs listed
        in the notifications, including but not limited to identification by names, email addresses, IP
        addresses, user history, posting history, physical addresses, telephone numbers, and any other
        identifying information.




1
  Definitions. The term "document" as used herein, means any and all materials falling within subparagraphs (1) through
(4) of Rule 1001, Federal Rules of Evidence, including without limitation computer logs, summaries, account records,
invoices, receipts, spreadsheets, charts, reports, agreements, correspondence, facsimile messages, electronic mail,
memoranda, notes, data, notations, reports and records of any communications (including telephone or other
conversations, interviews, conferences or committee or other meetings), letters, affidavits, statements, plans,
specifications, contracts, licenses, photographs, objects, tangible things, journals, books or other records of accounts,
summaries of accounts, balance sheets, income statements, bills, lists, tabulations, graphs, recordings, computer records
and all other records kept by electronic, photographic or mechanical means, and things similar to any of the foregoing,
however denominated.

DMCA Subpoena – Page 4
               Case 3:19-mc-05027 Document 1-2 Filed 07/24/19 Page 5 of 49




                                   Exhibit B
                                 |
             Notifications of Copyright Infringements
                        Issued Pursuant to
                      17 U.S.C. § 512(c)(3) to
                   Registered DMCA Agent for
                Service Provider Cloudflare, Inc.




DMCA Subpoena – Page 5
                   Case 3:19-mc-05027 Document 1-2 Filed 07/24/19 Page 6 of 49




From:              DMCA <dmca@
Sent:              Monday, July 8, 2019 11:50 AM
To:                abuse@name.com
Cc:                abuse@cloudflare.com
Subject:           Notice of Copyright Infringement veporns.com (#CDVE0708191450BZ)


Whom It May Concern,

DMCA Copyright Infringement Notice

1. Infringed Work: MG PREMIUM LTD. (www.brazzers.com)

2. Search Query:


 http://www.veporns.com/video/jillian‐for‐sale‐danny‐d‐jillian‐janson
 http://www.veporns.com/video/our‐cute‐little‐plaything‐3‐ashley‐adams‐misty‐stone‐isiah‐maxwell
 http://www.veporns.com/video/caught‐by‐her‐boyfriend‐karlee‐grey‐valentina‐nappi‐jessy‐jones‐h24594a776825a78
 http://www.veporns.com/video/pussy‐on‐the‐pool‐table‐seth‐gamble‐avi‐love‐h24588f330c05e1d
 http://www.veporns.com/video/like‐what‐you‐see‐savannah‐stevens‐johnny‐castle
 http://www.veporns.com/video/zz‐lemonade‐kristina‐rose‐kristina‐rose‐jordi‐el‐nio‐polla
 http://www.veporns.com/video/taking‐a‐shine‐to‐her‐tits‐brenna‐sparks‐johnny‐sins
 http://www.veporns.com/video/becoming‐johnny‐sins‐part‐three‐kissa‐sins‐johnny‐sins
 http://www.veporns.com/video/screwbox‐megan‐rain‐the‐mechanic‐h245a4bdfaa2af39
 http://www.veporns.com/video/the‐inside‐her‐layla‐london‐ramon
 http://www.veporns.com/video/power‐bangers‐a‐xxx‐parody‐part‐1‐kimmy‐granger‐xander‐corvus
 http://www.veporns.com/video/air‐blow‐n‐bang‐mike‐mancini‐ivy‐rose‐h245a44eecdb4dcd
 http://www.veporns.com/video/bomb‐pussy‐luna‐star‐charles‐dera
 http://www.veporns.com/video/sexy‐doctor‐adventures‐sahara‐knite‐danny‐d
 http://www.veporns.com/video/whats‐that‐doing‐in‐your‐closet‐van‐wylde‐reagan‐foxx‐h245916c668d0605
 http://www.veporns.com/video/does‐this‐make‐my‐booty‐look‐big‐jake‐adams
 http://www.veporns.com/video/the‐model‐stepmom‐kaylani‐lei‐justin‐hunt
 http://www.veporns.com/video/too‐hot‐to‐handle‐reagan‐foxx‐kyle‐mason
 http://www.veporns.com/video/free‐for‐all‐fuck‐lessons‐xander‐corvus‐chanel‐preston‐markus‐dupree‐dylan‐snow‐
 h245937c32361cff
 http://www.veporns.com/video/squirting‐swingers‐charles‐dera‐keiran‐lee‐adriana‐chechik‐alexis‐fawx‐h245937c32384276
 http://www.veporns.com/video/cock‐of‐duty‐a‐xxx‐parody‐monique‐alexander‐danny‐d‐jasmine‐jae‐stella‐cox‐
 h24588f3db5385f4
 http://www.veporns.com/video/a‐second‐opinion‐jewels‐jade‐mackenzie‐lohan‐johnny‐castle
 http://www.veporns.com/video/internet‐outage‐poundage‐keiran‐lee‐brandi‐love‐alexis‐fawx‐h245a44eef33a396
 http://www.veporns.com/video/store‐whore‐credit‐cali‐carter‐sean‐lawless
 http://www.veporns.com/video/fucking‐neighbors‐nicole‐aniston‐jessy‐jones‐august‐ames‐h2458dfe56ca0efe
 http://www.veporns.com/video/a‐dick‐before‐divorce‐tommy‐gunn‐ariella‐ferrera‐veronica‐rodriguez‐h245a44eecc3d3dd
 http://www.veporns.com/video/whore‐on‐whore‐richelle‐ryan‐phoenix‐marie‐h245a44ef3b35256
 http://www.veporns.com/video/the‐anal‐ballet‐danny‐d
 http://www.veporns.com/video/a‐nurse‐has‐needs‐johnny‐sins‐valentina‐nappi‐h24588f3ab3b6332
 http://www.veporns.com/video/zz‐cup‐team‐booty‐danny‐d‐amirah‐adara‐mea‐melone‐h245a44ef3d8c139
 http://www.veporns.com/video/between‐a‐cock‐and‐a‐hard‐place‐abigail‐mac‐keiran‐lee
 http://www.veporns.com/video/the‐scoundrel‐ruins‐a‐sleepover‐stella‐cox‐jordi‐el‐nio‐polla‐h24588f330dbadd0
                                                        1

DMCA Subpoena - Page 6
                 Case 3:19-mc-05027 Document 1-2 Filed 07/24/19 Page 7 of 49
http://www.veporns.com/video/anal‐is‐extra‐mercedes‐carrera‐jessy‐jones
http://www.veporns.com/video/arrest‐this‐whore‐kissa‐sins‐johnny‐sins
http://www.veporns.com/video/my‐friends‐blindfolded‐mom‐jewels‐jade‐ryan‐ryder
http://www.veporns.com/video/die‐hardcore‐part‐3‐a‐xxx‐parody‐mia‐malkova‐danny‐mountain‐markus‐dupree
http://www.veporns.com/video/picture‐perfect‐pussy‐jessa‐rhodes‐xander‐corvus
http://www.veporns.com/video/milf‐squad‐vegas‐breaking‐in‐the‐new‐partner‐addison‐ryder‐tory‐lane‐vera‐drake‐
h2458a979e2d3cf1
http://www.veporns.com/video/whore‐o‐scopes‐luna‐star‐xander‐corvus‐h245a44ef3adee1f
http://www.veporns.com/video/your‐princi‐pal‐preston‐parker‐melissa‐moore‐h245a44ef3c5afc1
http://www.veporns.com/video/my‐husband‐is‐right‐outside‐johnny‐sins‐reagan‐foxx
http://www.veporns.com/video/fancy‐ass‐fucking‐amirah‐adara‐angel‐wicky‐danny‐d
http://www.veporns.com/video/nice‐nylons‐keiran‐lee‐brooklyn‐chase‐h245a44ef06746fe
http://www.veporns.com/video/detention‐with‐the‐domme‐isis‐love‐jenna‐sativa
http://www.veporns.com/video/color‐between‐the‐lines‐lily‐love‐ricky‐johnson
http://www.veporns.com/video/porn‐habits‐lena‐paul‐ramon
http://www.veporns.com/video/digitalplayground‐natasha‐nice‐riding‐lessons
http://www.veporns.com/video/im‐not‐a‐hooker‐valerie‐kay‐keiran‐lee‐h245a44edd0ebded
http://www.veporns.com/video/zz‐spring‐break‐part‐two‐mila‐marx‐tyler
http://www.veporns.com/video/a‐jolly‐easter‐buttfucking‐bridgette‐b‐bill‐bailey
http://www.veporns.com/video/undercover‐step‐mother‐diamond‐jackson‐evelin‐stone
http://www.veporns.com/video/1‐800‐phone‐sex‐line‐3‐holly‐hendrix‐kyle‐mason‐h245a0eae76b1fa4
http://www.veporns.com/video/rubbing‐a‐cock‐in‐her‐poon‐rachel‐starr‐charles‐dera‐h2458dfe56e6d780
http://www.veporns.com/video/titty‐sucking‐skills‐dani‐jensen‐charles‐dera
http://www.veporns.com/video/the‐oil‐spill‐vicki‐chase‐keiran‐lee
http://www.veporns.com/video/sexy‐dentist‐knows‐the‐drill‐monique‐alexander‐danny‐d
http://www.veporns.com/video/tiny‐dancer‐kenzie‐reeves‐ramon
http://www.veporns.com/video/foot‐clerk‐at‐work‐susy‐gala‐danny‐d
http://www.veporns.com/video/mom‐wants‐hers‐ashley‐fires‐jessy‐jones‐h245a44ef00ab00e
http://www.veporns.com/video/misha‐cross‐cums‐clean‐misha‐cross‐danny‐d‐h245a44ef004b47a
http://www.veporns.com/video/dick‐deep‐in‐the‐designer‐mia‐li‐jessy‐jones
http://www.veporns.com/video/nothing‐like‐a‐mothers‐love‐sybil‐stallone‐jake‐adams
http://www.veporns.com/video/benedict‐with‐benefits‐danny‐d‐amber‐jayne
http://www.veporns.com/video/whats‐good‐for‐the‐goose‐amber‐jayne‐danny‐d
http://www.veporns.com/video/no‐student‐teacher‐romi‐rain‐charles‐dera
http://www.veporns.com/video/have‐you‐been‐served‐sandra‐star‐keiran‐lee
http://www.veporns.com/video/shes‐got‐game‐kylie‐rose‐tyler
http://www.veporns.com/video/gold‐standard‐honey‐gold‐johnny‐sins
http://www.veporns.com/video/catsuit‐booty‐bang‐kelsi‐monroe‐keiran‐lee
http://www.veporns.com/video/be‐more‐like‐your‐stepsister‐kendall‐woods‐jake‐adams
http://www.veporns.com/video/mommys‐little‐helper‐stacey‐saran‐jordi‐el‐nio‐polla
http://www.veporns.com/video/the‐cleavage‐secret‐noelle‐easton‐xander‐corvus
http://www.veporns.com/video/a‐real‐bang‐for‐your‐buck‐danny‐d‐kylie‐quinn
http://www.veporns.com/video/the‐cuntry‐club‐alura‐jenson‐isis‐love
http://www.veporns.com/video/when‐lanas‐home‐alone‐lana‐rhoades‐keiran‐lee‐h24594a77689c8ec
http://www.veporns.com/video/bankrupt‐morals‐danny‐d‐rebecca‐moore
http://www.veporns.com/video/mind‐blowing‐nicolette‐shea‐xander‐corvus
http://www.veporns.com/video/anything‐to‐get‐in‐britney‐shannon‐ramon‐tommy‐gunn
http://www.veporns.com/video/getting‐their‐own‐facials‐johnny‐sins‐britney‐amber‐ariana‐marie‐h2459e09e9297523
http://www.veporns.com/video/rude‐awakening‐alina‐lopez‐keiran‐lee
http://www.veporns.com/video/slumber‐party‐crush‐vivian‐azure‐xander‐corvus
http://www.veporns.com/video/yoga‐freaks‐episode‐five‐mckenzie‐lee‐xander‐corvus
http://www.veporns.com/video/bringing‐stepsiblings‐closer‐together‐jasmine‐jae‐stella‐cox‐danny‐d

                                                      2

DMCA Subpoena - Page 7
                 Case 3:19-mc-05027 Document 1-2 Filed 07/24/19 Page 8 of 49
http://www.veporns.com/video/anal‐about‐my‐jeans‐ramon‐luna‐star‐h24588f38918e01b
http://www.veporns.com/video/sync‐slam‐jenna‐foxx‐isiah‐maxwell
http://www.veporns.com/video/avoiding‐dicktection‐lena‐paul‐xander‐corvus
http://www.veporns.com/video/get‐your‐o‐and‐go‐jayme‐langford‐jenna‐ashley
http://www.veporns.com/video/midwife‐crisis‐jessy‐jones‐harlow‐harrison‐h2458dfe56cbc8f9
http://www.veporns.com/video/fucking‐the‐ugly‐duckling‐alena‐croft‐johnny‐sins
http://www.veporns.com/video/the‐big‐stiff‐alexis‐fawx‐mike‐mancini‐h245a44ef2a03d2d
http://www.veporns.com/video/babes‐tyra‐moon‐forbidden‐fruit‐h245a44eeb1a4242
http://www.veporns.com/video/pool‐club‐newcummer‐jade‐jantzen‐ricky‐johnson‐xander‐corvus‐h24593bb48225154
http://www.veporns.com/video/making‐a‐mess‐on‐stepmom‐brandi‐love‐lucas‐frost
http://www.veporns.com/video/diamond‐foxxx‐midnight‐milk
http://www.veporns.com/video/ghostbusters‐xxx‐parody‐part‐3‐charles‐dera‐xander‐corvus‐veronica‐avluv‐isiah‐maxwell‐
sean‐lawless
http://www.veporns.com/video/the‐whore‐her‐chores‐barbie‐sins‐jordi‐el‐nio‐polla‐h245960a2ba7ef67
http://www.veporns.com/video/my‐wifes‐boss‐cherie‐deville‐johnny‐sins
http://www.veporns.com/video/the‐liar‐the‐bitch‐and‐the‐wardrobe‐sean‐lawless‐aaliyah‐hadid‐h245a44ef3045b74
http://www.veporns.com/video/cum‐for‐nurse‐sarah‐sarah‐vandella‐keiran‐lee‐h24588f4101931ca
http://www.veporns.com/video/triage‐these‐tits‐mary‐jean‐johnny‐sins
http://www.veporns.com/video/lying‐doggystyle‐diamond‐foxxx‐sean‐lawless‐h24588f42c51b6e6
http://www.veporns.com/video/sampling‐her‐goods‐ella‐hughes‐danny‐d
http://www.veporns.com/video/spin‐cycle‐dillion‐harper‐buddy‐hollywood
http://www.veporns.com/video/bath‐bomb‐booty‐skyla‐novea‐xander‐corvus
http://www.veporns.com/video/anal‐xmas‐charles‐dera‐allie‐haze‐harley‐jade‐h245a44eecf2cea0
http://www.veporns.com/video/forbidden‐fruit‐karlee‐grey‐johnny‐sins
http://www.veporns.com/video/breaking‐in‐my‐new‐girlfriend‐anna‐bell‐peaks‐ashly‐anderson
http://www.veporns.com/video/under‐my‐coworkers‐skirt‐raven‐bay‐markus‐dupree‐h245a44ef375eeb0
http://www.veporns.com/video/fifty‐ccs‐of‐cum‐karlee‐grey‐charles‐dera
http://www.veporns.com/video/pussy‐lessons‐bianca‐breeze‐charlotte‐cross‐jessy‐jones
http://www.veporns.com/video/shy‐redheads‐want‐analella‐hughes‐amp‐chris‐diamond
http://www.veporns.com/video/caring‐wife‐craves‐cum‐audrey‐bitoni‐keiran‐lee‐h24593e67d64226f
http://www.veporns.com/video/jailhouse‐fuck‐three‐monique‐alexander‐danny‐d‐h24588f358307743
http://www.veporns.com/video/touching‐after‐tennis‐katt‐garcia‐jessy‐jones
http://www.veporns.com/video/the‐milf‐in‐the‐mirror‐damon‐dice‐synthia‐fixx
http://www.veporns.com/video/if‐you‐go‐down‐to‐the‐woods‐today‐jarushka‐ross‐keiran‐lee‐h245a44eef2bc79f
http://www.veporns.com/video/dominate‐me‐georgia‐jones‐amp‐veruca‐james
http://www.veporns.com/video/the‐cable‐slut‐devon‐mick‐blue
http://www.veporns.com/video/dr‐taylor‐takes‐her‐medicine‐van‐wylde‐august‐taylor‐h245a44eee595666
http://www.veporns.com/video/nicoles‐work‐is‐never‐done‐charles‐dera‐keiran‐lee‐nicole‐aniston‐h245a44ef068b66c
http://www.veporns.com/video/sacrifice‐my‐ass‐joanna‐angel‐xander‐corvus
http://www.veporns.com/video/ryan‐keely‐water‐balloon‐charity‐fuck‐mommygotboobs
http://www.veporns.com/video/the‐best‐distraction‐danny‐d‐alex‐blake‐h2459f0930b81982
http://www.veporns.com/video/our‐holiday‐three‐way‐nicole‐aniston‐peta‐jensen‐levi‐cash‐h245a44ef0871a52
http://www.veporns.com/video/these‐boots‐were‐made‐for‐fucking‐monique‐alexander‐markus‐dupree
http://www.veporns.com/video/mother‐of‐the‐bride‐syren‐de‐mer‐johnny‐sins
http://www.veporns.com/video/a‐burning‐desire‐trisha‐parks‐johnny‐sins
http://www.veporns.com/video/deez‐tits‐for‐president‐kagney‐linn‐karter‐levi‐cash
http://www.veporns.com/video/xanders‐world‐tour‐ep2‐angela‐white‐karma‐rx‐xander‐corvus
http://www.veporns.com/video/in‐through‐the‐french‐exit‐liza‐del‐sierra‐danny‐d
http://www.veporns.com/video/bonnie‐rotten‐lap‐dance‐fap‐brazzersexxtra
http://www.veporns.com/video/my‐stepmom‐is‐better‐than‐yours‐monique‐alexander‐elizabeth‐jolie‐lily‐adams‐
h24588f3dbb5b2fd
http://www.veporns.com/video/breaking‐and‐entering‐and‐insertion‐phoenix‐marie‐xander‐corvus

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DMCA Subpoena - Page 8
                 Case 3:19-mc-05027 Document 1-2 Filed 07/24/19 Page 9 of 49
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http://www.veporns.com/video/assage‐the‐lela‐star‐method‐lela‐star‐markus‐dupree
http://www.veporns.com/video/slip‐and‐slide‐into‐my‐ass‐jada‐stevens‐keiran‐lee‐h245960a2ba51444
http://www.veporns.com/video/whats‐in‐the‐box‐jordi‐el‐nio‐polla‐star‐del‐ray‐h245a44ef39a96a1
http://www.veporns.com/video/there039s‐something‐about‐kerry‐kerry‐louise
http://www.veporns.com/video/pornstar‐workout‐xander‐corvus‐nicole‐aniston‐h24594cf0316fb92
http://www.veporns.com/video/help‐wanted‐in‐a‐big‐way‐brandi‐love‐janice‐griffith‐keiran‐lee
http://www.veporns.com/video/fuck‐the‐festival‐lyra‐louvel‐keiran‐lee
http://www.veporns.com/video/breathing‐sexcercise‐natasha‐nice‐alex‐legend
http://www.veporns.com/video/ninas‐pool‐day‐nina‐elle‐keiran‐lee‐h24593bb481ea081
http://www.veporns.com/video/the‐perfect‐maid‐2‐nicole‐aniston‐michael‐vegas
http://www.veporns.com/video/jillin‐in‐the‐box‐piper‐perri‐jessy‐jones‐h245a44eef4f3e7e
http://www.veporns.com/video/wife‐coach‐keisha‐grey‐charles‐dera
http://www.veporns.com/video/my‐girlfriends‐phat‐ass‐roommate‐danny‐d‐mandy‐muse‐holly‐hendrix‐h2459e09e930458e
http://www.veporns.com/video/cops‐and‐knobbers‐britney‐amber‐jessy‐jones‐xander‐corvus
http://www.veporns.com/video/just‐a‐regular‐massage‐kali‐roses‐kira‐noir‐keiran‐lee
http://www.veporns.com/video/1‐800‐phone‐sex‐line‐7‐monique‐alexander‐isiah‐maxwell
http://www.veporns.com/video/1‐800‐phone‐sex‐line‐12‐clea‐gaultier‐lela‐star‐luna‐star‐xander‐corvus
http://www.veporns.com/video/forecasting‐several‐inches‐jane‐douxxx‐justin‐hunt
http://www.veporns.com/video/two‐to‐tango‐monique‐alexander‐keiran‐lee
http://www.veporns.com/video/a‐secret‐shower‐ellena‐woods‐skin‐diamond
http://www.veporns.com/video/my‐stepmom‐hired‐a‐hooker‐anya‐ivy‐krissy‐lynn‐tyler‐nixon
http://www.veporns.com/video/the‐exxxceptions‐episode‐3‐monique‐alexander‐jessy‐jones
http://www.veporns.com/video/sneaky‐mom‐2‐alena‐croft‐van‐wylde
http://www.veporns.com/video/sit‐and‐spin‐kenna‐james‐blake‐eden‐karlie‐montana‐h245a44ef20f3ad4
http://www.veporns.com/video/from‐dorky‐to‐dick‐fiend‐alice‐lighthouse‐ramon
http://www.veporns.com/video/the‐head‐mistress‐britney‐shannon‐brad‐knight
http://www.veporns.com/video/eating‐her‐peach‐riley‐reid‐jessy‐jones
http://www.veporns.com/video/her‐first‐big‐sale‐sarah‐vandella‐keiran‐lee‐toni‐ribas‐h2458d6a98976356
http://www.veporns.com/video/lost‐in‐brazzers‐episode‐3‐aletta‐ocean‐danny‐d‐h245a44eef98b532
http://www.veporns.com/video/nailing‐ms‐chase‐part‐two‐alexis‐fawx‐brooklyn‐chase‐tommy‐gunn
http://www.veporns.com/video/the‐allure‐of‐azure‐vivian‐azure‐keiran‐lee
http://www.veporns.com/video/one‐very‐important‐business‐call‐marie‐clarence‐danny‐d
http://www.veporns.com/video/swimsuit‐issues‐osa‐lovely‐jessy‐jones
http://www.veporns.com/video/power‐rack‐a‐xxx‐parody‐johnny‐sins‐peta‐jensen‐h245a44ef0d61e7d
http://www.veporns.com/video/giving‐her‐a‐big‐tip‐candice‐dare‐jessy‐jones
http://www.veporns.com/video/porn‐logic‐2‐nicole‐aniston‐riley‐reid‐xander‐corvus
http://www.veporns.com/video/queen‐of‐thrones‐part‐1‐a‐xxx‐parody‐rebecca‐moore‐tina‐kay‐danny‐d
http://www.veporns.com/video/let‐your‐freak‐flag‐fuck‐kenzie‐reeves‐jmac
http://www.veporns.com/video/bath‐bombshell‐nicolette‐shea‐xander‐corvus
http://www.veporns.com/video/for‐the‐players‐cara‐saint‐germain‐luke‐hardy
http://www.veporns.com/video/to‐catch‐a‐cheat‐jessa‐rhodes‐peta‐jensen‐bill‐bailey‐h245a44ef3692011
http://www.veporns.com/video/pussy‐fever‐august‐ames‐charles‐dera
http://www.veporns.com/video/the‐slut‐on‐the‐sofa‐zoe‐clark‐bambino‐h245960a2ba7534b
http://www.veporns.com/video/shy‐redheads‐like‐it‐rough‐aylin‐diamond
http://www.veporns.com/video/the‐last‐dick‐on‐earth‐anna‐bell‐peaks‐nicole‐aniston‐rachel‐starr‐romi‐rain‐johnny‐sins
http://www.veporns.com/video/my‐wifes‐ex‐charles‐dera‐august‐taylor
http://www.veporns.com/video/jack‐of‐oil‐trades‐lea‐lexis‐alex‐d
http://www.veporns.com/video/have‐you‐seen‐the‐valet‐keiran‐lee‐brett‐rossi
http://www.veporns.com/video/sex‐sells‐mckenzie‐lee‐ariana‐marie‐h245a44ef110d592
http://www.veporns.com/video/the‐whole‐package‐sean‐lawless‐lennox‐luxe
http://www.veporns.com/video/a‐glass‐of‐bubbly‐butt‐jessie‐volt‐danny‐d

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DMCA Subpoena - Page 9
                 Case 3:19-mc-05027 Document 1-2 Filed 07/24/19 Page 10 of 49
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http://www.veporns.com/video/the‐suburban‐skank‐harlow‐harrison‐prince‐yashua
http://www.veporns.com/video/bitchy‐broadcasting‐chanel‐preston‐kira‐noir
http://www.veporns.com/video/moms‐got‐a‐meeting‐cherie‐deville‐kyle‐mason‐h245960a2ba19cef
http://www.veporns.com/video/power‐bangers‐a‐xxx‐parody‐part‐2‐jessa‐rhodes‐katrina‐jade‐h2459181b5fb3741
http://www.veporns.com/video/dripping‐for‐daddys‐best‐friend‐aspen‐romanoff‐mick‐blue‐h2459e09efbdd32a
http://www.veporns.com/video/neighborwhore‐twatch‐ramon‐kayla‐kayden‐h24588f357e11d96
http://www.veporns.com/video/a‐brazzers‐christmas‐special‐part‐4‐charles‐dera‐alexis‐fawx‐lena‐paul‐h245a44eecc09db2
http://www.veporns.com/video/boobeye‐coordination‐raven‐redmond‐sean‐lawless‐h24598ee269c56a9
http://www.veporns.com/video/pink‐and‐plump‐danny‐d‐kiki‐minaj
http://www.veporns.com/video/college‐dreams‐danny‐d‐alexis‐fawx‐bailey‐brooke‐h245925339d9c0f1
http://www.veporns.com/video/the‐exxxceptions‐episode‐2‐aaliyah‐hadid‐cali‐carter‐charles‐dera
http://www.veporns.com/video/big‐tits‐in‐history‐part‐2‐jordi‐el‐nio‐polla‐ayda‐swinger‐h245a44eed3a10f9
http://www.veporns.com/video/slip‐and‐slide‐keiran‐lee‐ana‐foxxx‐h245a44ef217b2d8
http://www.veporns.com/video/chock‐full‐of‐cock‐danny‐d
http://www.veporns.com/video/hallowanking‐penny‐pax‐xander‐corvus
http://www.veporns.com/video/how‐convenient‐luna‐star‐sean‐lawless‐h245937c32dd6f6d
http://www.veporns.com/video/shy‐redheads‐want‐anal‐ella‐hughes‐chris‐diamond
http://www.veporns.com/video/my‐stepmoms‐obsessed‐with‐me‐joslyn‐james‐carolina‐sweets‐jake‐adams‐
h2458a4513f5888d
http://www.veporns.com/video/anal‐on‐easter‐marsha‐may‐jmac
http://www.veporns.com/video/massaging‐a‐hard‐jerk‐ariana‐marie‐keiran‐lee‐h245a44eefb07eee
http://www.veporns.com/video/the‐mommy‐method‐mercedes‐carrera‐ryan‐ryder‐h245a44ef3219ee2
http://www.veporns.com/video/get‐a‐room‐nikky‐dream‐danny‐d
http://www.veporns.com/video/a‐strange‐case‐of‐bubble‐butt‐jillian‐janson‐charles‐dera
http://www.veporns.com/video/my‐mom‐would‐never‐expect‐this‐lovita‐fate‐danny‐d
http://www.veporns.com/video/the‐sex‐test‐ariella‐ferrera‐jessy‐jones
http://www.veporns.com/video/this‐guy‐works‐wonders‐karma‐rx‐tia‐cyrus‐jessy‐jones
http://www.veporns.com/video/the‐second‐cumming‐part‐1‐brett‐rossi‐keiran‐lee
http://www.veporns.com/video/i‐said‐no‐friends‐over‐adria‐rae‐romi‐rain‐alex‐d‐h245a44edcf541a3
http://www.veporns.com/video/pounding‐piper‐piper‐perri‐eric‐john‐tommy‐gunn
http://www.veporns.com/video/licking‐locked‐up‐riley‐reid‐elsa‐jean‐jean‐val‐jean‐h245a44eef84e667
http://www.veporns.com/video/milfer‐madness‐richelle‐ryan‐tyler‐nixon‐h245a44eeff12bfa
http://www.veporns.com/video/ninas‐workout‐keiran‐lee‐nina‐dolci
http://www.veporns.com/video/miss‐anal‐2016‐kristina‐rose‐jordi‐el‐nio‐polla‐h24588f3db559aa7
http://www.veporns.com/video/brazzers‐house‐2‐unseen‐moments‐abella‐danger‐alexis‐fawx‐keisha‐grey‐kelsi‐monroe‐
kristina‐rose‐lena‐paul‐luna‐star‐megan‐rain‐monique‐alexander‐nicole‐aniston‐phoenix‐marie‐skyla‐novea‐charles‐dera‐jessy‐
jones‐jmac‐sean‐lawless‐toni‐ribas‐h245a44eeda6988f
http://www.veporns.com/video/ethics‐in‐detention‐carly‐rae‐danny‐d
http://www.veporns.com/video/fixer‐upper‐daughter‐stuffer‐danny‐d‐gina‐valentina‐lily‐jordan‐h2459805ec659fd1
http://www.veporns.com/video/fix‐my‐computer‐then‐fuck‐my‐pussy‐katy‐jayne‐marc‐rose‐h24593bb4819bed5
http://www.veporns.com/video/trolling‐for‐trolls‐kelsi‐monroe‐sean‐lawless
http://www.veporns.com/video/1‐800‐phone‐sex‐line‐2‐isis‐love‐sierra‐nicole‐h245a44eeca24442
http://www.veporns.com/video/pushing‐for‐a‐new‐prescription‐keiran‐lee‐reagan‐foxx
http://www.veporns.com/video/toying‐around‐with‐my‐step‐mom‐kayla‐green‐jordi‐el‐nio‐polla‐h24594a7768899bd
http://www.veporns.com/video/dreamy‐lab‐dancer‐lexi‐luna‐alex‐legend
http://www.veporns.com/video/work‐is‐long‐when‐youre‐wearing‐a‐thong‐maddy‐oreilly‐preston‐parker
http://www.veporns.com/video/the‐interview‐round‐3‐charles‐dera‐tommy‐gunn‐britney‐amber‐michael‐vegas‐prince‐yashua
http://www.veporns.com/video/odd‐jobs‐danny‐d‐alexis‐fawx‐h2458d5fd9763a73
http://www.veporns.com/video/moms‐not‐in‐control‐carmel‐anderson‐sensual‐jane‐sam‐bourne
http://www.veporns.com/video/private‐parts‐and‐service‐rilynn‐rae‐bill‐bailey‐mr‐pete
http://www.veporns.com/video/power‐bangers‐a‐xxx‐parody‐part‐4‐abigail‐mac‐danny‐d‐h24593bb4901526d

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DMCA Subpoena - Page 10
                Case 3:19-mc-05027 Document 1-2 Filed 07/24/19 Page 11 of 49
http://www.veporns.com/video/full‐steam‐a‐head‐dee‐williams‐sean‐lawless
http://www.veporns.com/video/our‐new‐maid‐part‐three‐monique‐alexander‐peta‐jensen
http://www.veporns.com/video/shake‐your‐money‐maker‐tommy‐gunn‐megan‐sage‐h24588f3c5798d50
http://www.veporns.com/video/if‐at‐first‐you‐dont‐succeed‐danica‐dillon‐charles‐dera‐h245a44eef216560
http://www.veporns.com/video/valentina‐jewels‐internal‐affairs‐bigtitsatwork
http://www.veporns.com/video/dirty‐and‐clean‐in‐college‐michael‐vegas‐bailey‐brooke‐h2459e09e925068b
http://www.veporns.com/video/babysitter‐caught‐in‐the‐action‐keiran‐lee‐jill‐kassidy
http://www.veporns.com/video/ram‐that‐rose‐kristina‐rose‐keiran‐lee
http://www.veporns.com/video/cum‐get‐your‐pay‐check‐isis‐love‐jessy‐jones‐h245960a2b9c0171
http://www.veporns.com/video/a‐mystic‐massage‐jill‐kassidy‐xander‐corvus‐h245960a2b9a2766
http://www.veporns.com/video/our‐new‐maid‐part‐two‐xander‐corvus‐peta‐jensen
http://www.veporns.com/video/meddling‐mother‐in‐law‐cathy‐heaven‐danny‐d‐h245a44eefd4c930
http://www.veporns.com/video/taming‐the‐wild‐thing‐liza‐del‐sierra‐danny‐d
http://www.veporns.com/video/fucking‐the‐invisible‐man‐michelle‐thorne‐danny‐d
http://www.veporns.com/video/late‐night‐at‐the‐library‐lena‐paul‐isiah‐maxwell
http://www.veporns.com/video/sperm‐donor‐needed‐chanel‐preston‐keiran‐lee
http://www.veporns.com/video/stepmoms‐spring‐cleaning‐van‐wylde‐sybil‐stallone
http://www.veporns.com/video/help‐im‐addickted‐to‐cock‐lela‐star‐ricky‐johnson
http://www.veporns.com/video/let‐me‐fuck‐your‐manager‐joslyn‐james‐kyle‐mason
http://www.veporns.com/video/welcum‐wagon‐keiran‐lee‐raven‐bay
http://www.veporns.com/video/her‐daughters‐best‐friend‐2‐makayla‐cox‐shavelle‐love‐h2459563786d6253
http://www.veporns.com/video/the‐naked‐mom‐alexis‐fawx‐johnny‐castle
http://www.veporns.com/video/blairs‐private‐shower‐blair‐williams‐jessy‐jones
http://www.veporns.com/video/my‐dirty‐talking‐prof‐audrey‐bitoni‐jessy‐jones
http://www.veporns.com/video/calis‐special‐workout‐mick‐blue‐cali‐carter
http://www.veporns.com/video/personal‐trainers‐session‐2‐xander‐corvus‐kendra‐lust‐abigail‐mac‐h245a44ef0a9331a
http://www.veporns.com/video/the‐headhunter‐mary‐jean‐xander‐corvus
http://www.veporns.com/video/pussy‐o‐plomo‐part‐2‐bridgette‐b‐karlo‐karerra‐abigail‐mac‐h245a44ef0e607f8
http://www.veporns.com/video/never‐interrupt‐mommy‐time‐jake‐adams‐alana‐cruise
http://www.veporns.com/video/moms‐christmas‐stuffing‐ava‐addams‐tyler‐nixon‐h245a44ef0228af4
http://www.veporns.com/video/bisexual‐bride‐abigail‐mac‐felicity‐feline
http://www.veporns.com/video/open‐wide‐danny‐d‐candy‐sexton‐h24593157bdd5bbf
http://www.veporns.com/video/tempted‐by‐teens‐aubrey‐gold‐isis‐love‐buddy‐hollywood‐h245a44ef2795f66
http://www.veporns.com/video/stress‐buster‐keiran‐lee‐courtney‐taylor‐h24588f39ab8a1d9
http://www.veporns.com/video/sign‐my‐copy‐karmen‐karma‐van‐wylde
http://www.veporns.com/video/confidential‐informant‐august‐ames‐xander‐corvus
http://www.veporns.com/video/exchange‐of‐favors‐katrina‐jade‐danny‐d‐big‐tits‐at‐school‐h245a44eee6509fe
http://www.veporns.com/video/butting‐out‐brooklyn‐chase‐bill‐bailey‐h245960a2b9b8dd2
http://www.veporns.com/video/that‐touch‐of‐milf‐alexis‐fawx‐danny‐mountain
http://www.veporns.com/video/sneaking‐into‐the‐teachers‐lounge‐natasha‐nice‐sean‐lawless‐h24588f4101c1bda
http://www.veporns.com/video/secret‐slut‐sean‐lawless
http://www.veporns.com/video/get‐her‐juices‐flowing‐aubrey‐sinclair‐krissy‐lynn
http://www.veporns.com/video/hot‐nurse‐gets‐the‐cock‐pumpin‐julia‐ann‐danny‐d
http://www.veporns.com/video/cinematic‐climax‐krissy‐lynn‐kylie‐page
http://www.veporns.com/video/inspector‐ass‐kelsi‐monroe‐sean‐lawless‐h24588f3ab3dc46b
http://www.veporns.com/video/cucked‐at‐the‐carnival‐eliza‐ibarra‐johnny‐sins
http://www.veporns.com/video/feel‐the‐burn‐honey‐moon‐damon‐dice
http://www.veporns.com/video/affair‐on‐the‐air‐dani‐jensen‐small‐hands‐h24593e67d634daf
http://www.veporns.com/video/checking‐into‐athena‐athena‐palomino‐johnny‐sins
http://www.veporns.com/video/up‐all‐night‐anya‐ivy‐lynn‐vega‐h245a44ef382d7dd
http://www.veporns.com/video/squeegee‐this‐ophelia‐rain‐charles‐dera
http://www.veporns.com/video/our‐horny‐lesbian‐housemates‐alexis‐monroe‐cali‐carter‐jessa‐rhodes‐keiran‐lee

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DMCA Subpoena - Page 11
                Case 3:19-mc-05027 Document 1-2 Filed 07/24/19 Page 12 of 49
http://www.veporns.com/video/zen‐in‐the‐am‐jenna‐jones‐keiran‐lee
http://www.veporns.com/video/a‐surprise‐stroke‐and‐squirt‐star‐del‐ray‐danny‐d
http://www.veporns.com/video/divorce‐will‐set‐you‐free‐india‐summer‐jake‐adams‐h245a44eee37d5ac
http://www.veporns.com/video/whore‐o‐scoping‐kayla‐kayden‐small‐hands
http://www.veporns.com/video/sexy‐role‐playing‐game‐chris‐diamond‐christen‐courtney‐h245a44ef1250b88
http://www.veporns.com/video/riley‐loves‐gabriella‐riley‐reid‐gabriella‐paltrova
http://www.veporns.com/video/the‐vocal‐coach‐rachel‐starr‐keiran‐lee
http://www.veporns.com/video/dpd‐on‐her‐honeymoon‐kagney‐linn‐karter‐bill‐bailey‐karlo‐karerra
http://www.veporns.com/video/no‐fucking‐spoilers‐violet‐starr‐keiran‐lee
http://www.veporns.com/video/it‐swallows‐part‐one‐staci‐carr‐johnny‐sins
http://www.veporns.com/video/pedi‐pussy‐mary‐moody‐phoenix‐marie
http://www.veporns.com/video/the‐slut‐in‐the‐shower‐anna‐bell‐peaks‐danny‐d
http://www.veporns.com/video/clueless‐cum‐lessons‐shay‐fox‐kyle‐mason
http://www.veporns.com/video/late‐for‐church‐alessandra‐jane‐danny‐d
http://www.veporns.com/video/ready‐to‐ride‐kimmy‐granger‐danny‐d
http://www.veporns.com/video/my‐blindfolded‐stepmom‐christie‐stevens‐kyle‐mason
http://www.veporns.com/video/our‐little‐secret‐ary‐sybil‐stallone‐ramon
http://www.veporns.com/video/zz‐lemonade‐dani‐daniels‐dani‐daniels‐jessy‐jones
http://www.veporns.com/video/need‐a‐hand‐kendra‐lust‐alex‐d
http://www.veporns.com/video/liza‐del‐sierra‐haunted‐ho‐bigbuttslikeitbig
http://www.veporns.com/video/football‐fuckday‐sarah‐banks‐zach‐wild
http://www.veporns.com/video/just‐go‐for‐it‐madelyn‐monroe‐danny‐d
http://www.veporns.com/video/eating‐in‐the‐meeting‐nina‐elle‐sean‐lawless
http://www.veporns.com/video/jimena‐puts‐on‐a‐show‐jimena‐lago‐danny‐d
http://www.veporns.com/video/his‐wife‐squats‐on‐my‐dick‐keiran‐lee‐jaclyn‐taylor
http://www.veporns.com/video/leave‐it‐to‐teacher‐makayla‐cox‐justin‐hunt
http://www.veporns.com/video/welcome‐to‐the‐neighborwhore‐eva‐notty‐sean‐lawless
http://www.veporns.com/video/the‐mischievous‐maid‐alessandra‐jane‐danny‐d‐h2459e5fe6942abb
http://www.veporns.com/video/point‐of‐sale‐monique‐alexander‐danny‐d‐h24588f3ab3f1e70
http://www.veporns.com/video/7‐year‐anal‐blanche‐bradburry‐danny‐d
http://www.veporns.com/video/1‐800‐phone‐sex‐line‐4‐amia‐miley‐holly‐hendrix‐isis‐love‐h245a084f105bf9e
http://www.veporns.com/video/desperate‐for‐v‐day‐dick‐brandi‐love‐lucas‐frost
http://www.veporns.com/video/the‐office‐mummy‐rachel‐roxxx‐danny‐d
http://www.veporns.com/video/greedy‐grind‐jai‐james‐danny‐d
http://www.veporns.com/video/sweet‐tits‐ella‐knox‐keiran‐lee
http://www.veporns.com/video/pick‐and‐choose‐van‐wylde
http://www.veporns.com/video/pumpkin‐spice‐slut‐xander‐corvus‐carter‐cruise‐h24588f3ab08c677
http://www.veporns.com/video/hip‐hop‐on‐that‐cock‐assh‐lee‐karlo‐karerra‐h2459563786eb9c8
http://www.veporns.com/video/a‐st‐pattys‐pounding‐aj‐applegate‐sean‐michaels‐h245a44eecd6a8ab
http://www.veporns.com/video/a‐talk‐with‐teacher‐johnny‐sins‐kimmy‐granger‐h2458dfe56c0c801
http://www.veporns.com/video/the‐icing‐on‐the‐cock‐monique‐alexander‐johnny‐sins
http://www.veporns.com/video/the‐future‐familys‐fuck‐robot‐part‐1‐missy‐martinez‐sadie‐pop‐xander‐corvus
http://www.veporns.com/video/clutching‐her‐pearls‐valentina‐nappi‐van‐wylde
http://www.veporns.com/video/playing‐with‐fire‐johnny‐sins
http://www.veporns.com/video/how‐to‐bake‐a‐creampie‐christie‐stevens‐xander‐corvus
http://www.veporns.com/video/the‐mother‐of‐all‐seductions‐monique‐alexander‐xander‐corvus
http://www.veporns.com/video/my‐wifes‐sister‐keiran‐lee‐tylo‐duran‐h2458a979dbbffb7
http://www.veporns.com/video/bully‐me‐bitch‐kleio‐valentien‐nickey‐huntsman
http://www.veporns.com/video/rachel‐starr‐chastity‐chase‐pornstarslikeitbig
http://www.veporns.com/video/buttfuck‐the‐bride‐juelz‐ventura‐johnny‐castle
http://www.veporns.com/video/hot‐rod‐hussie‐london‐keyes‐keiran‐lee
http://www.veporns.com/video/wanna‐buy‐my‐virginity‐carolina‐sweets‐charles‐dera

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DMCA Subpoena - Page 12
                Case 3:19-mc-05027 Document 1-2 Filed 07/24/19 Page 13 of 49
http://www.veporns.com/video/i‐hate‐my‐daughter039s‐boyfriend‐alyssa‐lynn‐mommy‐got‐boobs‐h245a44eef1c99aa
http://www.veporns.com/video/a‐big‐load‐jai‐james‐danny‐d‐h245a44eeca78a7a
http://www.veporns.com/video/the‐substitute‐slut‐jessy‐jones‐penny‐pax
http://www.veporns.com/video/getting‐off‐the‐waitlist‐keiran‐lee‐august‐ames
http://www.veporns.com/video/the‐ol‐ball‐and‐chain‐jillian‐janson‐kyle‐mason
http://www.veporns.com/video/ass‐in‐the‐end‐zone‐amara‐romani‐keiran‐lee
http://www.veporns.com/video/raving‐about‐her‐tits‐keiran‐lee‐skyla‐novea‐h24599b3606afc81
http://www.veporns.com/video/confessions‐of‐a‐pornographic‐mind‐part‐one‐monique‐alexander‐jessy‐jones
http://www.veporns.com/video/good‐cop‐bad‐girl‐bridgette‐b‐karma‐rx
http://www.veporns.com/video/hot‐horny‐housewives‐in‐your‐area‐clea‐gaultier‐keiran‐lee
http://www.veporns.com/video/head‐over‐heels‐teagan‐presley‐keiran‐lee
http://www.veporns.com/video/dont‐tell‐daddy‐johnny‐sins‐eliza‐jane‐h245a44eee43aae3
http://www.veporns.com/video/milfs‐on‐vacation‐part‐1‐sean‐lawless‐cory‐chase‐h245a44eeff7eda5
http://www.veporns.com/video/why‐she‐likes‐to‐bike‐keiran‐lee
http://www.veporns.com/video/so‐wrong‐yet‐so‐right‐brad‐hart‐anya‐olsen
http://www.veporns.com/video/harley‐in‐the‐nuthouse‐xxx‐parody‐bill‐bailey‐riley‐reid
http://www.veporns.com/video/fuck‐the‐pain‐away‐alexis‐fawx‐keiran‐lee
http://www.veporns.com/video/pounded‐at‐the‐pro‐shop‐jennifer‐white‐johnny‐sins
http://www.veporns.com/video/if‐the‐dick‐fits‐part‐3‐jessy‐jones‐kira‐noir‐h2458f8f6e737c8a
http://www.veporns.com/video/product‐placement‐in‐her‐pussy‐ryan‐keely‐johnny‐sins
http://www.veporns.com/video/cumming‐to‐america‐richelle‐ryan‐phoenix‐marie‐julia‐ann‐jordi‐el‐nio‐polla
http://www.veporns.com/video/taking‐it‐twice‐lucia‐love‐danny‐d‐tony‐de‐sergio
http://www.veporns.com/video/squirt‐fight‐aj‐applegate‐megan‐rain‐keiran‐lee
http://www.veporns.com/video/pass‐the‐peta‐keiran‐lee‐toni‐ribas‐peta‐jensen
http://www.veporns.com/video/the‐daily‐special‐natalia‐starr‐charles‐dera
http://www.veporns.com/video/soaking‐bethanys‐big‐naturals‐bethany‐benz‐jessy‐jones
http://www.veporns.com/video/fixing‐for‐a‐fuck‐charles‐dera
http://www.veporns.com/video/the‐easiest‐test‐aidra‐fox‐tony‐d‐h245a44ef2d33d31
http://www.veporns.com/video/daddys‐hardest‐worker‐danny‐d‐alix‐lynx
http://www.veporns.com/video/downton‐grabby‐2‐erica‐fontes‐ryan‐ryder
http://www.veporns.com/video/like‐a‐mother‐part‐3‐jelena‐jensen‐cassidy‐banks‐h2458eae775070a0
http://www.veporns.com/video/vegetable‐cock‐tale‐nina‐north‐bill‐bailey‐h2459b657b7a0791
http://www.veporns.com/video/dinner‐for‐sluts‐melissa‐moore‐riley‐reid‐bill‐bailey‐sean‐lawless
http://www.veporns.com/video/color‐theory‐christie‐stevens‐xander‐corvus
http://www.veporns.com/video/my‐stepmoms‐social‐club‐julia‐ann‐olivia‐austin‐justin‐hunt
http://www.veporns.com/video/the‐wettest‐dream‐cassidy‐klein‐chanel‐preston‐bill‐bailey
http://www.veporns.com/video/massage‐mirage‐nicolette‐shea‐johnny‐sins
http://www.veporns.com/video/massaging‐mrsalexander‐janice‐griffith‐monique‐alexander
http://www.veporns.com/video/save‐the‐tits‐jessy‐jones‐reagan‐foxx
http://www.veporns.com/video/one‐last‐shot‐nikki‐benz‐charles‐dera‐nicole‐aniston‐h245a44ef07e656e
http://www.veporns.com/video/teens‐in‐the‐backseat‐angel‐wicky‐sam‐bourne‐jimena‐lago‐h24588f3c52c1d2b
http://www.veporns.com/video/big‐tits‐in‐history‐part‐3‐emma‐leigh‐ashley‐downs‐jordi‐el‐nio‐polla‐h245a44eed3d6b16
http://www.veporns.com/video/bite‐me‐luna‐star‐phoenix‐marie
http://www.veporns.com/video/follow‐me‐jessa‐rhodes‐mick‐blue
http://www.veporns.com/video/rub‐and‐fuck‐thy‐neighbor‐keiran‐lee‐sheridan‐love‐h245a44ef106e798
http://www.veporns.com/video/yoga‐freaks‐episode‐three‐jade‐jantzen‐charles‐dera‐xander‐corvus
http://www.veporns.com/video/good‐executive‐fucktions‐preston‐parker‐priya‐price
http://www.veporns.com/video/making‐up‐for‐lost‐time‐nina‐dolci‐sean‐lawless
http://www.veporns.com/video/la‐seductora‐veronica‐avluv‐jordi‐el‐nio‐polla
http://www.veporns.com/video/tough‐fuckin‐bitches‐lexi‐lowe‐stella‐cox‐freddy‐fox‐marc‐rose
http://www.veporns.com/video/die‐hardcore‐part‐1‐a‐xxx‐parody‐mia‐malkova‐danny‐mountain
http://www.veporns.com/video/power‐play‐reena‐sky‐morgan‐lee

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DMCA Subpoena - Page 13
                 Case 3:19-mc-05027 Document 1-2 Filed 07/24/19 Page 14 of 49
http://www.veporns.com/video/highbrow‐pussy‐bridgette‐b‐bill‐bailey‐h24588f4106b55dc
http://www.veporns.com/video/why‐dont‐you‐pick‐on‐someone‐your‐own‐size‐brandy‐aniston‐bill‐bailey
http://www.veporns.com/video/just‐desserts‐lily‐labeau‐keiran‐lee
http://www.veporns.com/video/ass‐tonishing‐big‐wet‐booty‐bliss‐dulce‐bill‐bailey‐h245a44eed0059c1
http://www.veporns.com/video/lets‐bake‐a‐titty‐cake‐jessy‐jones‐anna‐bell‐peaks
http://www.veporns.com/video/slutty‐study‐time‐vienna‐black‐oliver‐flynn
http://www.veporns.com/video/exercise‐balling‐lana‐rhoades‐keiran‐lee
http://www.veporns.com/video/roommate‐wrestling‐cali‐carter‐lucas‐frost
http://www.veporns.com/video/rub‐and‐tug‐tub‐rebecca‐moore‐stacey‐saran‐jordi‐el‐nio‐polla
http://www.veporns.com/video/cockervention‐cory‐chase‐xander‐corvus
http://www.veporns.com/video/girl‐fight‐sophia‐leone‐peyton‐banks‐h245900d7c658e1b
http://www.veporns.com/video/sister‐in‐law‐means‐well‐keiran‐lee‐synthia‐fixx
http://www.veporns.com/video/call‐to‐pussy‐worship‐courtney‐taylor‐charlotte‐stokely‐h245a44eede0ab44
http://www.veporns.com/video/a‐hitchhikers‐guide‐to‐my‐cock‐chloe‐amour‐buddy‐hollywood
http://www.veporns.com/video/catch‐of‐the‐day‐jennifer‐white‐xander‐corvus
http://www.veporns.com/video/the‐ballad‐of‐johnny‐nathan‐part‐2‐abigail‐mac‐jessa‐rhodes‐johnny‐sins
http://www.veporns.com/video/otaku‐orgasm‐bill‐bailey‐ayumu‐kase
http://www.veporns.com/video/digitalplayground‐elsa‐jean‐i‐spy‐h245a4a21a5b0cf5
http://www.veporns.com/video/babezz‐watch‐a‐xxx‐parody‐bridgette‐b‐nicolette‐shea‐charles‐dera‐h24595637868158e
http://www.veporns.com/video/sharing‐a‐massage‐julia‐ann‐kendall‐kayden‐danny‐mountain
http://www.veporns.com/video/zz‐lemonade‐aidra‐fox‐aidra‐fox‐jordi‐el‐nio‐polla‐h24598ee293685af
http://www.veporns.com/video/twerk‐and‐jerk‐kelsi‐monroe‐sean‐lawless
http://www.veporns.com/video/a‐dirty‐shower‐jewels‐jade
http://www.veporns.com/video/bet‐your‐ass‐2‐kristina‐rose‐veronica‐rodriguez‐h24590361a8649c6
http://www.veporns.com/video/pornstar‐go‐xxx‐parody‐alexa‐tomas‐ella‐hughes‐jordi‐el‐nio‐polla‐patty‐michova‐
h24588f41025e31c
http://www.veporns.com/video/shes‐not‐what‐he‐expected‐luna‐star‐jessy‐jones‐h24588f37c5dd32d
http://www.veporns.com/video/the‐virgin‐learns‐to‐fuck‐riley‐reid‐gina‐valentina
http://www.veporns.com/video/kali‐roses‐cleaning‐his‐cock‐brazzersexxtra
http://www.veporns.com/video/anne‐amari‐hula‐humping‐brazzersexxtra
http://www.veporns.com/video/a‐pleasant‐surprise‐mina‐sauvage‐rico‐simmons‐h2459622317ec655
http://www.veporns.com/video/if‐the‐shoe‐fits‐jmac
http://www.veporns.com/video/momsincontrol‐zoe‐doll‐ania‐kinski‐teaching‐your‐tutor‐to‐suck‐dick
http://www.veporns.com/video/crossing‐the‐panty‐line‐brandi‐love‐keiran‐lee
http://www.veporns.com/video/a‐brazzers‐christmas‐special‐part‐2‐tyler‐nixon‐jillian‐janson‐lena‐paul‐h245a44eecb996b9
http://www.veporns.com/video/forpsychology‐julia‐ann‐lucas‐frost
http://www.veporns.com/video/the‐joys‐of‐a‐long‐hot‐shower‐august‐ames‐sean‐lawless
http://www.veporns.com/video/the‐clumsy‐intern‐xander‐corvus‐jessa‐rhodes‐h24588f41048cbbe
http://www.veporns.com/video/sneaky‐slut‐needs‐to‐learn‐leigh‐darby‐jordi‐el‐nio‐polla‐fira‐ventura
http://www.veporns.com/video/sharing‐is‐caring‐august‐taylor‐sybil‐stallone‐keiran‐lee‐h24588f4f4497aa8
http://www.veporns.com/video/downward‐facing‐dick‐vanessa‐decker‐michael‐vegas
http://www.veporns.com/video/her‐first‐footjob‐lucy‐doll‐syren‐de‐mer‐jessy‐jones
http://www.veporns.com/video/the‐marriage‐counselor‐isis‐love‐xander‐corvus‐h245a44ef30bcf87
http://www.veporns.com/video/on‐the‐sidelines‐on‐her‐knees‐lena‐paul‐johnny‐sins
http://www.veporns.com/video/slipping‐between‐sisters‐cassidy‐banks‐shay‐evans‐jessy‐jones
http://www.veporns.com/video/jade‐screams‐for‐ice‐cream‐michael‐vegas‐jade‐amber
http://www.veporns.com/video/slip‐and‐slide‐2‐harlow‐harrison‐johnny‐castle‐h245a44ef2136872
http://www.veporns.com/video/fucking‐the‐family‐friend‐xander‐corvus‐kimmy‐granger‐h2458d5fd9673693
http://www.veporns.com/video/moniques‐secret‐spa‐part‐2‐keiran‐lee‐monique‐alexander‐kendra‐lust‐h245a44ef03a6bf7
http://www.veporns.com/video/ride‐service‐danny‐d‐audrey‐royal‐h2459218e1a11378
http://www.veporns.com/video/cock‐calling‐on‐the‐job‐site‐ivy‐lebelle‐danny‐d
http://www.veporns.com/video/horny‐dangerous‐conjugal‐visit‐abigail‐mac‐johnny‐sins

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DMCA Subpoena - Page 14
                Case 3:19-mc-05027 Document 1-2 Filed 07/24/19 Page 15 of 49
http://www.veporns.com/video/her‐husbands‐whipped‐isis‐love‐xander‐corvus
http://www.veporns.com/video/doing‐the‐rounds‐keiran‐lee‐jane‐douxxx
http://www.veporns.com/video/digitalplayground‐emma‐hix‐forbidden‐fruit‐h245a4a21a807c3f
http://www.veporns.com/video/my‐phys‐ed‐teacher‐fucked‐my‐tits‐tia‐cyrus‐prince‐yashua
http://www.veporns.com/video/die‐hardcore‐part‐2‐a‐xxx‐parody‐mia‐malkova‐charles‐dera
http://www.veporns.com/video/my‐best‐fucking‐friend‐monica‐asis‐sophia‐leone
http://www.veporns.com/video/fuck‐friends‐never‐get‐married‐karlie‐montana‐karina‐white
http://www.veporns.com/video/queen‐of‐thrones‐part‐2‐a‐xxx‐parody‐romi‐rain‐xander‐corvus‐h245a44ef0ecc2bd
http://www.veporns.com/video/whitney‐wright‐tire‐my‐ass‐out‐brazzersexxtra
http://www.veporns.com/video/express‐pussy‐packaging‐lena‐paul‐jmac
http://www.veporns.com/video/secret‐sauna‐sex‐kyle‐mason‐ivy‐lebelle
http://www.veporns.com/video/drilling‐my‐sergeant‐nina‐elle‐keiran‐lee
http://www.veporns.com/video/a‐big‐load‐2‐ana‐foxxx‐keiran‐lee
http://www.veporns.com/video/oiling‐a‐whore‐alena‐croft‐jessy‐jones‐h24588f3ab072b8b
http://www.veporns.com/video/the‐ass‐on‐adriana‐keiran‐lee‐adriana‐chechik‐h2458d5fd9675eb0
http://www.veporns.com/video/string‐me‐along‐tana‐lea‐keiran‐lee
http://www.veporns.com/video/pumping‐my‐pantyhose‐maddy‐oreilly‐isiah‐maxwell
http://www.veporns.com/video/day‐with‐a‐pornstar‐dani‐dani‐daniels‐jessy‐jones
http://www.veporns.com/video/the‐doctor‐part‐two‐loulou‐danny‐d‐h245a44ef2ce3416
http://www.veporns.com/video/a‐freelance‐fucking‐emma‐butt‐marc‐rose
http://www.veporns.com/video/fuck‐the‐bourgeois‐charlotte‐sartre‐xander‐corvus
http://www.veporns.com/video/smoke‐em‐out‐kali‐roses‐lucas‐frost
http://www.veporns.com/video/big‐boob‐vibrations‐mila‐brite‐bill‐bailey
http://www.veporns.com/video/just‐dont‐fuck‐the‐bosss‐daughter‐abigail‐mac‐isiah‐maxwell
http://www.veporns.com/video/the‐new‐girl‐part‐1‐johnny‐sins‐lauren‐phillips‐h245a44ef32577b9
http://www.veporns.com/video/tell‐me‐when‐its‐over‐natasha‐starr‐xander‐corvus
http://www.veporns.com/video/realitykings‐brandi‐hole‐in‐one‐roundandbrown
http://www.veporns.com/video/working‐her‐over‐casey‐calvert‐mia‐malkova
http://www.veporns.com/video/the‐pleasure‐of‐business‐trips‐xander‐corvus‐ivy‐lebelle
http://www.veporns.com/video/the‐whore‐who‐needed‐more‐jennifer‐white‐preston‐parker‐h24593bb4829533e
http://www.veporns.com/video/maximum‐security‐milf‐hailey‐young
http://www.veporns.com/video/when‐katrina‐met‐leigh‐katrina‐jade‐leigh‐raven
http://www.veporns.com/video/mounted‐by‐my‐mother‐in‐law‐brandi‐love‐kyle‐mason
http://www.veporns.com/video/moniques‐secret‐spa‐part‐1‐monique‐alexander‐xander‐corvus‐h24588f4106ecf01
http://www.veporns.com/video/diva‐demands‐dick‐monique‐alexander‐johnny‐sins
http://www.veporns.com/video/going‐through‐a‐fucking‐phase‐keiran‐lee
http://www.veporns.com/video/nursing‐my‐stepsons‐sick‐dick‐alura‐jenson‐robby‐echo
http://www.veporns.com/video/call‐center‐coochie‐dillion‐harper‐damon‐dice
http://www.veporns.com/video/fists‐of‐anal‐fury‐gabriella‐paltrova‐lea‐lexis
http://www.veporns.com/video/the‐morning‐after‐mess‐missy‐martinez‐noemie‐bilas‐jessy‐jones
http://www.veporns.com/video/doctor‐daydream‐rachel‐roxxx‐mick‐blue
http://www.veporns.com/video/dress‐code‐cunt‐harmony‐reigns‐tony‐de‐sergio
http://www.veporns.com/video/gym‐and‐juice‐charles‐dera‐nicole‐aniston‐abigail‐mac
http://www.veporns.com/video/maid‐for‐anal‐blanche‐bradburry‐keiran‐lee
http://www.veporns.com/video/queen‐of‐the‐dick‐abella‐danger‐markus‐dupree
http://www.veporns.com/video/the‐future‐is‐fucked‐audrey‐bitoni‐jessy‐jones
http://www.veporns.com/video/welcum‐to‐the‐neighborhood‐robbin‐banx‐keiran‐lee
http://www.veporns.com/video/the‐butt‐plug‐burglar‐bridgette‐b‐isiah‐maxwell
http://www.veporns.com/video/switching‐teams‐part‐3‐michael‐vegas‐harley‐jade
http://www.veporns.com/video/lustarmy‐alexis‐adams‐girl‐next‐door‐h245a4a253fa008e
http://www.veporns.com/video/the‐art‐of‐decluttering‐orgasming‐amber‐jayne‐danny‐d
http://www.veporns.com/video/the‐mathletes‐part‐two‐mea‐melone‐danny‐d

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DMCA Subpoena - Page 15
                Case 3:19-mc-05027 Document 1-2 Filed 07/24/19 Page 16 of 49
http://www.veporns.com/video/horny‐wife‐gets‐her‐fix‐taylor‐sands‐freddy‐fox‐h2459b657af5e1fc
http://www.veporns.com/video/emma‐starr‐pretty‐theft‐milfslikeitbig
http://www.veporns.com/video/kenzie‐reeves‐emo‐chick‐needs‐some‐dick‐teenslikeitbig
http://www.veporns.com/video/shy‐moms‐first‐squirt‐reagan‐foxx‐kyle‐mason‐h245960a2ba459cc
http://www.veporns.com/video/my‐fucking‐high‐school‐reunion‐keiran‐lee‐eva‐lovia
http://www.veporns.com/video/oktoberfucked‐ella‐hughes‐danny‐d
http://www.veporns.com/video/mantequilla‐bay‐bay‐jessy‐jones‐angela‐white‐h245a27e4cdd4437
http://www.veporns.com/video/foodtruck‐fuck‐fest‐charisma‐cappelli‐romi‐rain
http://www.veporns.com/video/waiting‐on‐her‐ass‐sienna‐day‐jordi‐el‐nio‐polla‐h245a44ef3870bc7
http://www.veporns.com/video/the‐bang‐ring‐part‐2‐anya‐olsen‐kissa‐sins‐johnny‐sins
http://www.veporns.com/video/cock‐reduction‐tina‐kay‐danny‐d
http://www.veporns.com/video/full‐service‐station‐a‐xxx‐parody‐nikki‐benz‐sean‐lawless
http://www.veporns.com/video/pornstar‐in‐the‐pool‐monique‐alexander‐danny‐d‐h245a44ef0c8709d
http://www.veporns.com/video/penetrating‐pantyhose‐mandy‐muse‐alex‐legend
http://www.veporns.com/video/the‐janitors‐closet‐abigail‐mac‐small‐hands‐h245a44ef2f90acd
http://www.veporns.com/video/so‐you‐think‐you‐know‐porn‐stars‐alessandra‐jane‐danny‐d
http://www.veporns.com/video/my‐suck‐up‐stepsister‐danny‐d‐anya‐olsen‐kennedy‐jax
http://www.veporns.com/video/glazed‐and‐cumfused‐julia‐ann‐jay‐savage
http://www.veporns.com/video/lets‐welcome‐the‐new‐student‐ella‐hughes‐jordi‐el‐nio‐polla‐zoe‐doll‐shona‐river
http://www.veporns.com/video/let‐me‐teach‐you‐isis‐love‐robby‐echo
http://www.veporns.com/video/smart‐ho‐me‐nicolette‐shea‐markus‐dupree
http://www.veporns.com/video/christening‐the‐cougar‐richelle‐ryan‐justin‐hunt
http://www.veporns.com/video/stop‐and‐go‐hoe‐adriana‐chechik‐jmac
http://www.veporns.com/video/sticky‐fingers‐carmen‐caliente‐texas‐patti
http://www.veporns.com/video/free‐anal‐2‐xander‐corvus‐abella‐danger‐sean‐lawless
http://www.veporns.com/video/pornstar‐fantasies‐aaliyah‐love‐cherie‐deville‐h2458a979e34a771
http://www.veporns.com/video/pussy‐pat‐down‐sarah‐banks‐johnny‐sins
http://www.veporns.com/video/my‐friends‐fucked‐my‐mom‐keiran‐lee‐karlo‐karerra‐xander‐corvus‐ryan‐conner‐jordi‐el‐nio‐
polla
http://www.veporns.com/video/switching‐teams‐part‐2‐jessy‐jones‐yhivi
http://www.veporns.com/video/suck‐and‐blow‐adria‐rae‐keiran‐lee
http://www.veporns.com/video/bj‐for‐the‐dj‐sarah‐banks‐jessy‐jones
http://www.veporns.com/video/buttsex‐next‐to‐bubby‐lena‐paul‐xander‐corvus
http://www.veporns.com/video/sharing‐my‐stepsister‐casey‐calvert‐keiran‐lee‐michael‐vegas
http://www.veporns.com/video/the‐listener‐jordi‐el‐nio‐polla‐nicole‐bexley‐h24588f37c5e75d2
http://www.veporns.com/video/hammering‐out‐the‐details‐juelz‐ventura‐jessy‐jones
http://www.veporns.com/video/midnight‐cowgirl‐angela‐white‐keiran‐lee
http://www.veporns.com/video/free‐anal‐4‐sybil‐stallone‐kyle‐mason
http://www.veporns.com/video/zz‐erection‐2016‐part‐4‐charles‐dera‐cherie‐deville‐tyler‐knight‐yasmine‐de‐leon
http://www.veporns.com/video/fuck‐games‐in‐the‐olympic‐village‐marsha‐may‐sean‐lawless‐layla‐london
http://www.veporns.com/video/zz‐courthouse‐part‐one‐alexis‐monroe‐danny‐d
http://www.veporns.com/video/dirty‐girls‐learn‐dirty‐words‐august‐taylor‐mia‐malkova‐van‐wylde
http://www.veporns.com/video/hard‐core‐training‐abigail‐mac‐katrina‐jade‐johnny‐sins
http://www.veporns.com/video/napping‐naked‐veronica‐avluv‐danny‐d‐h24588f4107c4a67
http://www.veporns.com/video/teens‐like‐it‐big‐couch‐cooch‐kimmy‐granger
http://www.veporns.com/video/big‐wet‐miami‐booty‐nina‐kayy‐bruce‐venture‐h245a44eed58b76a
http://www.veporns.com/video/august‐briefs‐her‐boss‐august‐ames‐charles‐dera‐h245a44eed069d49
http://www.veporns.com/video/the‐cock‐starved‐slut‐phoenix‐marie‐danny‐d‐h2458a979e363546
http://www.veporns.com/video/zz‐sex‐doll‐luna‐star‐jessy‐jones
http://www.veporns.com/video/showing‐her‐the‐ropes‐aaliyah‐hadid‐courtney‐taylor‐xander‐corvus
http://www.veporns.com/video/the‐power‐of‐porn‐candy‐charms‐jennifer‐jade
http://www.veporns.com/video/bad‐medicine‐ania‐kinski‐danny‐d

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DMCA Subpoena - Page 16
                Case 3:19-mc-05027 Document 1-2 Filed 07/24/19 Page 17 of 49
http://www.veporns.com/video/southern‐hospitality‐krissy‐lynn‐xander‐corvus
http://www.veporns.com/video/growth‐spurt‐karlee‐grey‐charles‐dera
http://www.veporns.com/video/karmens‐anal‐creampie‐karmen‐karma‐ramon‐h245a44eef642062
http://www.veporns.com/video/locked‐out‐danny‐d‐sidney‐alexis‐h24591dd998ca260
http://www.veporns.com/video/learning‐breaststroke‐karmen‐karma‐keiran‐lee
http://www.veporns.com/video/pedal‐to‐the‐anal‐anna‐de‐ville‐charles‐dera‐ramon
http://www.veporns.com/video/kagneys‐anal‐expert‐tease‐kagney‐linn‐karter‐xander‐corvus‐h24596cb0992e3e0
http://www.veporns.com/video/realitykings‐stella‐cox‐on‐the‐run‐bignaturals‐h2458e55d1587d06
http://www.veporns.com/video/madison‐on‐the‐prowl‐madison‐ivy‐johnny‐sins
http://www.veporns.com/video/yoni‐yogi‐mercedes‐carrera‐van‐wylde
http://www.veporns.com/video/stealing‐the‐young‐stud‐ashley‐downs‐baby‐jewel‐jordi‐el‐nio‐polla
http://www.veporns.com/video/good‐boy‐ella‐hughes‐danny‐d
http://www.veporns.com/video/honey‐hole‐bruce‐venture‐anya‐olsen
http://www.veporns.com/video/dont‐touch‐her‐4‐charles‐dera‐marica‐hase‐h2458dfe56f069d3
http://www.veporns.com/video/corporate‐espionage‐zara‐durose‐danny‐d
http://www.veporns.com/video/night‐caps‐chanel‐preston‐julia‐ann‐lucas‐frost‐nat‐turnher
http://www.veporns.com/video/blowjob‐101‐carla‐pryce‐danny‐d
http://www.veporns.com/video/getting‐smashed‐penny‐pax‐johnny‐sins
http://www.veporns.com/video/the‐kissing‐booth‐sandy‐fantasy‐jenna‐reid‐h245a44ef3013134
http://www.veporns.com/video/dominative‐assistant‐kristina‐rose‐bridgette‐b‐h24588f38915778d
http://www.veporns.com/video/the‐temptation‐test‐kyle‐mason‐brooke‐beretta‐h2458dfe56e7d4fd
http://www.veporns.com/video/sex‐over‐stress‐isabelle‐deltore‐keiran‐lee
http://www.veporns.com/video/dykes‐in‐debt‐ayumi‐anime‐bridgette‐b
http://www.veporns.com/video/drone‐bone‐romi‐rain‐van‐wylde
http://www.veporns.com/video/all‐dolled‐up‐nicolette‐shea‐vivian‐azure‐preston‐parker
http://www.veporns.com/video/zz‐cup‐team‐tits‐danny‐d‐tamara‐grace‐lucia‐love‐michelle‐thorne‐mila‐milan
http://www.veporns.com/video/the‐candy‐stripper‐tia‐cyrus‐ramon
http://www.veporns.com/video/pocket‐asses‐lena‐paul‐van‐wylde
http://www.veporns.com/video/onesie‐in‐the‐bunsie‐keiran‐lee‐mercedes‐carrera‐h24589857bc1f822
http://www.veporns.com/video/teenage‐cock‐smoker‐blair‐williams‐brad‐knight
http://www.veporns.com/video/sales‐pitch‐danny‐d‐christina‐shine‐h24588f3ab09faa6
http://www.veporns.com/video/silhouette‐slam‐karmen‐karma‐markus‐dupree
http://www.veporns.com/video/music‐to‐a‐moms‐ears‐alyssa‐lynn‐cece‐capella‐markus‐dupree
http://www.veporns.com/video/storm‐of‐kings‐xxx‐parody‐part‐3‐aletta‐ocean‐marc‐rose‐h24588f4d8b2cd1e
http://www.veporns.com/video/getting‐her‐rocks‐off‐jade‐kush‐jmac
http://www.veporns.com/video/dirty‐bride‐chad‐white‐lennox‐luxe‐h24588f3ab04c35d
http://www.veporns.com/video/brazzers‐heavenly‐bodies‐kissa‐sins‐peta‐jensen‐johnny‐sins‐h245a44eed8e6cc0
http://www.veporns.com/video/rileys‐private‐show‐riley‐reid‐jessy‐jones
http://www.veporns.com/video/taking‐wifey‐to‐work‐aubrey‐black‐keiran‐lee‐h245a44ef265950c
http://www.veporns.com/video/easiest‐a‐danny‐d‐lauren‐phillips
http://www.veporns.com/video/brazzers‐the‐scoundrel‐strikes‐hard‐leyla‐morgan‐amp‐tarra‐white‐h245a44eedc6a330
http://www.veporns.com/video/touching‐lena‐danny‐d‐lena‐paul‐h2459ae82ed8e80a
http://www.veporns.com/video/olivias‐wet‐little‐secret‐olivia‐nova‐kyle‐mason
http://www.veporns.com/video/breast‐made‐plans‐keisha‐grey‐bill‐bailey‐h245960a2b9addfc
http://www.veporns.com/video/the‐loophole‐xander‐corvus‐briana‐banks‐taylor‐sands
http://www.veporns.com/video/judge‐juggy‐jessica‐jaymes‐keiran‐lee‐h245a44eef585b9b
http://www.veporns.com/video/almost‐perfect‐girlfriend‐amber‐chase‐keiran‐lee‐michael‐vegas
http://www.veporns.com/video/a‐fuck‐to‐remember‐johnny‐sins‐peta‐jensen‐h24588f3ab3a5fbb
http://www.veporns.com/video/method‐to‐my‐tight‐ass‐jessy‐jones‐jillian‐janson
http://www.veporns.com/video/what‐you‐see‐is‐what‐you‐get‐charles‐dera‐jessa‐rhodes‐h24589f892d9bc9c
http://www.veporns.com/video/easy‐like‐sunday‐morning‐johnny‐sins‐august‐ames‐h2458e91e9b59842
http://www.veporns.com/video/rock‐out‐with‐no‐cocks‐out‐abella‐danger‐joanna‐angel

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DMCA Subpoena - Page 17
                 Case 3:19-mc-05027 Document 1-2 Filed 07/24/19 Page 18 of 49
http://www.veporns.com/video/giselle‐palmer‐slow‐and‐sexy‐babygotboobs
http://www.veporns.com/video/haunted‐ho‐liza‐del‐sierra‐danny‐d
http://www.veporns.com/video/feeling‐up‐the‐fashion‐girl‐reagan‐foxx‐johnny‐sins
http://www.veporns.com/video/the‐lumbersexual‐corinna‐blake‐markus‐dupree
http://www.veporns.com/video/stranded‐stepmom‐lucas‐frost‐tegan‐james‐h245a44ee4cb1647
http://www.veporns.com/video/that‐bra‐isnt‐going‐to‐take‐itself‐off‐dillion‐harper‐mia‐malkova‐h245a44ef2820aa6
http://www.veporns.com/video/look‐dont‐touch‐lauren‐phillips‐van‐wylde‐h245a44eef8e2a83
http://www.veporns.com/video/swipe‐the‐slate‐clean‐part‐two‐ashley‐adams‐danny‐d
http://www.veporns.com/video/pushing‐boundaries‐charles‐dera‐valentina‐nappi‐h24588f349ff012a
http://www.veporns.com/video/full‐service‐banking‐angela‐white‐prince‐yashua
http://www.veporns.com/video/photo‐finish‐on‐my‐tits‐synthia‐fixx‐kyle‐mason‐h245a44ef0baa3aa
http://www.veporns.com/video/polishing‐his‐trophy‐ariella‐ferrera‐justin‐hunt
http://www.veporns.com/video/moniques‐secret‐spa‐part‐3‐monique‐alexander‐danny‐d‐h24588f3dbe11d9a
http://www.veporns.com/video/the‐make‐over‐darcie‐dolce‐jelena‐jensen
http://www.veporns.com/video/mind‐if‐stepmom‐joins‐you‐kristen‐scott‐richelle‐ryan‐kyle‐mason
http://www.veporns.com/video/horny‐in‐home‐ec‐sofi‐ryan‐charles‐dera
http://www.veporns.com/video/no‐distractions‐tia‐cyrus‐jessy‐jones‐h245956378717944
http://www.veporns.com/video/asking‐her‐friends‐dad‐for‐a‐ride‐aubrey‐gold‐danny‐d‐h245a084f1085aa7
http://www.veporns.com/video/an‐aptitude‐for‐ass‐natasha‐nice‐justin‐hunt
http://www.veporns.com/video/cum‐like‐its‐hot‐chanel‐preston‐luna‐star‐h245a44eee0bce3c
http://www.veporns.com/video/cumming‐up‐with‐the‐evidence‐katrina‐jade‐isiah‐maxwell‐h2459e5fe686b9c5
http://www.veporns.com/video/milf‐and‐cookies‐amber‐chase‐xander‐corvus‐h245960a2ba0c512
http://www.veporns.com/video/if‐dad‐wont‐help‐strangers‐will‐elsa‐jean‐keiran‐lee‐h245925339e5e141
http://www.veporns.com/video/world‐war‐xxx‐part‐six‐peta‐jensen‐phoenix‐marie‐ramon‐tommy‐gunn
http://www.veporns.com/video/taking‐pics‐and‐stealing‐dick‐jordi‐el‐nio‐polla‐mina‐sauvage
http://www.veporns.com/video/seducing‐the‐shopgirl‐harley‐jade‐ramon
http://www.veporns.com/video/my‐professors‐pantyhose‐lauren‐phillips‐tyler‐nixon
http://www.veporns.com/video/big‐butt‐wedding‐day‐simony‐diamond‐danny‐d‐h245a44eed2a27df
http://www.veporns.com/video/boning‐the‐butler‐jasmine‐jae‐danny‐d
http://www.veporns.com/video/realitykings‐alexis‐deen‐after‐class‐ass‐teenslovehugecocks
http://www.veporns.com/video/massage‐yourself‐joanna‐angel‐keiran‐lee
http://www.veporns.com/video/milfs‐on‐vacation‐part‐2‐anna‐bell‐peaks‐cory‐chase‐alex‐d‐h245a44eeffecf1f
http://www.veporns.com/video/return‐of‐ivy‐madison‐ivy‐keiran‐lee
http://www.veporns.com/video/the‐trophy‐husband‐ariella‐ferrera‐markus‐dupree
http://www.veporns.com/video/squeaky‐clean‐ava‐addams‐megan‐rain‐jordi‐el‐nio‐polla
http://www.veporns.com/video/milking‐clit‐ella‐hughes‐jillian‐janson
http://www.veporns.com/video/cucked‐for‐historical‐accuracy‐britney‐amber‐johnny‐sins
http://www.veporns.com/video/get‐well‐poon‐bambino‐kendall‐woods‐h24588f3dbf41770
http://www.veporns.com/video/bathing‐with‐my‐bffs‐mom‐reena‐sky‐sarah‐banks
http://www.veporns.com/video/would‐taking‐off‐my‐alge‐bra‐help‐alexis‐monroe‐justin‐hunt
http://www.veporns.com/video/a‐history‐of‐whoring‐sybil‐stallone‐keiran‐lee
http://www.veporns.com/video/designated‐ass‐fucking‐friend‐mandy‐muse‐mick‐blue
http://www.veporns.com/video/preachers‐wife‐goes‐wild‐sofi‐ryan‐chad‐white‐h245941089254617
http://www.veporns.com/video/youre‐so‐extra‐bella‐bellz‐karlo‐karerra‐h245a44ef3cab4b7
http://www.veporns.com/video/jackhammer‐my‐ass‐ashley‐fires‐danny‐d‐h245a44eef4162c2
http://www.veporns.com/video/another‐marriage‐down‐the‐drain‐katy‐jayne‐logan‐long
http://www.veporns.com/video/a‐union‐nutbuster‐nicole‐aniston‐johnny‐sins
http://www.veporns.com/video/the‐deal‐breaker‐bruce‐venture‐olivia‐fox
http://www.veporns.com/video/big‐booty‐balling‐bill‐bailey‐abella‐danger‐h245a44eed14bb20
http://www.veporns.com/video/s‐is‐for‐squirt‐keiran‐lee‐gabriella‐paltrova‐casey‐calvert
http://www.veporns.com/video/the‐beginning‐of‐the‐end‐breanne‐benson
http://www.veporns.com/video/the‐big‐friendly‐dick‐kristen‐scott‐mick‐blue

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DMCA Subpoena - Page 18
                Case 3:19-mc-05027 Document 1-2 Filed 07/24/19 Page 19 of 49
http://www.veporns.com/video/be‐my‐mannequin‐brooke‐wylde‐danny‐d
http://www.veporns.com/video/friend‐zone‐bone‐zoe‐clark‐justin‐hunt‐h245a0eae79726d5
http://www.veporns.com/video/my‐slutty‐secretary‐markus‐dupree‐angela‐white‐h245a27e4ce2271b
http://www.veporns.com/video/mommys‐got‐some‐bazookas‐texas‐patti‐robby‐echo
http://www.veporns.com/video/fuck‐romance‐danny‐d‐moka‐mora‐h245a0eae798b394
http://www.veporns.com/video/extra‐amenities‐lela‐star‐sean‐lawless
http://www.veporns.com/video/nutjob‐nurse‐lily‐adams‐johnny‐sins
http://www.veporns.com/video/catty‐co‐stars‐cecilia‐lion‐sophia‐leone
http://www.veporns.com/video/cum‐petitive‐pricing‐phoenix‐marie‐danny‐d‐kylie‐nicole
http://www.veporns.com/video/have‐your‐cock‐and‐eat‐it‐too‐nina‐elle‐justin‐hunt
http://www.veporns.com/video/double‐timing‐wife‐3‐aryana‐adin‐justin‐hunt‐small‐hands
http://www.veporns.com/video/watch‐learn‐keiran‐lee‐lily‐labeau‐h245a44ef38e903b
http://www.veporns.com/video/hot‐mic‐victoria‐june‐johnny‐sins‐h245a44eeefe0243
http://www.veporns.com/video/you‐need‐to‐learn‐anna‐morna‐kayla‐kayden
http://www.veporns.com/video/wonder‐woman‐a‐xxx‐parody‐charles‐dera‐romi‐rain
http://www.veporns.com/video/oily‐playtime‐adessa‐winters‐ariella‐ferrera‐h245a084f1693ccf
http://www.veporns.com/video/nothing‐goes‐to‐waste‐kaylani‐lei‐keiran‐lee
http://www.veporns.com/video/power‐bangers‐a‐xxx‐parody‐part‐5‐zzseries‐abigail‐mac‐katrina‐jade‐kimmy‐granger
http://www.veporns.com/video/crushing‐his‐dreams‐blanche‐bradburry‐danny‐d
http://www.veporns.com/video/the‐foreman‐is‐a‐whore‐man‐dolly‐leigh‐xander‐corvus
http://www.veporns.com/video/strictly‐hardcore‐cherie‐deville‐kyle‐mason
http://www.veporns.com/video/brazzers‐house‐2‐day‐2‐abella‐danger‐alexis‐fawx‐keisha‐grey‐kelsi‐monroe‐luna‐star‐megan‐
rain‐monique‐alexander‐nicole‐aniston‐phoenix‐marie‐skyla‐novea‐charles‐dera‐jessy‐jones‐jmac‐sean‐lawless‐toni‐ribas‐
h245a44eed9c60a8
http://www.veporns.com/video/outing‐the‐outed‐krissy‐lynn‐sheena‐rose‐uma‐jolie‐h245a44ef097f5b8
http://www.veporns.com/video/shicoksu‐massage‐kimber‐woods‐johnny‐castle‐h245a44ef20bde98
http://www.veporns.com/video/rowdy‐armbar‐goes‐too‐far‐krissy‐lynn‐mickey‐mod
http://www.veporns.com/video/my‐buddys‐sisters‐boobs‐keiran‐lee‐aidra‐fox
http://www.veporns.com/video/curious‐cock‐massager‐keiran‐lee‐ayumu‐kase‐h245a44eee14b2ea
http://www.veporns.com/video/sexy‐secretary‐selfies‐rachel‐roxxx‐mick‐blue
http://www.veporns.com/video/bitch‐better‐have‐my‐money‐iris‐rose‐danny‐d
http://www.veporns.com/video/personal‐trainers‐session‐3‐keiran‐lee‐kendra‐lust‐h24588f35820859e
http://www.veporns.com/video/lick‐my‐limo‐ariella‐ferrera
http://www.veporns.com/video/sunbathing‐distraction‐isiah‐maxwell‐assh‐lee
http://www.veporns.com/video/conference‐call‐lily‐labeau‐jessy‐jones
http://www.veporns.com/video/spin‐this‐vienna‐black‐kyle‐mason
http://www.veporns.com/video/anal‐is‐a‐girls‐best‐friend‐chanel‐preston‐danny‐d‐h245a44eecee1a0f
http://www.veporns.com/video/up‐to‐code‐and‐up‐her‐ass‐angela‐white‐keiran‐lee‐h245a4a24d59bf14
http://www.veporns.com/video/first‐time‐with‐my‐bff‐aidra‐fox‐chloe‐cherry
http://www.veporns.com/video/stocks‐and‐bonds‐age‐charles‐dera
http://www.veporns.com/video/big‐tits‐on‐the‐bottom‐bunk‐dylan‐phoenix‐molly‐jane‐h245a44eed4117b0
http://www.veporns.com/video/flex‐and‐sex‐rebecca‐more‐jordi‐el‐nio‐polla
http://www.veporns.com/video/wife‐insurance‐jessa‐rhodes‐bill‐bailey
http://www.veporns.com/video/doctors‐high‐school‐crush‐tina‐kay‐jordi‐el‐nio‐polla‐h24588f357df1364
http://www.veporns.com/video/sharing‐the‐shower‐2‐ryan‐conner‐jojo‐kiss‐jordi‐el‐nio‐polla‐h2459063445874bc
http://www.veporns.com/video/abstract‐sexpressionism‐nicole‐aniston‐xander‐corvus
http://www.veporns.com/video/jiggly‐jump‐rope‐candy‐alexa‐danny‐d
http://www.veporns.com/video/honey‐its‐a‐motorbunny‐ariella‐ferrera‐johnny‐sins
http://www.veporns.com/video/preppies‐in‐pantyhose‐part‐1‐ariana‐marie‐chanel‐preston
http://www.veporns.com/video/the‐lust‐picture‐show‐karlee‐grey‐michael‐vegas
http://www.veporns.com/video/bigtitsatwork‐ryan‐keely‐product‐placement‐in‐her‐pussy
http://www.veporns.com/video/realwifestories‐london‐river‐sports‐suck

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DMCA Subpoena - Page 19
                 Case 3:19-mc-05027 Document 1-2 Filed 07/24/19 Page 20 of 49
http://www.veporns.com/video/a‐whipped‐cream‐cocksicle‐kendall‐kayden‐mick‐blue‐h245971df913e48b
http://www.veporns.com/video/secretly‐rubbed‐in‐the‐hot‐tub‐dana‐dearmond‐rion‐king
http://www.veporns.com/video/back‐to‐school‐banging‐krissy‐lynn‐robby‐echo
http://www.veporns.com/video/oiling‐up‐the‐client‐jessy‐jones‐keisha‐grey‐h245a0eae7be1130
http://www.veporns.com/video/up‐and‐cummer‐kira‐noir‐van‐wylde
http://www.veporns.com/video/pussy‐o‐plomo‐part‐1‐keiran‐lee‐abigail‐mac
http://www.veporns.com/video/zz‐series‐julia‐ann‐lost‐in‐brazzers‐episode‐2‐h245a44ef3f4acae
http://www.veporns.com/video/the‐milf‐and‐the‐faith‐eva‐karera‐chris‐strokes‐h245a44ef3164eab
http://www.veporns.com/video/the‐next‐big‐thing‐krissy‐lynn‐alex‐legend
http://www.veporns.com/video/the‐mad‐dr‐deville‐cherie‐deville‐van‐wylde
http://www.veporns.com/video/pussy‐for‐breakfast‐alexis‐fawx‐molly‐mae
http://www.veporns.com/video/dont‐touch‐her‐kagney‐linn‐karter‐ramon
http://www.veporns.com/video/ella‐knox‐busted‐at‐the‐banana‐shop‐bigtitsatwork
http://www.veporns.com/video/petite‐girl‐in‐a‐big‐cock‐world‐liza‐rowe‐brad‐hart‐h245a44ef0b16e7d
http://www.veporns.com/video/the‐moaning‐after‐alura‐jenson‐xander‐corvus
http://www.veporns.com/video/teasing‐my‐teacher‐teanna‐trump‐ramon
http://www.veporns.com/video/my‐stepdaughter‐loves‐porn‐bill‐bailey‐layla‐london‐h245a0eae7b370cd
http://www.veporns.com/video/huge‐cock‐for‐hire‐brandi‐love‐danny‐mountain
http://www.veporns.com/video/wedding‐planning‐pt‐1‐tiffany‐brookes‐xander‐corvus
http://www.veporns.com/video/fight‐me‐bitch‐abella‐danger‐jenna‐foxx
http://www.veporns.com/video/babes‐whos‐the‐boss‐now‐aidra‐fox‐ariana‐marie‐h245a44eeb53fd1a
http://www.veporns.com/video/can‐i‐bother‐you‐for‐a‐tall‐glass‐of‐dick‐keiran‐lee‐courtney‐taylor‐jasmine‐jae
http://www.veporns.com/video/study‐buddies‐august‐ames‐sean‐lawless‐h245a16d4d1c3bb9
http://www.veporns.com/video/the‐house‐christening‐phoenix‐marie‐jmac‐h24595637874c7bd
http://www.veporns.com/video/sneaky‐slut‐bags‐the‐scoundrel‐jordi‐el‐nio‐polla‐michelle‐thorne
http://www.veporns.com/video/when‐a‐doctor‐needs‐help‐michael‐vegas‐skyla‐novea‐h245a16d4d1ddab0
http://www.veporns.com/video/ms‐sheas‐summer‐school‐nicolette‐shea‐tyler‐nixon
http://www.veporns.com/video/driving‐dick‐aidra‐fox‐jessy‐jones
http://www.veporns.com/video/the‐doctor‐part‐one‐franceska‐jaimes‐danny‐d
http://www.veporns.com/video/cuffed‐and‐fucked‐ramon‐abella‐danger
http://www.veporns.com/video/deadly‐rain‐part‐one‐allie‐haze‐peta‐jensen‐romi‐rain‐jessy‐jones
http://www.veporns.com/video/pulled‐over‐pussy‐august‐ames‐eva‐lovia‐keiran‐lee‐h2459e5fe68dc4c8
http://www.veporns.com/video/trilliums‐lesbian‐fantasy‐trillium‐elena‐koshka‐h24593157c6d5ff0
http://www.veporns.com/video/the‐perfect‐hostess‐vicki‐chase‐keiran‐lee‐h245a44ef32829db
http://www.veporns.com/video/the‐replacement‐jennifer‐white‐danny‐d‐h2458a979e22a634
http://www.veporns.com/video/physical‐education‐cathy‐heaven‐danny‐d
http://www.veporns.com/video/getting‐her‐happy‐ending‐ryan‐keely‐jordi‐el‐nio‐polla
http://www.veporns.com/video/nurse‐a‐cock‐in‐her‐chanel‐preston‐danny‐d‐veruca‐james‐h24589857bc0ec5f
http://www.veporns.com/video/massage‐theraphsody‐xander‐corvus‐anastasia‐hart
http://www.veporns.com/video/if‐i‐was‐your‐boss‐keiran‐lee‐kalina‐ryu‐h245a44eef253b82
http://www.veporns.com/video/giving‐it‐to‐mrs‐dearmond‐dana‐dearmond‐keiran‐lee
http://www.veporns.com/video/paid‐in‐full‐keiran‐lee‐chloe‐amour‐h24588f3db56bf19
http://www.veporns.com/video/rachel‐blows‐off‐some‐steam‐rachel‐starr‐sean‐lawless
http://www.veporns.com/video/cumpany‐lunch‐tia‐cyrus‐johnny‐sins
http://www.veporns.com/video/our‐new‐maid‐part‐four‐monique‐alexander‐peta‐jensen‐danny‐mountain‐
h245a44ef08ee088
http://www.veporns.com/video/my‐lil‐dungeon‐keeper‐raven‐hart‐h24588f35822b3c0
http://www.veporns.com/video/my‐stepmoms‐panties‐shayla‐leveaux‐keiran‐lee
http://www.veporns.com/video/one‐wet‐cheerleader‐peta‐jensen‐ramon‐h24588f50a49960b
http://www.veporns.com/video/day‐with‐a‐pornstar‐keisha‐and‐abella‐levi‐cash‐keisha‐grey‐abella‐danger
http://www.veporns.com/video/to‐assfuck‐a‐neighbor‐jasmine‐jae‐mick‐blue
http://www.veporns.com/video/a‐case‐of‐the‐moan‐days‐keiran‐lee‐brooklyn‐chase‐h24588f349fc4f7d

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DMCA Subpoena - Page 20
                Case 3:19-mc-05027 Document 1-2 Filed 07/24/19 Page 21 of 49
http://www.veporns.com/video/the‐ole‐switcheroo‐valerie‐kay‐charles‐dera
http://www.veporns.com/video/an‐athletes‐touch‐sean‐lawless‐skyla‐novea‐h245a44eece8298c
http://www.veporns.com/video/ivys‐anal‐addiction‐madison‐ivy‐mick‐blue
http://www.veporns.com/video/squirting‐all‐over‐her‐veronica‐rodriguez‐xander‐corvus
http://www.veporns.com/video/you‐cant‐leave‐the‐house‐like‐that‐vanessa‐sky‐keiran‐lee‐h245a44ef3c03b84
http://www.veporns.com/video/the‐interview‐round‐2‐keiran‐lee‐britney‐amber‐michael‐vegas‐h245a44ef2f649fb
http://www.veporns.com/video/the‐temptation‐of‐teen‐xander‐corvus‐jade‐amber‐h245a44ef3418ce0
http://www.veporns.com/video/adopt‐a‐pornstar‐keiran‐lee‐kendra‐lust‐keisha‐grey
http://www.veporns.com/video/wife‐showers‐with‐the‐babysitter‐august‐amesava‐addams‐jessy‐jones
http://www.veporns.com/video/double‐occupancy‐lana‐rhoades‐nicolette‐shea‐xander‐corvus
http://www.veporns.com/video/damsels‐in‐denim‐nicole‐aniston‐anikka‐albrite
http://www.veporns.com/video/milf‐surprise‐syren‐de‐mer‐xander‐corvus
http://www.veporns.com/video/sharing‐the‐siblings‐part‐2‐xander‐corvus‐violet‐starr
http://www.veporns.com/video/shadowplay‐alyssa‐kent‐danny‐d
http://www.veporns.com/video/asanas‐ass‐sarah‐vandella‐ramon
http://www.veporns.com/video/the‐mommy‐maid‐sarah‐jessie‐jessy‐jones
http://www.veporns.com/video/a‐bottom‐bunk‐banging‐prince‐yashua‐karlee‐grey
http://www.veporns.com/video/something‐borrowed‐something‐blew‐kelsi‐monroe‐jmac
http://www.veporns.com/video/fucking‐like‐frenemies‐part‐2‐aaliyah‐hadid‐michael‐vegas
http://www.veporns.com/video/rough‐time‐for‐a‐tiny‐tease‐iggy‐amore‐silvia‐saige‐ramon‐8478‐h2459805ecb386e1
http://www.veporns.com/video/the‐new‐appli‐cunt‐ava‐addams‐riley‐jenner‐charles‐dera
http://www.veporns.com/video/the‐other‐side‐of‐the‐whore‐allie‐haze‐preston‐parker‐h245916c668c5825
http://www.veporns.com/video/the‐crowning‐jewel‐kat‐dior‐ramon
http://www.veporns.com/video/a‐piece‐of‐my‐candy‐ass‐keiran‐lee‐jynx‐maze
http://www.veporns.com/video/sloppy‐professionalism‐alix‐lynx‐danny‐mountain
http://www.veporns.com/video/cream‐my‐jeans‐ryan‐conner‐keiran‐lee
http://www.veporns.com/video/bump‐in‐the‐night‐kiki‐minaj‐danny‐d
http://www.veporns.com/video/the‐blindfold‐massage‐peta‐jensen‐bill‐bailey‐jessy‐jones‐h245a44ef2a56018
http://www.veporns.com/video/so‐you‐think‐you‐can‐twerk‐diamond‐kitty‐kelsi‐monroe‐jmac
http://www.veporns.com/video/a‐knob‐well‐done‐lana‐rhoades‐markus‐dupree
http://www.veporns.com/video/big‐booty‐recruit‐derrick‐ferrari‐desiree‐lopez‐h245a44eed20bdee
http://www.veporns.com/video/world‐war‐xxx‐part‐five‐peta‐jensen‐mick‐blue
http://www.veporns.com/video/doctor‐knows‐best‐phoenix‐marie‐johnny‐castle
http://www.veporns.com/video/nanny‐adventures‐naomi‐woods‐osa‐lovely‐xander‐corvus‐h245a084f15f35f8
http://www.veporns.com/video/my‐slutty‐stepmoms‐wedding‐raven‐hart‐justin‐hunt
http://www.veporns.com/video/anal‐swinger‐august‐taylor‐markus‐dupree‐h245a1d952f510f1
http://www.veporns.com/video/summer‐camp‐secrets‐anna‐de‐ville‐jill‐kassidy‐h24595e08fb8f51e
http://www.veporns.com/video/life‐assistant‐doll‐danny‐d‐alicia‐amira
http://www.veporns.com/video/stealing‐sisters‐boyfriend‐lily‐love‐xander‐corvus‐h24593e67d64ba8f
http://www.veporns.com/video/what‐wifey‐wants‐adriana‐chechik‐isiah‐maxwell
http://www.veporns.com/video/the‐window‐watcher‐patty‐michova‐danny‐d
http://www.veporns.com/video/star‐whores‐princess‐lay‐xxx‐parody‐abby‐cross‐danny‐d
http://www.veporns.com/video/this‐one‐weird‐trick‐christina‐shine‐danny‐d
http://www.veporns.com/video/late‐riser‐gets‐laid‐joslyn‐james
http://www.veporns.com/video/rating‐staci‐staci‐carr‐keiran‐lee‐h24592533a5b22ca
http://www.veporns.com/video/angela‐loves‐anal‐markus‐dupree‐angela‐white‐h24590cb3080e6c2
http://www.veporns.com/video/the‐future‐of‐fucking‐luna‐star‐keiran‐lee
http://www.veporns.com/video/fix‐your‐fucking‐marriage‐nicole‐aniston‐keiran‐lee
http://www.veporns.com/video/homo‐sexians‐christiana‐cinn‐keiran‐lee
http://www.veporns.com/video/the‐joys‐of‐djing‐abigail‐mac‐jessy‐jones‐keisha‐grey‐h24588f410739d7b
http://www.veporns.com/video/taking‐care‐of‐businessman‐jada‐stevens‐jessy‐jones‐h245962231813ad4
http://www.veporns.com/video/my‐mean‐sugar‐daddy‐keiran‐lee‐holly‐hendrix‐h24594cf006e8cbe

                                                     16

DMCA Subpoena - Page 21
                Case 3:19-mc-05027 Document 1-2 Filed 07/24/19 Page 22 of 49
http://www.veporns.com/video/moriah‐fucks‐her‐muse‐moriah‐mills‐keiran‐lee
http://www.veporns.com/video/my‐boyfriend‐or‐his‐brother‐carly‐rae‐danny‐d‐jordi‐el‐nio‐polla‐h245941089240f38
http://www.veporns.com/video/a‐teen‐tied‐me‐up‐johnny‐castle‐megan‐rain
http://www.veporns.com/video/hard‐at‐the‐yard‐sale‐kayla‐kayden‐sofi‐ryan‐xander‐corvus
http://www.veporns.com/video/booty‐on‐the‐bike‐sarah‐banks‐markus‐dupree
http://www.veporns.com/video/oiled‐up‐babes‐dani‐daniels‐valentina‐nappi
http://www.veporns.com/video/parent‐teacher‐cumference‐ariella‐ferrera‐nicolette‐shea‐johnny‐sins
http://www.veporns.com/video/the‐milf‐man‐courtney‐taylor‐van‐wylde
http://www.veporns.com/video/get‐off‐the‐phone‐tony‐rubino‐h245a084f823ff74
http://www.veporns.com/video/zz‐erection‐2016‐part‐3‐eva‐karera‐xander‐corvus‐h245a44ef3deccc2
http://www.veporns.com/video/your‐father‐fucks‐me‐harder‐jessa‐rhodes‐keiran‐lee
http://www.veporns.com/video/moms‐sex‐robot‐danny‐d‐misha‐cross‐michelle‐thorne‐h245a44ef02556fb
http://www.veporns.com/video/jerking‐the‐morning‐shift‐lela‐star‐keiran‐lee
http://www.veporns.com/video/eenie‐meenie‐miney‐ho‐marsha‐may‐sydney‐cole‐h245a0eae78acb63
http://www.veporns.com/video/i‐wont‐tell‐your‐father‐monique‐alexander‐jordi‐el‐nio‐polla‐angel‐smalls‐h245a44edcfddd85
http://www.veporns.com/video/disrespecting‐the‐maid‐gia‐paige‐tory‐lane‐mike‐mancini
http://www.veporns.com/video/haute‐couture‐skylar‐snow‐keiran‐lee‐h245a44eeee5105d
http://www.veporns.com/video/auction‐cock‐moriah‐mills‐romi‐rain‐mick‐blue
http://www.veporns.com/video/yoga‐freaks‐episode‐seven‐nicole‐aniston‐jessy‐jones‐ariana‐marie‐h24588f34a02b4c7
http://www.veporns.com/video/milf‐teaches‐newlyweds‐carolina‐abril‐leigh‐darby‐chris‐diamond
http://www.veporns.com/video/emergency‐titty‐fuck‐johnny‐castle‐lennox‐luxe
http://www.veporns.com/video/daddyslilangel‐alex‐more‐anal‐angel
http://www.veporns.com/video/sauna‐seduction‐paisley‐rae‐van‐wylde
http://www.veporns.com/video/my‐professor‐thinks‐im‐perfect‐ella‐knox‐charles‐dera
http://www.veporns.com/video/doctor‐who‐ramon‐dillion‐harper
http://www.veporns.com/video/star‐trexxx‐the‐captains‐seed‐xxx‐parody‐danny‐d‐brooklyn‐blue‐zara‐durose
http://www.veporns.com/video/jailhouse‐fuck‐four‐lily‐lane‐johnny‐sins
http://www.veporns.com/video/fluids‐on‐the‐flight‐alison‐tyler‐charlotte‐stokely‐julia‐ann
http://www.veporns.com/video/cant‐get‐enough‐danny‐d‐rebecca‐volpetti
http://www.veporns.com/video/ghostbusters‐xxx‐parody‐part‐2‐nikki‐benz‐monique‐alexander‐michael‐vegas‐romi‐rain‐
abigail‐mac‐ana‐foxxx‐zz‐series
http://www.veporns.com/video/youll‐never‐be‐cool‐evelin‐stone
http://www.veporns.com/video/babysitter‐got‐boobs‐moriah‐mills‐keiran‐lee‐h245a1d951371222
http://www.veporns.com/video/pantyhose‐playtime‐nikki‐benz‐jean‐val‐jean‐h24588f410463fba
http://www.veporns.com/video/my‐mom‐fucked‐my‐girlfriend‐diamond‐foxxx‐kendall‐kross‐h24594108924a70e
http://www.veporns.com/video/kims‐yoga‐pants‐lela‐star‐stallion
http://www.veporns.com/video/pussy‐is‐international‐rebecca‐more‐rhiannon‐ryder‐jordi‐el‐nio‐polla
http://www.veporns.com/video/brandi‐loves‐the‐interview‐brandi‐love‐mia‐malkova
http://www.veporns.com/video/mia‐is‐a‐blowjob‐addict‐mia‐malkova‐keiran‐lee
http://www.veporns.com/video/hippie‐ending‐massage‐elsa‐jean‐keiran‐lee
http://www.veporns.com/video/full‐load‐us‐fucking‐vanessa‐cage‐tyler‐nixon
http://www.veporns.com/video/girth‐in‐her‐shell‐a‐xxx‐parody‐nicole‐aniston‐markus‐dupree‐h245a44eeed4cb9e
http://www.veporns.com/video/the‐replacement‐ryan‐smiles‐jmac
http://www.veporns.com/video/a‐burglar‐fucked‐my‐daughter‐jessy‐jones‐tiffany‐watson
http://www.veporns.com/video/not‐safe‐for‐work‐danny‐d‐kylie‐page‐h2458a4513f629d0
http://www.veporns.com/video/lost‐my‐cockcentration‐katrina‐jade‐markus‐dupree
http://www.veporns.com/video/nikki‐gets‐wet‐nikki‐benz‐keiran‐lee
http://www.veporns.com/video/up‐the‐wrong‐hole‐xander‐corvus‐jillian‐janson‐h24588f3c556bc6f
http://www.veporns.com/video/the‐milf‐that‐fucked‐my‐brother‐bianca‐breeze‐van‐wylde‐h245a44ef31afc9d
http://www.veporns.com/video/clean‐up‐on‐aisle‐valentina‐valentina‐ricci‐danny‐d
http://www.veporns.com/video/showering‐his‐wife‐with‐attention‐kissa‐sins‐keiran‐lee
http://www.veporns.com/video/doctors‐whore‐ders‐holly‐michaels‐keiran‐lee

                                                      17

DMCA Subpoena - Page 22
                Case 3:19-mc-05027 Document 1-2 Filed 07/24/19 Page 23 of 49
http://www.veporns.com/video/dont‐tell‐your‐dad‐darcie‐dolce‐sandy‐fantasy‐h245a44eee4d6712
http://www.veporns.com/video/make‐up‐sexam‐ashley‐adams‐johnny‐sins
http://www.veporns.com/video/hold‐that‐shot‐2‐krissy‐lynn‐danny‐d
http://www.veporns.com/video/the‐future‐familys‐fuck‐robot‐part‐2‐missy‐martinez‐xander‐corvus
http://www.veporns.com/video/best‐jog‐ever‐danny‐d‐daya‐knight
http://www.veporns.com/video/my‐dates‐mom‐diamond‐foxxx‐xander‐corvus‐h245a44ef042d9b4
http://www.veporns.com/video/bodystocking‐rubdown‐2‐arya‐fae‐preston‐parker‐h24594a7767df727
http://www.veporns.com/video/put‐her‐to‐the‐test‐alix‐lynx‐keiran‐lee
http://www.veporns.com/video/amia‐mileys‐pool‐party‐amia‐miley‐markus‐dupree‐h24595e08faeb1be
http://www.veporns.com/video/a‐dose‐of‐cock‐for‐co‐ed‐blues‐keiran‐lee‐jessa‐rhodes‐h245a44eecc763f9
http://www.veporns.com/video/naughty‐trade‐for‐a‐good‐grade‐charles‐dera
http://www.veporns.com/video/stick‐to‐the‐script‐lauren‐phillips‐danny‐d
http://www.veporns.com/video/you‐may‐now‐peg‐the‐bride‐aspen‐rose‐diamond‐jackson
http://www.veporns.com/video/pantyhose‐anal‐ho‐bella‐bellz‐preston‐parker‐h245a44ef09eeafe
http://www.veporns.com/video/cumming‐to‐her‐rescue‐lea‐guerlin‐freddy‐fox‐h24594cf00510782
http://www.veporns.com/video/milking‐the‐patient‐jessica‐jaymes‐bill‐bailey
http://www.veporns.com/video/the‐blow‐job‐seeker‐lezley‐zen‐bruce‐venture
http://www.veporns.com/video/fuck‐your‐budget‐christiana‐cinn‐keiran‐lee
http://www.veporns.com/video/lena‐paul‐horny‐home‐care‐doctoradventures
http://www.veporns.com/video/you‐have‐the‐right‐to‐remain‐sexy‐karma‐rx‐charles‐dera
http://www.veporns.com/video/brazzertarians‐worshippers‐of‐porn‐brooke‐wylde‐sean‐lawless‐h245a44eedcda926
http://www.veporns.com/video/my‐wifes‐girlfriend‐jessy‐jones‐kayla‐kayden
http://www.veporns.com/video/from‐snoring‐to‐whoring‐keiran‐lee‐kimmy‐granger‐naomi‐woods
http://www.veporns.com/video/organic‐orgasms‐kiki‐minaj‐danny‐d
http://www.veporns.com/video/bangin‐like‐bunnies‐ella‐knox‐giselle‐palmer‐van‐wylde
http://www.veporns.com/video/dick‐delivery‐gigi‐allens‐keiran‐lee‐h245a44eee258671
http://www.veporns.com/video/peacocking‐victoria‐june‐keiran‐lee
http://www.veporns.com/video/paying‐up‐blair‐williams‐johnny‐sins
http://www.veporns.com/video/waking‐up‐with‐katrina‐katrina‐jade‐keiran‐lee
http://www.veporns.com/video/the‐new‐girl‐part‐3‐danny‐d‐lauren‐phillips‐lena‐paul‐h24599b36072fea8
http://www.veporns.com/video/betty‐cocker‐cory‐chase‐xander‐corvus
http://www.veporns.com/video/paramedic‐pussy‐jaclyn‐taylor‐keiran‐lee
http://www.veporns.com/video/plasster‐cast‐cherie‐deville‐jessy‐jones
http://www.veporns.com/video/a‐ticket‐to‐ride‐her‐tommy‐gunn‐jenna‐ross
http://www.veporns.com/video/vampirella‐a‐xxx‐parody‐michael‐vegas‐mercedes‐carrera
http://www.veporns.com/video/masseuse‐training‐101‐karlo‐karerra‐raven‐bay‐nina‐kayy
http://www.veporns.com/video/oil‐up‐ashly‐ashly‐anderson‐chad‐white
http://www.veporns.com/video/forever‐young‐kayla‐green‐xander‐corvus
http://www.veporns.com/video/the‐most‐exuberant‐booty‐kelsi‐monroe‐ramon
http://www.veporns.com/video/sex‐fighter‐vega‐gets‐vagina‐xxx‐parody‐luke‐hardy‐christen‐courtney‐rina‐ellis
http://www.veporns.com/video/threes‐cum‐pany‐layla‐london‐raylin‐ann‐sean‐lawless‐h2459e09e9756de5
http://www.veporns.com/video/cougar‐sighting‐alyssa‐lynn‐johnny‐sins
http://www.veporns.com/video/take‐your‐teen‐to‐work‐day‐luke‐hardy‐candi‐kayne‐h24588f330d40294
http://www.veporns.com/video/a‐package‐deal‐britney‐amber‐justin‐hunt
http://www.veporns.com/video/business‐too‐casual‐britney‐amber‐ramon‐h245a44eedd738d5
http://www.veporns.com/video/lesbian‐nurses‐august‐ames‐starri‐knight
http://www.veporns.com/video/1‐800‐phone‐sex‐line‐8‐madison‐ivy‐monique‐alexander‐nicolette‐shea‐johnny‐sins
http://www.veporns.com/video/zz‐pizza‐party‐part‐2‐nina‐elle‐xander‐corvus‐h245a44ef3eb7165
http://www.veporns.com/video/the‐bigger‐the‐better‐keiran‐lee‐heather‐vahn‐h24588f3dbe23c4d
http://www.veporns.com/video/ladies‐twerk‐it‐out‐angel‐wicky‐kiki‐minaj‐danny‐d‐h24595637870d5b6
http://www.veporns.com/video/getting‐her‐beauty‐peep‐ava‐addams‐xander‐corvus
http://www.veporns.com/video/business‐with‐pleasure‐nicolette‐shea‐keiran‐lee‐h24594a776808ae0

                                                     18

DMCA Subpoena - Page 23
                 Case 3:19-mc-05027 Document 1-2 Filed 07/24/19 Page 24 of 49
http://www.veporns.com/video/sweet‐cheeks‐penny‐pax‐keiran‐lee
http://www.veporns.com/video/happy‐new‐rear‐johnny‐castle‐maddy‐oreilly‐h24588f35825ba08
http://www.veporns.com/video/rubbing‐her‐the‐right‐way‐ariella‐ferrera‐sean‐lawless‐h2458dfe56cbf13d
http://www.veporns.com/video/take‐a‐seat‐on‐my‐dick‐ryan‐conner‐bill‐bailey‐h245a44ef26045df
http://www.veporns.com/video/bed‐sweatfest‐jill‐kassidy‐lela‐star‐keiran‐lee
http://www.veporns.com/video/brazzers‐the‐make‐over‐darcie‐dolce‐amp‐jelena‐jensen‐h245a44eedc21fa7
http://www.veporns.com/video/stepsibling‐slumber‐party‐jmac‐marsha‐may‐nicole‐bexley
http://www.veporns.com/video/my‐two‐fuck‐boys‐keiran‐lee‐jewels‐jade‐toni‐ribas‐h24588f3c55663db
http://www.veporns.com/video/teen‐honey‐trap‐alaina‐dawson‐elsa‐jean‐piper‐perri‐danny‐d‐h24592533a62698e
http://www.veporns.com/video/not‐again‐ariella‐ferrera‐sophia‐leone‐van‐wylde‐h245a44ef072f4fd
http://www.veporns.com/video/virgin‐lessons‐keiran‐lee‐kirsten‐lee
http://www.veporns.com/video/bad‐babysitter‐keiran‐lee‐kylie‐page‐h24588f388f09738
http://www.veporns.com/video/beady‐booty‐august‐taylor‐ramon
http://www.veporns.com/video/the‐ballad‐of‐johnny‐nathan‐part‐1‐abigail‐mac‐jessa‐rhodes‐h245a44ef288e1cc
http://www.veporns.com/video/the‐new‐girl‐part‐2‐danny‐d‐lauren‐phillips‐h24588f330db2208
http://www.veporns.com/video/virgin‐birthday‐keiran‐lee
http://www.veporns.com/video/sweet‐treat‐for‐a‐neighbor‐olivia‐austin‐logan‐long‐h24588f34a0146a5
http://www.veporns.com/video/personal‐touch‐ella‐knox‐johnny‐sins‐h245a084f1b8ddef
http://www.veporns.com/video/club‐cunts‐alex‐blake‐cali‐carter
http://www.veporns.com/video/applicant‐cunt‐darla‐crane‐small‐hands
http://www.veporns.com/video/forest‐hump‐keiran‐lee‐brooke‐brand
http://www.veporns.com/video/mommy‐needs‐a‐manicure‐reagan‐foxx‐jordi‐el‐nio‐polla
http://www.veporns.com/video/this‐week‐only‐mercedes‐carrera‐van‐wylde‐h245a44ef351be56
http://www.veporns.com/video/the‐oral‐exam‐layla‐price‐bill‐bailey
http://www.veporns.com/video/a‐tip‐to‐the‐school‐nurse‐isis‐love‐august‐ames‐jordi‐el‐nio‐polla‐h24588f3582cf845
http://www.veporns.com/video/the‐headshot‐isis‐love‐danny‐d‐h245a44ef2e9873d
http://www.veporns.com/video/sock‐it‐to‐me‐remy‐lacroix‐jessy‐jones
http://www.veporns.com/video/teenslikeitbig‐kenzie‐reeves‐selfies‐with‐the‐dean
http://www.veporns.com/video/no‐skatewhoreding‐johnny‐sins‐nina‐north
http://www.veporns.com/video/fucking‐two‐pussies‐with‐one‐bone‐jordi‐el‐nio‐polla‐kendall‐woods‐osa‐lovely‐
h2458dfe56ca539d
http://www.veporns.com/video/theres‐a‐jordi‐in‐my‐bed‐kianna‐dior‐jordi‐el‐nio‐polla
http://www.veporns.com/video/dirty‐little‐gamer‐abella‐danger‐kimmy‐granger
http://www.veporns.com/video/the‐dick‐fairy‐candee‐licious‐chris‐diamond
http://www.veporns.com/video/one‐hot‐slice‐tommy‐gunn‐kandace‐kayne
http://www.veporns.com/video/you‐cant‐spell‐horny‐without‐hr‐charles‐dera‐jezabel‐vessir
http://www.veporns.com/video/sex‐is‐the‐new‐green‐energy‐luna‐star‐xander‐corvus
http://www.veporns.com/video/rich‐bitch‐has‐an‐itch‐michael‐vegas‐jessa‐rhodes
http://www.veporns.com/video/take‐your‐medicine‐sunny‐lane‐sean‐lawless
http://www.veporns.com/video/my‐night‐with‐a‐pornstar‐abigail‐mac‐jessy‐jones
http://www.veporns.com/video/brazzers‐smoothie‐slut‐joseline‐kelly‐h245a44eedb8de19
http://www.veporns.com/video/searching‐for‐her‐sugar‐pop‐karter‐foxx‐johnny‐sins
http://www.veporns.com/video/stepmom‐likes‐it‐rough‐diamond‐foxxx‐levi‐cash
http://www.veporns.com/video/a‐goo‐fucking‐daisy‐stone‐justin‐hunt‐h245a084f106980b
http://www.veporns.com/video/joseline‐dreams‐of‐monster‐cock‐joseline‐kelly‐danny‐d
http://www.veporns.com/video/moms‐panty‐bandit‐ava‐addams‐van‐wylde
http://www.veporns.com/video/the‐submissive‐sub‐danny‐d‐brittany‐bardot
http://www.veporns.com/video/the‐cougar‐countdown‐jasmine‐james‐chris‐diamond
http://www.veporns.com/video/getting‐obscene‐on‐the‐trampoline‐kenzie‐taylor‐keiran‐lee
http://www.veporns.com/video/anal‐time‐for‐my‐valentine‐keiran‐lee‐alektra‐blue
http://www.veporns.com/video/wheel‐of‐fucking‐alix‐lynx‐charles‐dera
http://www.veporns.com/video/camera‐cums‐in‐handy‐eva‐angelina‐ramon

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DMCA Subpoena - Page 24
                Case 3:19-mc-05027 Document 1-2 Filed 07/24/19 Page 25 of 49
http://www.veporns.com/video/30‐minutes‐in‐heaven‐britney‐amber‐markus‐dupree
http://www.veporns.com/video/lela‐pays‐her‐dues‐lela‐star‐markus‐dupree
http://www.veporns.com/video/the‐dinner‐party‐keiran‐lee‐ramon‐xander‐corvus‐toni‐ribas‐adriana‐chechik‐
h24588f358212ead
http://www.veporns.com/video/my‐boss‐and‐my‐wife‐cali‐carter‐preston‐parker‐h245960a2ba248e8
http://www.veporns.com/video/my‐professors‐a‐pornstar‐jessa‐rhodes‐jessy‐jones
http://www.veporns.com/video/my‐boss‐wants‐my‐wife‐johnny‐sins‐christie‐stevens‐h2458f76c55d7281
http://www.veporns.com/video/dick‐stuck‐in‐fleshlight‐nikki‐benz‐briana‐banks‐jessy‐jones‐h24588f3db5475b3
http://www.veporns.com/video/our‐little‐masquerade‐danny‐d‐peta‐jensen‐h245a44ef08ad4e1
http://www.veporns.com/video/the‐perfect‐set‐bethany‐benz‐johnny‐castle‐h245a44ef32c53bb
http://www.veporns.com/video/a‐slut‐never‐changes‐her‐stripes‐jynx‐maze‐mr‐pete
http://www.veporns.com/video/the‐janitors‐closet‐ii‐cindy‐starfall‐buddy‐hollywood‐h245a44ef2fc1603
http://www.veporns.com/video/power‐bangers‐a‐xxx‐parody‐part‐3‐romi‐rain‐lucas‐frost‐h245937c323757ae
http://www.veporns.com/video/meme‐lover‐2‐cara‐saint‐germain‐nekane
http://www.veporns.com/video/the‐butt‐doctor‐bridgette‐b‐prince‐yashua
http://www.veporns.com/video/assk‐and‐ye‐shall‐receive‐jillian‐janson‐bill‐bailey
http://www.veporns.com/video/resistance‐band‐boning‐syren‐de‐mer‐johnny‐sins
http://www.veporns.com/video/house‐arrest‐fuck‐fest‐anya‐ivy‐johnny‐sins
http://www.veporns.com/video/under‐the‐table‐deal‐mea‐melone‐h245a44ef379541f
http://www.veporns.com/video/the‐new‐model‐jayden‐cole‐jaye‐summers‐h24588f42c543c09
http://www.veporns.com/video/my‐stepmothers‐pantyhose‐alura‐jenson‐jessy‐jones‐h24588f34a29b9a1
http://www.veporns.com/video/pretty‐theft‐emma‐starr‐keiran‐lee
http://www.veporns.com/video/ass‐isting‐the‐barista‐victoria‐summers‐chris‐diamond
http://www.veporns.com/video/cum‐into‐my‐business‐deal‐keiran‐lee‐nikki‐delano
http://www.veporns.com/video/the‐geeks‐a‐freak‐kylie‐page‐johnny‐sins
http://www.veporns.com/video/wet‐and‐smoking‐isis‐love‐michael‐vegas
http://www.veporns.com/video/the‐boyfriend‐whisperer‐cassidy‐banks‐jmac
http://www.veporns.com/video/like‐a‐mother‐part‐1‐cassidy‐banks‐bailey‐brooke‐h245a084f148ab2e
http://www.veporns.com/video/oversnatch‐a‐xxx‐parody‐aletta‐ocean‐danny‐d
http://www.veporns.com/video/borrow‐a‐boyfriend‐lela‐star‐keiran‐lee
http://www.veporns.com/video/deeper‐in‐the‐housekeeper‐stacy‐jay‐markus‐dupree‐h245a44eee1b07e6
http://www.veporns.com/video/new‐to‐the‐neighborhood‐kianna‐dior‐keiran‐lee
http://www.veporns.com/video/keiran‐appreciates‐brandi‐brandi‐love‐keiran‐lee
http://www.veporns.com/video/baby‐batter‐cakes‐kayla‐kayden‐xander‐corvus
http://www.veporns.com/video/stepmom‐gets‐soaked‐lexi‐luna‐ricky‐spanish
http://www.veporns.com/video/kelsi‐gets‐down‐kelsi‐monroe‐sean‐lawless
http://www.veporns.com/video/washing‐her‐mouth‐out‐with‐cum‐tegan‐james‐derrick‐ferrari‐h245a44ef38af18e
http://www.veporns.com/video/stepsisters‐share‐a‐bed‐piper‐perri‐kharlie‐stone‐h245a44ef240fd7e
http://www.veporns.com/video/my‐stepmom‐is‐a‐sex‐fiend‐alina‐lopez‐cherie‐deville‐isiah‐maxwell
http://www.veporns.com/video/schoolgirl‐striptease‐keiran‐lee
http://www.veporns.com/video/milf‐mummy‐elicia‐solis‐danny‐d
http://www.veporns.com/video/backstage‐booty‐ella‐nova‐xander‐corvus
http://www.veporns.com/video/my‐husbands‐babysitter‐cali‐carter‐jessy‐jones‐h24595e08fb793dc
http://www.veporns.com/video/happy‐anniversary‐darling‐nicole‐aniston‐keiran‐lee
http://www.veporns.com/video/the‐interview‐round‐1‐britney‐amber‐michael‐vegas
http://www.veporns.com/video/post‐match‐pussy‐part‐two‐kagney‐linn‐karter‐ramon‐rico‐strong
http://www.veporns.com/video/sibling‐rivalry‐kendall‐kayden‐van‐wylde‐h2458dfe56c5dc4e
http://www.veporns.com/video/the‐milf‐in‐the‐military‐olivia‐austin‐justin‐hunt‐h24594108927749c
http://www.veporns.com/video/xanders‐world‐tour‐ep4‐abigail‐mac‐gina‐valentina‐lena‐paul
http://www.veporns.com/video/vote‐of‐cum‐fidence‐charles‐dera‐chanel‐preston‐h24588f34a2e72cb
http://www.veporns.com/video/banging‐the‐bookworm‐jenna‐foxx‐robby‐echo
http://www.veporns.com/video/post‐workout‐smoothie‐ashly‐anderson‐charles‐dera

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DMCA Subpoena - Page 25
                Case 3:19-mc-05027 Document 1-2 Filed 07/24/19 Page 26 of 49
http://www.veporns.com/video/stage‐stepmom‐mercedes‐carrera‐noemie‐bilas‐isiah‐maxwell
http://www.veporns.com/video/eye‐on‐the‐infield‐diamond‐jackson‐justin‐hunt
http://www.veporns.com/video/anal‐breakup‐raven‐bay‐keiran‐lee
http://www.veporns.com/video/angelas‐sex‐auction‐xander‐corvus‐markus‐dupree‐angela‐white‐h2459218e1a0d314
http://www.veporns.com/video/brazzers‐house‐2‐finale‐abella‐danger‐kelsi‐monroe‐monique‐alexander‐nicole‐aniston‐skyla‐
novea‐charles‐dera‐danny‐mountain‐isiah‐maxwell‐jmac‐keiran‐lee‐ricky‐johnson‐xander‐corvus‐h245a44eeda1c584
http://www.veporns.com/video/mamas‐car‐wash‐diamond‐foxxx‐kyle‐mason‐h2458dfe56e76585
http://www.veporns.com/video/dahlia‐skys‐assholes‐the‐limit‐dahlia‐sky‐mick‐blue
http://www.veporns.com/video/tits‐out‐to‐lunch‐ryan‐conner‐keiran‐lee‐h245a44ef362e350
http://www.veporns.com/video/unexpected‐dinner‐guest‐aidra‐fox‐keiran‐lee
http://www.veporns.com/video/miami‐milf‐adventures‐i‐sara‐jay‐jmac‐h245a44ee0a0d249
http://www.veporns.com/video/thick‐on‐thin‐maserati‐katt‐garcia‐h2458a979e242216
http://www.veporns.com/video/massaging‐amirahs‐juicy‐booty‐amirah‐adara‐danny‐d‐h245a44eefb7e159
http://www.veporns.com/video/kat‐dior‐tapas‐that‐ass‐bigbuttslikeitbig
http://www.veporns.com/video/post‐party‐indiscretion‐makayla‐cox‐jessy‐jones‐h245a44ef0cc7168
http://www.veporns.com/video/swingers‐on‐vacation‐part‐2‐alektra‐blue‐keiran‐lee
http://www.veporns.com/video/bounce‐her‐bailey‐brooke‐bill‐bailey‐h245a44eed63ba64
http://www.veporns.com/video/the‐gift‐of‐anal‐brandy‐aniston‐jessy‐jones‐h245a44ef2e549f7
http://www.veporns.com/video/sharing‐her‐side‐piece‐amia‐miley‐nicole‐aniston‐johnny‐sins
http://www.veporns.com/video/cunting‐calories‐maya‐bijou‐vienna‐black
http://www.veporns.com/video/surprise‐invasion‐apolonia‐lapiedra‐keiran‐lee
http://www.veporns.com/video/punishable‐behavior‐giselle‐palmer‐romi‐rain‐h24593bb482439be
http://www.veporns.com/video/water‐shortage‐poundage‐reagan‐foxx‐robby‐echo
http://www.veporns.com/video/sheer‐rear‐keiran‐lee‐cali‐carter‐h2458dfe56cc1b73
http://www.veporns.com/video/office‐initiation‐natasha‐nice‐charles‐dera‐h245916c668b7d94
http://www.veporns.com/video/peeping‐tomboy‐keiran‐lee‐alex‐grey‐h245900d7c5ac6a1
http://www.veporns.com/video/cheating‐sarah‐sarah‐vandella‐jmac
http://www.veporns.com/video/wandering‐hands‐romi‐rain‐xander‐corvus
http://www.veporns.com/video/our‐homemade‐sex‐tape‐ariana‐marie‐august‐ames‐keiran‐lee‐h24593bb482090b2
http://www.veporns.com/video/riding‐that‐endorphin‐high‐ariana‐marie‐johnny‐sins
http://www.veporns.com/video/dick‐for‐her‐debt‐olive‐glass‐charles‐dera
http://www.veporns.com/video/dick‐reduction‐kelsi‐monroe‐sean‐lawless
http://www.veporns.com/video/our‐little‐secret‐aaliyah‐hadid‐anna‐de‐ville
http://www.veporns.com/video/nail‐her‐keiran‐lee
http://www.veporns.com/video/feeling‐blue‐balls‐kendra‐spade‐keiran‐lee
http://www.veporns.com/video/blind‐ambition‐destiny‐dixon‐keiran‐lee
http://www.veporns.com/video/fucking‐millennials‐cherie‐deville‐jessy‐jones
http://www.veporns.com/video/happy‐hour‐kimmy‐granger‐danny‐d
http://www.veporns.com/video/cum‐in‐the‐back‐door‐riley‐reid‐keiran‐lee
http://www.veporns.com/video/runaway‐ride‐riley‐star‐mick‐blue
http://www.veporns.com/video/off‐the‐rack‐nicolette‐shea‐ramon
http://www.veporns.com/video/dirty‐laundry‐dirtier‐milf‐valentina‐ricci‐jordi‐el‐nio‐polla‐h24594a7768380fa
http://www.veporns.com/video/the‐don‐whacks‐my‐wifes‐ass‐monique‐alexander‐charles‐dera
http://www.veporns.com/video/yoga‐freaks‐episode‐four‐abella‐danger‐cassidy‐banks‐charles‐dera‐xander‐corvus
http://www.veporns.com/video/riding‐the‐wife‐lela‐star‐johnny‐sins
http://www.veporns.com/video/the‐energizer‐pussy‐reena‐sky‐keiran‐lee
http://www.veporns.com/video/living‐with‐a‐girl‐is‐rough‐abigail‐mac‐keiran‐lee‐h245a44eef894338
http://www.veporns.com/video/ticklish‐pussy‐alex‐grey‐katie‐morgan‐danny‐mountain‐h245a44ef357cd86
http://www.veporns.com/video/the‐placebo‐keiran‐lee‐carter‐cruise‐h24598ee2931fd1c
http://www.veporns.com/video/cougar‐training‐tana‐lea‐ricky‐johnson
http://www.veporns.com/video/the‐great‐public‐cock‐hunt‐harlow‐harrison‐danny‐d‐h245a44ef2e6afb5
http://www.veporns.com/video/manic‐pixie‐cream‐girl‐alice‐fabre‐danny‐d

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DMCA Subpoena - Page 26
                 Case 3:19-mc-05027 Document 1-2 Filed 07/24/19 Page 27 of 49
http://www.veporns.com/video/over‐easy‐keiran‐lee‐lana‐rhoades
http://www.veporns.com/video/working‐out‐the‐wives‐august‐taylor‐summer‐brielle‐keiran‐lee
http://www.veporns.com/video/sex‐fighter‐chun‐li‐vs‐cammy‐xxx‐parody‐christen‐courtney‐rina‐ellis
http://www.veporns.com/video/downward‐doggystyle‐ryan‐conner‐bill‐bailey‐h245a44eee55abb7
http://www.veporns.com/video/my‐stepsisters‐baby‐oil‐bambino‐emily‐mena
http://www.veporns.com/video/line‐em‐up‐cassidy‐banks‐kenzie‐taylor‐charles‐dera
http://www.veporns.com/video/deadly‐rain‐part‐two‐romi‐rain‐stallion
http://www.veporns.com/video/romi‐rachel‐rachel‐starr‐romi‐rain‐keiran‐lee‐h24595e08fb85769
http://www.veporns.com/video/ramming‐rebecca‐keiran‐lee‐rebecca‐moore‐jordi‐el‐nio‐polla‐h245a44ef0f27072
http://www.veporns.com/video/lapping‐up‐my‐cumcicle‐kat‐dior‐xander‐corvus
http://www.veporns.com/video/the‐exxxceptions‐episode‐4‐august‐ames‐monique‐alexander‐xander‐corvus‐
h245a44ef2d78167
http://www.veporns.com/video/anal‐sweetheart‐amirah‐adara‐jordi‐el‐nio‐polla
http://www.veporns.com/video/new‐years‐sleaze‐jessy‐jones‐aidra‐fox‐h245a44ef061cdf3
http://www.veporns.com/video/laid‐rent‐sophia‐leone‐johnny‐sins‐h245a44eef70d6de
http://www.veporns.com/video/all‐night‐rager‐ava‐addams‐kimmy‐granger‐keiran‐lee‐h2459e09efbcc0db
http://www.veporns.com/video/room‐serviced‐danielle‐derek‐keiran‐lee‐h245a44ef102f298
http://www.veporns.com/video/rich‐fucks‐part‐4‐bridgette‐b‐toni‐ribas‐xander‐corvus
http://www.veporns.com/video/pussy‐tax‐giselle‐palmer‐keiran‐lee
http://www.veporns.com/video/a‐fistful‐of‐heaven‐cathy‐heaven‐danny‐d‐h24588f3c576d88e
http://www.veporns.com/video/its‐raining‐anya‐anya‐ivy‐xander‐corvus
http://www.veporns.com/video/the‐fever‐dream‐adriana‐chechik‐markus‐dupree‐h245a44ef2de4df0
http://www.veporns.com/video/my‐stepmoms‐physical‐katie‐morgan‐jessy‐jones‐h24588f410441e9f
http://www.veporns.com/video/1‐800‐phone‐sex‐line‐9‐clea‐gaultier‐alex‐legend
http://www.veporns.com/video/lela‐commissions‐a‐cock‐lela‐star‐keiran‐lee
http://www.veporns.com/video/one‐strict‐mama‐ava‐addams‐ricky‐johnson
http://www.veporns.com/video/zz‐presents‐hot‐and‐meania‐sarah‐jessie‐jezabel‐vessir‐h245a44ef3f11c3c
http://www.veporns.com/video/free‐anal‐3‐danny‐d‐kate‐england
http://www.veporns.com/video/going‐ham‐on‐the‐nurse‐monique‐alexander‐nekane‐sweet‐h24588f3c52636eb
http://www.veporns.com/video/anal‐queen‐escort‐phoenix‐marie‐danny‐d
http://www.veporns.com/video/dripping‐the‐ball‐ana‐foxxx‐markus‐dupree
http://www.veporns.com/video/special‐assistant‐to‐ms‐carter‐charles‐dera‐cali‐carter
http://www.veporns.com/video/movie‐buff‐vienna‐black‐jmac
http://www.veporns.com/video/busting‐over‐brazil‐abby‐lee‐brazil‐toni‐ribas‐h245a44eeddbaa3c
http://www.veporns.com/video/day‐with‐a‐pornstar‐janice‐charles‐dera‐janice‐griffith
http://www.veporns.com/video/honey‐nut‐booty‐os‐keiran‐lee‐alena‐croft
http://www.veporns.com/video/i‐can‐do‐anal‐though‐blair‐williams‐xander‐corvus‐h245a44eef184220
http://www.veporns.com/video/open‐for‐business‐danny‐d‐alessa‐savage‐h245a44ef0828ed2
http://www.veporns.com/video/follow‐that‐ass‐danny‐d‐assh‐lee
http://www.veporns.com/video/1‐800‐phone‐sex‐line‐1‐amia‐miley‐jessy‐jones‐h245a084f104a259
http://www.veporns.com/video/vocal‐warm‐up‐rina‐ellis‐danny‐d
http://www.veporns.com/video/rich‐fucks‐part‐3‐bridgette‐b‐isiah‐maxwell
http://www.veporns.com/video/return‐of‐the‐stalker‐lea‐lexis‐ryan‐ryder‐h245a44ef0fb74e0
http://www.veporns.com/video/banging‐between‐bibis‐cheeks‐bibi‐noel‐mick‐blue‐h245a44eed09f10e
http://www.veporns.com/video/milf‐squad‐vegas‐youre‐off‐the‐case‐ferrera‐ariella‐ferrera‐sean‐michaels‐h245a44eefea947f
http://www.veporns.com/video/my‐naked‐boss‐sean‐lawless‐brittney‐white
http://www.veporns.com/video/the‐nuru‐guru‐jessica‐ryan‐prince‐yashua
http://www.veporns.com/video/awful‐doc‐takes‐the‐cock‐veronica‐vain‐michael‐vegas
http://www.veporns.com/video/breast‐keep‐this‐quiet‐chanel‐preston‐bill‐bailey
http://www.veporns.com/video/slippery‐when‐wet‐priya‐price‐sean‐lawless
http://www.veporns.com/video/caught‐on‐cumming‐camera‐astrid‐star‐johnny‐castle
http://www.veporns.com/video/with‐nothing‐but‐my‐heels‐on‐rachel‐roxxx‐keiran‐lee

                                                      22

DMCA Subpoena - Page 27
                Case 3:19-mc-05027 Document 1-2 Filed 07/24/19 Page 28 of 49
http://www.veporns.com/video/teen‐mom‐to‐be‐jade‐jantzen‐sean‐lawless
http://www.veporns.com/video/ashley‐adams‐fix‐me‐a‐snack‐brazzersexxtra
http://www.veporns.com/video/pussy‐or‐anal‐a‐zz‐clinical‐study‐ryan‐conner‐charles‐dera‐ramon
http://www.veporns.com/video/polish‐his‐knob‐dana‐dearmond‐ricky‐johnson
http://www.veporns.com/video/fucking‐with‐a‐vampire‐veronica‐vain‐johnny‐castle
http://www.veporns.com/video/plump‐as‐a‐peach‐alexis‐fawx‐charles‐dera
http://www.veporns.com/video/nailing‐ms‐chase‐part‐one‐brooklyn‐chase‐jessy‐jones
http://www.veporns.com/video/brittany‐andrews‐cum‐to‐my‐window‐realwifestories
http://www.veporns.com/video/dont‐trust‐your‐friends‐karla‐kush‐damon‐dice‐ramon
http://www.veporns.com/video/expose‐yourself‐to‐milfs‐parker‐swayze‐bruce‐venture‐h245a44eee6e6b94
http://www.veporns.com/video/the‐kiss‐lilith‐shayton‐skyla‐novea
http://www.veporns.com/video/id‐rather‐be‐in‐cali‐xander‐corvus‐cali‐carter‐h245a44edd07396f
http://www.veporns.com/video/mystery‐tape‐a‐xxx‐parody‐romi‐rain‐xander‐corvus
http://www.veporns.com/video/pure‐indulgence‐mercedes‐carrera‐veronica‐avluv‐johnny‐sins
http://www.veporns.com/video/my‐husbands‐best‐friend‐xander‐corvus‐august‐taylor‐h24588f3dbb2706e
http://www.veporns.com/video/zz‐pizza‐party‐part‐1‐eva‐notty‐xander‐corvus
http://www.veporns.com/video/rachaels‐anal‐rubdown‐rachael‐madori‐toni‐ribas‐h245a44ef0ef0402
http://www.veporns.com/video/kalina‐loves‐it‐rough‐kalina‐ryu‐will‐powers
http://www.veporns.com/video/sneaky‐sauna‐mama‐makayla‐cox‐mr‐pete
http://www.veporns.com/video/when‐wives‐get‐lonely‐peta‐jensen‐marc‐rose
http://www.veporns.com/video/no‐bubblecum‐in‐the‐classroom‐johnny‐sins‐karlee‐grey‐h245a44ef06d8630
http://www.veporns.com/video/lick‐me‐in‐the‐locker‐room‐johnny‐sins‐keisha‐grey‐h245a44eef814c30
http://www.veporns.com/video/my‐girlfriend‐is‐in‐love‐with‐you‐keiran‐lee‐misty‐stone‐h24588f3ab3e19cb
http://www.veporns.com/video/horsing‐around‐with‐the‐stable‐boy‐jasmine‐jae‐jordi‐el‐nio‐polla
http://www.veporns.com/video/ramming‐the‐reporter‐penny‐pax‐preston‐parker
http://www.veporns.com/video/fuck‐my‐loophole‐valentina‐nappi‐xander‐corvus
http://www.veporns.com/video/massaging‐mrs‐moore‐danny‐d‐rebecca‐moore‐h2458eae77509d06
http://www.veporns.com/video/sex‐toy‐story‐synthia‐fixx‐kyle‐mason
http://www.veporns.com/video/kira‐finds‐her‐motivation‐kira‐noir‐markus‐dupree
http://www.veporns.com/video/bake‐sale‐bang‐kianna‐dior‐alex‐d
http://www.veporns.com/video/my‐stripping‐stepmom‐emma‐butt
http://www.veporns.com/video/charming‐his‐snake‐mercedes‐carrera‐ramon
http://www.veporns.com/video/my‐wifes‐a‐stripper‐van‐wylde‐leigh‐darby
http://www.veporns.com/video/my‐slutty‐valentine‐part‐1‐britney‐amber‐jax‐slayher
http://www.veporns.com/video/personal‐fine‐ass‐valentina‐nappi‐isiah‐maxwell
http://www.veporns.com/video/gimme‐gimme‐never‐get‐tiffany‐watson‐keiran‐lee
http://www.veporns.com/video/branded‐by‐a‐babe‐karma‐rx‐johnny‐sins
http://www.veporns.com/video/bring‐on‐bella‐bella‐bellz‐keiran‐lee
http://www.veporns.com/video/teasing‐gone‐too‐far‐keiran‐lee‐layla‐london‐h245900d7c6e98bb
http://www.veporns.com/video/lost‐and‐pound‐reagan‐foxx‐charles‐dera
http://www.veporns.com/video/shes‐a‐free‐spirit‐rebecca‐volpetti‐danny‐d
http://www.veporns.com/video/vaginal‐stimulation‐a‐zz‐medical‐study‐danny‐d‐abella‐danger
http://www.veporns.com/video/sweaty‐ass‐workout‐danny‐d‐emma‐leigh‐h245a44ef25465be
http://www.veporns.com/video/good‐ol‐fashioned‐american‐fucking‐monique‐alexander‐johnny‐castle
http://www.veporns.com/video/cum‐to‐my‐yard‐sale‐diamond‐foxxx‐tyler‐nixon
http://www.veporns.com/video/big‐wet‐bridal‐butt‐cali‐carter‐keiran‐lee
http://www.veporns.com/video/cocks‐for‐the‐copper‐summer‐brielle‐ramon‐xander‐corvus
http://www.veporns.com/video/all‐my‐thongs‐are‐too‐small‐aubrey‐addams‐jessy‐jones‐h2458dfe56e8ce45
http://www.veporns.com/video/making‐her‐drip‐adriana‐chechik‐keiran‐lee
http://www.veporns.com/video/my‐stepmoms‐new‐boobs‐sarah‐jessie‐danny‐mountain
http://www.veporns.com/video/my‐girlfriends‐roommate‐is‐a‐slut‐jessy‐jones‐maya‐bijou
http://www.veporns.com/video/oil‐spill‐thrills‐reagan‐foxx‐keiran‐lee

                                                      23

DMCA Subpoena - Page 28
                Case 3:19-mc-05027 Document 1-2 Filed 07/24/19 Page 29 of 49
http://www.veporns.com/video/perks‐of‐being‐a‐nurse‐lily‐love‐sean‐lawless
http://www.veporns.com/video/how‐to‐masturbate‐like‐a‐porn‐star‐olivia‐austin‐skye‐west‐xander‐corvus‐
h245a44eef15e8d6
http://www.veporns.com/video/amirahs‐anal‐orgasms‐danny‐d‐amirah‐adara‐h245a44eece56e9f
http://www.veporns.com/video/my‐slut‐danica‐danica‐dillon‐danny‐mountain
http://www.veporns.com/video/private‐treatment‐natasha‐nice‐johnny‐sins
http://www.veporns.com/video/pussyfooting‐around‐skylar‐snow‐xander‐corvus‐h245a44ef0e9b5b0
http://www.veporns.com/video/supercalafraga‐lick‐me‐ramon‐abby‐cross‐alexis‐fawx
http://www.veporns.com/video/perfect‐strangers‐gina‐valentina‐melissa‐moore
http://www.veporns.com/video/a‐dream‐cum‐true‐rina‐ellis‐danny‐d‐h245a0eae76daf65
http://www.veporns.com/video/handcuffed‐housewife‐dani‐daniels‐prince‐yashua
http://www.veporns.com/video/the‐size‐queen‐sarah‐vandella‐danny‐d
http://www.veporns.com/video/hankering‐for‐a‐spanking‐danny‐d‐kiki‐minaj
http://www.veporns.com/video/living‐on‐the‐edge‐abigail‐mac‐johnny‐sins‐h245a0eae7a52d3f
http://www.veporns.com/video/emily‐right‐randy‐roommates‐brazzersexxtra
http://www.veporns.com/video/realitykings‐ashlynn‐taylor‐learning‐the‐hard‐way‐8thstreetlatinas
http://www.veporns.com/video/the‐in‐her‐view‐anna‐de‐ville‐preston‐parker‐h245a44ef2f2e541
http://www.veporns.com/video/maid‐of‐honor‐anya‐ivy‐johnny‐sins
http://www.veporns.com/video/quid‐pro‐blow‐keiran‐lee‐jasmine‐jae
http://www.veporns.com/video/pool‐humping‐elsa‐jean‐monique‐alexander
http://www.veporns.com/video/dinner‐for‐cheats‐angela‐white‐kagney‐linn‐karter‐phoenix‐marie‐johnny‐sins
http://www.veporns.com/video/making‐the‐sale‐aaliyah‐love‐kate‐england
http://www.veporns.com/video/the‐wife‐i‐password‐mia‐lelani‐keiran‐lee
http://www.veporns.com/video/dont‐be‐shy‐megan‐rain‐sean‐lawless
http://www.veporns.com/video/bicycle‐boning‐ella‐knox‐mick‐blue
http://www.veporns.com/video/bed‐head‐keiran‐lee‐gia‐paige
http://www.veporns.com/video/the‐audition‐alura‐jenson‐avi‐love‐dylan‐snow‐h245937c32390572
http://www.veporns.com/video/nailin‐the‐mail‐order‐bride‐christen‐courtney‐adrian‐dimas‐sam‐bourne
http://www.veporns.com/video/disco‐dicking‐mya‐mays‐johnny‐sins
http://www.veporns.com/video/first‐day‐on‐the‐job‐cali‐carter‐tommy‐gunn
http://www.veporns.com/video/brandis‐boot‐camp‐brandi‐love‐alex‐legend
http://www.veporns.com/video/my‐ex‐girlfriends‐daughter‐preston‐parker‐cassidy‐banks‐h2458f76c55da04e
http://www.veporns.com/video/horny‐dangerous‐life‐on‐the‐lam‐abigail‐mac‐xander‐corvus
http://www.veporns.com/video/slide‐into‐my‐dms‐johnny‐sins‐harley‐jade‐h24588f34a2cb2d8
http://www.veporns.com/video/hooked‐on‐bras‐julia‐ann‐jessy‐jones‐h2458f76c55d44c0
http://www.veporns.com/video/wild‐thots‐angela‐white‐luna‐star‐xander‐corvus
http://www.veporns.com/video/trading‐sides‐part‐1‐aubrey‐black‐romi‐rain‐xander‐corvus
http://www.veporns.com/video/paybacks‐a‐bitch‐madison‐ivy‐johnny‐sins
http://www.veporns.com/video/last‐dance‐with‐brett‐rossi‐keiran‐lee‐brett‐rossi‐h2458d5fd9e195f5
http://www.veporns.com/video/pussy‐is‐the‐best‐medicine‐charles‐dera‐kiera‐rose
http://www.veporns.com/video/the‐surprise‐party‐melissa‐lynn‐keiran‐lee
http://www.veporns.com/video/sugar‐baby‐blues‐amia‐miley‐keiran‐lee
http://www.veporns.com/video/sweet‐peta‐pie‐peta‐jensen‐keiran‐lee
http://www.veporns.com/video/all‐backed‐up‐aubrey‐black‐keiran‐lee
http://www.veporns.com/video/the‐make‐up‐exam‐jessy‐jones‐nina‐north
http://www.veporns.com/video/sneaky‐little‐slut‐brandy‐aniston‐darcie‐dolce
http://www.veporns.com/video/stream‐creaming‐danny‐d‐vanessa‐decker‐h2458d5fd9e1ec83
http://www.veporns.com/video/thats‐my‐bush‐ariella‐ferrera‐jordi‐el‐nio‐polla
http://www.veporns.com/video/my‐sons‐best‐friends‐ariella‐ferrera‐michael‐vegas‐xander‐corvus
http://www.veporns.com/video/acupussy‐therapy‐athena‐palomino‐kyle‐mason
http://www.veporns.com/video/poker‐face‐rebecca‐more‐danny‐d
http://www.veporns.com/video/pussy‐call‐lexi‐luna‐charles‐dera

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DMCA Subpoena - Page 29
                Case 3:19-mc-05027 Document 1-2 Filed 07/24/19 Page 30 of 49
http://www.veporns.com/video/feelin‐myself‐sarah‐banks‐van‐wylde
http://www.veporns.com/video/day‐with‐a‐pornstar‐abigail‐and‐romi‐xander‐corvus‐romi‐rain‐abigail‐mac
http://www.veporns.com/video/wet‐panties‐scissoring‐jenna‐sativa‐lexi‐belle
http://www.veporns.com/video/becoming‐johnny‐sins‐part‐one‐phoenix‐marie‐danny‐d‐h245a44eed0ef2df
http://www.veporns.com/video/squirtin‐on‐a‐nerd‐rhiannon‐ryder‐jordi‐el‐nio‐polla
http://www.veporns.com/video/my‐three‐wives‐kendra‐lust‐kissa‐sins‐peta‐jensen‐johnny‐sins
http://www.veporns.com/video/stay‐away‐from‐my‐daughter‐part‐2‐keiran‐lee‐ava‐addams
http://www.veporns.com/video/open‐for‐business‐aspen‐romanoff‐public‐pickups
http://www.veporns.com/video/real‐estate‐milf‐danny‐d‐jasmine‐webb‐h245a44ef0f87ebe
http://www.veporns.com/video/join‐the‐lust‐army‐kendra‐lust‐xander‐corvus‐h245a23fa7d11415
http://www.veporns.com/video/confessions‐of‐a‐buttaholic‐britney‐amber‐carter‐cruise
http://www.veporns.com/video/the‐firm‐and‐the‐fanny‐stacey‐saran‐ryan‐ryder
http://www.veporns.com/video/belly‐dancing‐4‐big‐dicks‐kissa‐sins‐johnny‐sins
http://www.veporns.com/video/slut‐hotel‐part‐1‐abby‐lee‐brazil‐sean‐lawless
http://www.veporns.com/video/the‐mathletes‐part‐three‐mea‐melone‐rebecca‐moore‐danny‐d‐luke‐hardy‐
h245a44ef3116a61
http://www.veporns.com/video/terrible‐darlings‐johnny‐sins‐ashley‐adams‐jojo‐kiss‐h245a0eae9fba7d2
http://www.veporns.com/video/how‐to‐lose‐your‐virginity‐in‐10‐days‐jade‐kush‐xander‐corvus
http://www.veporns.com/video/yoga‐freaks‐episode‐one‐abella‐danger‐xander‐corvus
http://www.veporns.com/video/pick‐and‐choose‐2‐nikki‐knightly‐charles‐dera
http://www.veporns.com/video/expose‐yourself‐to‐higher‐learning‐parker‐swayze‐sean‐lawless‐h245a44eee6893ec
http://www.veporns.com/video/my‐sons‐teacher‐ariella‐ferrera‐charles‐dera
http://www.veporns.com/video/anal‐surprise‐party‐aj‐applegate‐bill‐bailey
http://www.veporns.com/video/sybian‐gamer‐girl‐charles‐dera‐tommy‐gunn‐abella‐danger
http://www.veporns.com/video/going‐in‐blind‐ella‐hughes‐gina‐valentina‐preston‐parker
http://www.veporns.com/video/asstronomy‐liza‐del‐sierra‐sam‐bourne
http://www.veporns.com/video/ballerina‐booty‐nikky‐dream‐marc‐rose
http://www.veporns.com/video/the‐student‐teacher‐affair‐august‐ames‐johnny‐sins
http://www.veporns.com/video/lets‐both‐fuck‐her‐mia‐li‐bill‐bailey‐xander‐corvus
http://www.veporns.com/video/take‐notes‐nekane‐chris‐diamond
http://www.veporns.com/video/helicopter‐milf‐jordi‐el‐nio‐polla
http://www.veporns.com/video/black‐cherry‐pie‐casey‐calvert‐xander‐corvus
http://www.veporns.com/video/risque‐roses‐athena‐palomino‐markus‐dupree
http://www.veporns.com/video/massaging‐peta‐keiran‐lee‐peta‐jensen‐h245a44eefcf0f88
http://www.veporns.com/video/sislovesme‐lily‐jordan‐truth‐or‐dare
http://www.veporns.com/video/brandi‐loves‐the‐contractors‐brandi‐love‐michael‐vegas‐toni‐ribas‐h245a44eed6b9660
http://www.veporns.com/video/the‐submissive‐stripper‐rachel‐starr‐dillion‐harper‐h2458d6a98971471
http://www.veporns.com/video/pussy‐pong‐damon‐dice
http://www.veporns.com/video/lost‐in‐brazzers‐episode‐4‐mea‐melone‐danny‐d‐h245a44eef9c990d
http://www.veporns.com/video/teaching‐anal‐alena‐croft‐jordi‐el‐nio‐polla
http://www.veporns.com/video/hard‐call‐chanel‐preston‐charles‐dera
http://www.veporns.com/video/what‐a‐fucking‐coincidence‐2‐johnny‐sins‐cece‐capella‐h24588f3c52d7c7e
http://www.veporns.com/video/sister‐swap‐part‐1‐kayla‐kayden‐alex‐d
http://www.veporns.com/video/detention‐kenzie‐taylor‐danny‐d
http://www.veporns.com/video/push‐ups‐or‐squats‐ramon‐marsha‐may
http://www.veporns.com/video/a‐late‐night‐snack‐brandy‐aniston‐jessy‐jones‐h245a44eecca2e00
http://www.veporns.com/video/1‐800‐phone‐sex‐line‐11‐anya‐ivy‐johnny‐sins
http://www.veporns.com/video/this‐tit‐is‐not‐a‐toy‐isis‐love‐tyler‐nixon
http://www.veporns.com/video/exotic4k‐samantha‐parker‐bad‐babysitter‐h245a2298d2898a2
http://www.veporns.com/video/her‐daughters‐best‐friend‐3‐ariella‐ferrera‐ember‐snow
http://www.veporns.com/video/carnival‐queen‐august‐taylor‐xander‐corvus
http://www.veporns.com/video/the‐gift‐registry‐carmen‐caliente‐jessy‐jones

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DMCA Subpoena - Page 30
                Case 3:19-mc-05027 Document 1-2 Filed 07/24/19 Page 31 of 49
http://www.veporns.com/video/fucking‐the‐busker‐alessandra‐jane‐danny‐d
http://www.veporns.com/video/mother‐daughter‐mix‐up‐ariella‐ferrera‐jmac
http://www.veporns.com/video/britney‐amber‐sampling‐new‐goods‐milfslikeitbig
http://www.veporns.com/video/pornisity‐elsa‐jean‐monique‐alexander‐johnny‐sins
http://www.veporns.com/video/whose‐room‐is‐it‐anyway‐alexa‐nova‐ruby‐sparx‐h24588f357e21e10
http://www.veporns.com/video/dont‐touch‐her‐3‐charles‐dera‐kayla‐kayden
http://www.veporns.com/video/the‐wrong‐massage‐feels‐so‐right‐johnny‐castle‐angela‐white‐h2458fa60077f722
http://www.veporns.com/video/mothers‐day‐ass‐massage‐sybil‐stallone‐alex‐d‐h245a084ecd5f2f6
http://www.veporns.com/video/the‐vag‐itarian‐riley‐reid‐sean‐michaels‐h245a44ef3473df7
http://www.veporns.com/video/a‐reporter‐in‐the‐rough‐rilynn‐rae‐danny‐d
http://www.veporns.com/video/brazzersexxtra‐lena‐paul‐avoiding‐dicktection
http://www.veporns.com/video/capture‐my‐booty‐angel‐wicky‐danny‐d
http://www.veporns.com/video/her‐daughters‐best‐friend‐darcie‐dolce‐missy‐martinez
http://www.veporns.com/video/new‐tits‐on‐the‐block‐ashley‐adams‐keiran‐lee
http://www.veporns.com/video/milfriendly‐neighborhood‐alexis‐fawx‐briana‐banks
http://www.veporns.com/video/anal‐quickie‐with‐teenie‐janice‐keiran‐lee‐janice‐griffith
http://www.veporns.com/video/rump‐rompers‐keiran‐lee‐aj‐applegate‐h2458dfe56e8149b
http://www.veporns.com/video/pornstar‐personal‐shopper‐raven‐bay‐xander‐corvus
http://www.veporns.com/video/nailing‐like‐its‐on‐sale‐bridgette‐b‐prince‐yashua
http://www.veporns.com/video/poolside‐bang‐bang‐mick‐blue‐yurizan‐beltran‐h24588f41070b502
http://www.veporns.com/video/tied‐up‐tittyfuck‐makayla‐cox‐lucas‐frost
http://www.veporns.com/video/the‐farmers‐wife‐xander‐corvus‐eva‐lovia
http://www.veporns.com/video/i‐need‐my‐protein‐shake‐richelle‐ryan‐michael‐vegas
http://www.veporns.com/video/yoga‐freaks‐episode‐two‐cassidy‐banks‐julia‐ann‐charles‐dera
http://www.veporns.com/video/the‐insomniac‐sucker‐audrey‐bitoni‐johnny‐sins
http://www.veporns.com/video/our‐new‐maid‐part‐one‐danny‐mountain‐monique‐alexander‐xander‐corvus‐peta‐jensen
http://www.veporns.com/video/office‐cafuckteria‐tia‐cyrus‐isiah‐maxwell
http://www.veporns.com/video/nurse‐nikkis‐house‐call‐nikki‐benz‐markus‐dupree‐h24588f3ab3e824f
http://www.veporns.com/video/panty‐stash‐ariella‐ferrera‐kyle‐mason
http://www.veporns.com/video/ohhhhh‐la‐la‐anissa‐kate‐keiran‐lee‐h245a44ef07ada21
http://www.veporns.com/video/dont‐bother‐me‐tana‐lea‐xander‐corvus
http://www.veporns.com/video/happy‐bday‐fuck‐my‐mom‐isis‐love‐lucas‐frost‐h24594a77685faa6
http://www.veporns.com/video/forget‐about‐fucking‐my‐daughter‐and‐fuck‐me‐alyssa‐lynn‐alex‐d‐h24595e08fb5e05d
http://www.veporns.com/video/the‐late‐night‐orgy‐brandi‐love‐marsha‐may‐monique‐alexander‐phoenix‐marie‐romi‐rain‐
danny‐d
http://www.veporns.com/video/cum‐get‐a‐massage‐kleio‐valentien‐xander‐corvus
http://www.veporns.com/video/the‐hand‐foot‐job‐janice‐griffith‐michael‐vegas
http://www.veporns.com/video/tasting‐the‐chef‐honey‐gold‐charles‐dera
http://www.veporns.com/video/there‐goes‐the‐neighborhood‐scoundrel‐eva‐notty‐jordi‐el‐nio‐polla‐h24588f4104a91b5
http://www.veporns.com/video/a‐domestic‐dicking‐abigail‐mac‐johnny‐sins
http://www.veporns.com/video/our‐college‐librarian‐sheridan‐love‐tyler‐nixon‐h24595637872c4a6
http://www.veporns.com/video/wet‐in‐net‐karlee‐grey‐bill‐bailey
http://www.veporns.com/video/beat‐off‐on‐the‐brat‐sean‐lawless
http://www.veporns.com/video/hot‐tub‐milf‐machine‐eva‐notty‐van‐wylde‐h24590b54e07edef
http://www.veporns.com/video/the‐perfect‐maid‐3‐samantha‐saint‐keiran‐lee‐h245941089282604
http://www.veporns.com/video/my‐three‐stepsons‐syren‐de‐mer‐brad‐knight‐small‐hands‐lucas‐frost‐h245a44ef0541251
http://www.veporns.com/video/peep‐show‐nurses‐kissa‐sins‐pristine‐edge‐johnny‐sins‐h245a44ef0a5c777
http://www.veporns.com/video/zz‐lemonade‐charlotte‐cross‐bill‐bailey‐charlotte‐cross
http://www.veporns.com/video/thankful‐for‐madison‐madison‐ivy‐johnny‐sins
http://www.veporns.com/video/tipping‐the‐driver‐keiran‐lee‐tegan‐james
http://www.veporns.com/video/harder‐faster‐milfier‐ariella‐ferrera‐reagan‐foxx
http://www.veporns.com/video/the‐scarlett‐a‐krystal‐orchid‐preston‐parker‐h245a44ef3311fe5

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DMCA Subpoena - Page 31
                 Case 3:19-mc-05027 Document 1-2 Filed 07/24/19 Page 32 of 49
http://www.veporns.com/video/nuru‐nymph‐kendra‐lust‐johnny‐sins
http://www.veporns.com/video/cock‐talk‐with‐alexa‐tomas‐alexa‐tomas‐keiran‐lee
http://www.veporns.com/video/leather‐lover‐danny‐d
http://www.veporns.com/video/grounded‐and‐pounded‐tommy‐gunn‐avery‐adair
http://www.veporns.com/video/anal‐yoga‐kinsley‐eden‐buddy‐hollywood
http://www.veporns.com/video/the‐ex‐best‐thing‐jessy‐jones‐jillian‐janson
http://www.veporns.com/video/the‐dick‐doctor‐ava‐addams‐bill‐bailey
http://www.veporns.com/video/rub‐a‐tug‐tug‐kendra‐lust‐xander‐corvus
http://www.veporns.com/video/my‐stepmom‐and‐her‐sister‐ariella‐ferrera‐danny‐d‐missy‐martinez‐h24588f3581e2ce6
http://www.veporns.com/video/coming‐home‐horny‐jenna‐ivory‐ramon‐h245a44eee03ccfa
http://www.veporns.com/video/dont‐tell‐mom‐the‐babysitter‐gives‐head‐rhiannon‐ryder‐danny‐d‐h245a44eee48e1f8
http://www.veporns.com/video/the‐letters‐quinn‐wilde‐ramon
http://www.veporns.com/video/field‐hockey‐babes‐gina‐valentina‐zara‐ryan‐h24588f3ab05ad07
http://www.veporns.com/video/the‐lusty‐landlady‐veronica‐avluv‐markus‐dupree
http://www.veporns.com/video/busting‐more‐than‐a‐move‐dana‐dearmond‐will‐powers
http://www.veporns.com/video/bonnie‐rotten‐the‐cumback‐bonnie‐rotten‐toni‐ribas‐xander‐corvus
http://www.veporns.com/video/the‐blind‐date‐astrid‐star‐xander‐corvus‐h245946404ad4961
http://www.veporns.com/video/panting‐in‐public‐bambino
http://www.veporns.com/video/the‐newbie‐mia‐malkova‐mick‐blue
http://www.veporns.com/video/she‐loves‐playing‐with‐joysticks‐jade‐jantzen‐bill‐bailey‐tyler‐nixon‐h245a44ef1fcb3aa
http://www.veporns.com/video/fucking‐like‐frenemies‐part‐1‐kristen‐scott‐michael‐vegas
http://www.veporns.com/video/shes‐so‐uptight‐but‐xander‐corvus‐romi‐rain‐h2458dfe56cc622d
http://www.veporns.com/video/panty‐perv‐aaliyah‐love‐alex‐legend
http://www.veporns.com/video/babes‐august‐ames‐garden‐ho‐h245a44ee6680f4e
http://www.veporns.com/video/therapeutic‐fuck‐giselle‐palmer‐danny‐d
http://www.veporns.com/video/summer‐internship‐angel‐wicky‐felix‐jones
http://www.veporns.com/video/anal‐probe‐experiments‐britain‐anna‐de‐ville‐danny‐d
http://www.veporns.com/video/spilt‐milk‐brenna‐sparks‐isiah‐maxwell
http://www.veporns.com/video/living‐in‐an‐anal‐paradise‐adriana‐chechik‐karmen‐karma‐megan‐rain‐keiran‐lee‐
h2458d5fe0814715
http://www.veporns.com/video/whoredrobe‐brenna‐sparks‐xander‐corvus
http://www.veporns.com/video/sauna‐sex‐schooling‐alura‐jenson‐jordi‐el‐nio‐polla‐h24596cb0994f41f
http://www.veporns.com/video/booty‐work‐anissa‐kate‐nekane‐danny‐d
http://www.veporns.com/video/math‐can‐be‐stimulating‐charles‐dera‐kylie‐page
http://www.veporns.com/video/road‐head‐bill‐bailey‐jessy‐jones‐keisha‐grey
http://www.veporns.com/video/manhandled‐mary‐jane‐mayhem‐will‐powers
http://www.veporns.com/video/2‐for‐1‐fun‐nikki‐benz‐riley‐reid‐danny‐d
http://www.veporns.com/video/the‐perfect‐applicant‐part‐1‐ariana‐marie‐johnny‐sins
http://www.veporns.com/video/hot‐potato‐cassidy‐banks‐justin‐hunt‐lucas‐frost
http://www.veporns.com/video/hole‐in‐one‐jojo‐kiss‐charles‐dera
http://www.veporns.com/video/model‐whisperer‐chloe‐cherry‐richelle‐ryan
http://www.veporns.com/video/my‐boss‐gets‐off‐angel‐wicky‐danny‐d
http://www.veporns.com/video/my‐dripping‐wet‐stepmom‐alexis‐fawx‐toni‐ribas‐h245a44ef04889cc
http://www.veporns.com/video/the‐impatient‐patient‐michael‐vegas‐lily‐labeau‐h245a44ef2ececf7
http://www.veporns.com/video/dream‐analysis‐ivy‐lebelle‐keiran‐lee‐michael‐vegas
http://www.veporns.com/video/the‐mechanic‐chad‐white‐ashley‐adams‐h24588f39ab91f80
http://www.veporns.com/video/in‐tents‐fucking‐part‐2‐jojo‐kiss‐karlee‐grey‐jessy‐jones‐h2459e5fe68b7b26
http://www.veporns.com/video/didnt‐ring‐the‐doorbell‐keiran‐lee‐august‐ames
http://www.veporns.com/video/sibling‐rivalry‐2‐megan‐rain‐peta‐jensen‐chad‐alva‐h24588f37c96e655
http://www.veporns.com/video/booty‐call‐with‐my‐bros‐mom‐katie‐morgan‐xander‐corvus
http://www.veporns.com/video/different‐strokes‐ella‐knox‐xander‐corvus‐h2459e09e923007a
http://www.veporns.com/video/fucking‐the‐fraud‐nickey‐huntsman‐danny‐mountain

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DMCA Subpoena - Page 32
                Case 3:19-mc-05027 Document 1-2 Filed 07/24/19 Page 33 of 49
http://www.veporns.com/video/sex‐starved‐soccer‐moms‐danny‐d‐ava‐courcelles‐bianca‐resa‐h245a44ef11533ff
http://www.veporns.com/video/making‐a‐mess‐on‐the‐maid‐chanel‐preston‐keiran‐lee
http://www.veporns.com/video/home‐sweet‐hoe‐jai‐james‐luke‐hardy
http://www.veporns.com/video/daddy‐knows‐best‐adria‐rae‐mick‐blue
http://www.veporns.com/video/a‐lunchtime‐licking‐jenna‐sativa
http://www.veporns.com/video/stripper‐lessons‐kira‐noir‐alex‐legend
http://www.veporns.com/video/it‐was‐a‐dark‐and‐stormy‐milf‐britney‐amber‐justin‐hunt
http://www.veporns.com/video/were‐roommates‐for‐a‐reason‐karlee‐grey‐keisha‐grey
http://www.veporns.com/video/angel‐tits‐jessa‐rhodes‐johnny‐sins
http://www.veporns.com/video/a‐hard‐pill‐to‐swallow‐elexis‐monroe‐sean‐lawless
http://www.veporns.com/video/the‐second‐cumming‐part‐2‐brandi‐love‐brett‐rossi‐keiran‐lee
http://www.veporns.com/video/sample‐my‐snatch‐georgie‐lyall‐danny‐d
http://www.veporns.com/video/dick‐o‐gram‐danny‐d
http://www.veporns.com/video/tag‐that‐ass‐aj‐applegate‐xander‐corvus
http://www.veporns.com/video/kindly‐fuck‐my‐stepdaughter‐amanda‐lane‐veronica‐rayne‐johnny‐sins
http://www.veporns.com/video/the‐slutty‐chef‐jasmine‐jae‐marc‐rose‐h245a44ef334e8a1
http://www.veporns.com/video/closed‐for‐maintenance‐lauren‐phillips‐preston‐parker
http://www.veporns.com/video/dorm‐to‐be‐wild‐danny‐d‐h245a44eee51d111
http://www.veporns.com/video/sister‐of‐the‐bride‐alice‐coxxx‐johnny‐sins
http://www.veporns.com/video/attack‐of‐the‐rack‐sean‐lawless‐layla‐london‐h245a44eed03f394
http://www.veporns.com/video/dont‐touch‐her‐2‐bill‐bailey‐keisha‐grey
http://www.veporns.com/video/rub‐the‐bosss‐daughter‐giselle‐palmer‐preston‐parker‐h245946404ab5f37
http://www.veporns.com/video/teen‐heaven‐chloe‐couture‐liza‐rowe‐danny‐d
http://www.veporns.com/video/three‐muffs‐in‐the‐buff‐ariella‐ferrera‐jenna‐sativa‐ryan‐conner
http://www.veporns.com/video/my‐stepbrother‐the‐panty‐thief‐marsha‐may‐sean‐lawless‐h2458a979e531e2d
http://www.veporns.com/video/brazzers‐her‐daughter039s‐best‐friend‐darcie‐dolce‐and‐missy‐martinez‐h245a44eed937f5b
http://www.veporns.com/video/stepmother‐stepson‐bonding‐cristal‐caraballo‐reagan‐foxx‐ricky‐spanish
http://www.veporns.com/video/i‐dont‐eat‐out‐elsa‐jean‐nina‐elle‐lucas‐frost
http://www.veporns.com/video/lets‐get‐physical‐therapy‐audrey‐bitoni‐jessy‐jones
http://www.veporns.com/video/the‐perfect‐hostess‐2‐lela‐star‐keiran‐lee
http://www.veporns.com/video/cougar‐in‐law‐ariella‐ferrera‐kyle‐mason‐h2459063446ae21d
http://www.veporns.com/video/the‐kitchen‐helper‐jordi‐el‐nio‐polla‐carly‐rae‐h24593bb4902e3b1
http://www.veporns.com/video/going‐deep‐at‐the‐superbang‐party‐jennifer‐white‐bill‐bailey
http://www.veporns.com/video/midnight‐milk‐diamond‐foxxx‐sean‐lawless‐h245a44eefe0a1e4
http://www.veporns.com/video/survey‐my‐pussy‐bill‐bailey‐ava‐addams‐h24588f35833b539
http://www.veporns.com/video/what‐ms‐koxxx‐wants‐ava‐koxxx‐danny‐d
http://www.veporns.com/video/brazzers‐mandy039s‐anal‐amusement‐mandy‐muse‐h245a44eedaa98c6
http://www.veporns.com/video/the‐translator‐ava‐austen‐nekane‐chris‐diamond‐h245a44ef343c439
http://www.veporns.com/video/holosexual‐cali‐carter‐markus‐dupree
http://www.veporns.com/video/say‐yes‐to‐getting‐fucked‐in‐your‐wedding‐dress‐karina‐white‐jessy‐jones‐h24588f3c52975ee
http://www.veporns.com/video/sent‐home‐for‐sucking‐dick‐marley‐brinx‐keiran‐lee
http://www.veporns.com/video/fucked‐in‐the‐seat‐kenzie‐taylor‐keiran‐lee
http://www.veporns.com/video/stress‐test‐sex‐lauren‐phillips‐ryan‐driller
http://www.veporns.com/video/tongue‐thai‐ed‐jai‐james‐danny‐d
http://www.veporns.com/video/the‐mommy‐market‐alena‐croft‐van‐wylde
http://www.veporns.com/video/eat‐her‐cheater‐abella‐danger‐luna‐star
http://www.veporns.com/video/my‐blindfolded‐best‐friend‐georgia‐jones‐gabriella‐paltrova
http://www.veporns.com/video/the‐insomniac‐sucker‐audrey‐bitoni
http://www.veporns.com/video/any‐friend‐of‐yours‐is‐a‐friend‐of‐mine‐juelz‐ventura‐keiran‐lee
http://www.veporns.com/video/extra‐credit‐barbie‐sins‐danny‐d
http://www.veporns.com/video/pornstar‐therapy‐2‐monique‐alexander‐skyla‐novea‐jessy‐jones
http://www.veporns.com/video/throat‐treatment‐riley‐reid‐johnny‐castle

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DMCA Subpoena - Page 33
                Case 3:19-mc-05027 Document 1-2 Filed 07/24/19 Page 34 of 49
http://www.veporns.com/video/danny‐d‐life‐on‐the‐road‐xxx‐parody‐danny‐d‐viola‐bailey‐h24588f3c5239f52
http://www.veporns.com/video/nailed‐it‐natasha‐nice‐alex‐d‐h245960a2ba2fa30
http://www.veporns.com/video/candid‐camgirl‐ivy‐lebelle‐keiran‐lee
http://www.veporns.com/video/the‐cocksuckers‐club‐elsa‐jean‐gia‐paige‐gina‐valentina‐danny‐d‐h245a44ef2bd620b
http://www.veporns.com/video/super‐nurse‐kagney‐linn‐karter‐danny‐d
http://www.veporns.com/video/halftime‐show‐eva‐notty‐jada‐stevens‐nikki‐benz‐romi‐rain‐charles‐dera‐keiran‐lee‐
h245a084ebf9f946
http://www.veporns.com/video/brazzers‐stepmom‐sex‐ed‐julia‐ann‐h245a44eedbcea69
http://www.veporns.com/video/keys‐to‐her‐pussy‐veronica‐rayne‐justin‐hunt
http://www.veporns.com/video/moniques‐wicked‐web‐monique‐alexander‐markus‐dupree‐mick‐blue
http://www.veporns.com/video/stepbrotherly‐love‐xander‐corvus‐katya‐rodriguez‐h245a44ef23c0996
http://www.veporns.com/video/romance‐languages‐anissa‐kate‐marc‐rose‐h245891f3167c956
http://www.veporns.com/video/superbang‐my‐ass‐keiran‐lee‐ramon‐corinna‐blake
http://www.veporns.com/video/massumptions‐anna‐bell‐peaks‐keiran‐lee
http://www.veporns.com/video/game‐night‐shenanigans‐johnny‐sins‐nicole‐aniston‐peta‐jensen‐h24588f3c5561037
http://www.veporns.com/video/full‐divorce‐court‐press‐alex‐grey‐nikki‐benz‐prince‐yashua‐ramon
http://www.veporns.com/video/my‐boyfriends‐mom‐marsha‐may‐brooke‐paige‐h245a44ef03cbed1
http://www.veporns.com/video/much‐ado‐about‐fuckin‐yurizan‐beltran‐xander‐corvus‐breanna‐sparks
http://www.veporns.com/video/the‐other‐way‐around‐veronica‐avluv‐chad‐white
http://www.veporns.com/video/fries‐with‐that‐fuck‐ella‐hughes‐kayla‐green‐danny‐d
http://www.veporns.com/video/scrub‐that‐trunk‐xander‐corvus‐valentina‐nappi‐sean‐lawless‐h245a44ef10ba173
http://www.veporns.com/video/the‐bosss‐butt‐britney‐amber‐bill‐bailey
http://www.veporns.com/video/porn‐logic‐michael‐vegas‐angela‐white‐lena‐paul‐h2458fa6007799f3
http://www.veporns.com/video/this‐partys‐boring‐valentina‐nappi‐jessy‐jones‐xander‐corvus
http://www.veporns.com/video/this‐is‐how‐we‐work‐eva‐angelina‐jenna‐ashley
http://www.veporns.com/video/ramming‐riley039s‐asshole‐riley‐jenner‐big‐wet‐butts‐h245a44ef0f50d33
http://www.veporns.com/video/soapy‐self‐care‐cathy‐heaven‐danny‐d
http://www.veporns.com/video/big‐wet‐butts‐addison‐lee‐happiness‐is‐a‐warm‐bum‐h245a44eed54ab23
http://www.veporns.com/video/parent‐fucking‐teacher‐meetings‐karlo‐karerra‐angela‐white‐h2458fa6007769ca
http://www.veporns.com/video/plump‐pantyhose‐kagney‐linn‐karter‐jordi‐el‐nio‐polla‐h2458d5fd9e1c056
http://www.veporns.com/video/two‐balls‐in‐the‐corner‐pocket‐luna‐star‐sean‐lawless
http://www.veporns.com/video/double‐penetrate‐date‐aj‐applegate‐michael‐vegas‐toni‐ribas
http://www.veporns.com/video/naughty‐little‐debutante‐esperanza‐del‐horno‐danny‐d
http://www.veporns.com/video/tickled‐titties‐lily‐rader‐sean‐lawless
http://www.veporns.com/video/slip‐and‐slide‐and‐scissor‐jessa‐rhodes‐zoey‐taylor‐h245916c668be359
http://www.veporns.com/video/storm‐of‐kings‐xxx‐parody‐part‐4‐peta‐jensen‐marc‐rose‐h24588f4d8a5900e
http://www.veporns.com/video/take‐one‐for‐the‐team‐anya‐ivy‐xander‐corvus
http://www.veporns.com/video/sneaking‐around‐with‐her‐bffs‐son‐cherie‐deville‐tyler‐nixon
http://www.veporns.com/video/sister‐swap‐part‐2‐jessy‐jones
http://www.veporns.com/video/hitching‐for‐a‐dicking‐jordi‐el‐nio‐polla‐ava‐austen
http://www.veporns.com/video/just‐to‐be‐clear‐angela‐white‐xander‐corvus
http://www.veporns.com/video/walkin‐on‐cumshine‐ariella‐ferrera‐keiran‐lee‐h24596223181feb2
http://www.veporns.com/video/im‐a‐total‐milf‐reagan‐foxx‐ricky‐spanish
http://www.veporns.com/video/bad‐news‐boyfriend‐ryder‐skye‐xander‐corvus
http://www.veporns.com/video/brazzers‐adventures‐in‐big‐cock‐babysitting‐alli‐rae‐h245a44eed7769c6
http://www.veporns.com/video/hand‐in‐the‐cookie‐jar‐marsha‐may‐karlo‐karerra
http://www.veporns.com/video/rachel‐vs‐kagney‐kagney‐linn‐karter‐rachel‐roxxx‐bill‐bailey
http://www.veporns.com/video/digitalplayground‐aidra‐fox‐a‐warm‐place‐to‐stay‐tonight
http://www.veporns.com/video/comfort‐me‐with‐cum‐rachel‐starr‐toni‐ribas
http://www.veporns.com/video/bet‐your‐ass‐abella‐danger‐carter‐cruise
http://www.veporns.com/video/xxx‐men‐shagging‐the‐shapeshifter‐xxx‐parody‐nicole‐aniston‐charles‐dera‐xander‐corvus
http://www.veporns.com/video/rachel‐starr‐surprise‐rachel‐starr‐ramon

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DMCA Subpoena - Page 34
                Case 3:19-mc-05027 Document 1-2 Filed 07/24/19 Page 35 of 49
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http://www.veporns.com/video/bucked‐and‐fucked‐ashley‐adams‐robby‐echo
http://www.veporns.com/video/hitched‐and‐ditched‐lylith‐lavey‐buddy‐hollywood‐h245a44eeeeea7c2
http://www.veporns.com/video/cold‐feet‐hot‐tits‐reagan‐foxx‐lucas‐frost
http://www.veporns.com/video/pimp‐my‐mom‐ashton‐blake‐mike‐mancini‐h245a44ef0bedf25
http://www.veporns.com/video/sex‐with‐her‐besties‐boyfriend‐ashley‐adams‐sean‐lawless
http://www.veporns.com/video/sharing‐the‐stepmom‐mia‐lelani‐danny‐d‐ramon
http://www.veporns.com/video/quality‐time‐with‐stepdaughter‐sally‐squirt‐h24593157c1db7eb
http://www.veporns.com/video/the‐meeting‐holly‐heart‐ramon
http://www.veporns.com/video/getting‐in‐to‐her‐character‐jean‐michaels‐tommy‐gunn
http://www.veporns.com/video/stepsisters‐share‐everything‐danny‐d‐sydney‐cole‐anya‐olsen‐h245a44ee4b2c03c
http://www.veporns.com/video/couple‐cums‐for‐a‐massage‐crystal‐rush‐natalia‐starr‐keiran‐lee‐h245a0eae7838fe9
http://www.veporns.com/video/moniques‐secret‐spa‐part‐4‐monique‐alexander‐nat‐turnher‐isiah‐maxwell
http://www.veporns.com/video/busted‐at‐the‐babyshower‐kendall‐kayden‐keiran‐lee
http://www.veporns.com/video/hide‐and‐seek‐india‐summer‐justin‐hunt
http://www.veporns.com/video/the‐mess‐over‐the‐dress‐jeni‐juice‐lyra‐law‐h245960a2ba6b5ce
http://www.veporns.com/video/kissas‐ass‐is‐in‐danger‐abella‐danger‐kissa‐sins‐h245a44eef69dbb0
http://www.veporns.com/video/abigail‐and‐keisha‐abigail‐mac‐keisha‐grey‐markus‐dupree
http://www.veporns.com/video/soak‐my‐sundress‐lauren‐phillips‐ricky‐johnson
http://www.veporns.com/video/brandi‐loves‐the‐realtor‐brandi‐love‐monique‐alexander‐keiran‐lee‐h245a44eed6d7bc4
http://www.veporns.com/video/post‐match‐pussy‐part‐one‐kagney‐linn‐karter‐danny‐d
http://www.veporns.com/video/the‐sirens‐cry‐shay‐evans‐tony‐rubino
http://www.veporns.com/video/its‐a‐wonderful‐sex‐life‐charles‐dera‐angela‐white‐h245a16d4e3dc0f9
http://www.veporns.com/video/two‐can‐play‐that‐game‐sean‐lawless‐kimber‐lee‐h24588f3ab0b364e
http://www.veporns.com/video/eager‐beaver‐makayla‐cox‐markus‐dupree
http://www.veporns.com/video/the‐big‐butt‐ballet‐danny‐d‐harley‐jade‐h245a44ef29b17e9
http://www.veporns.com/video/hot‐mom‐swims‐xander‐corvus‐nina‐elle‐h245a44eef06d51b
http://www.veporns.com/video/clinic‐cooch‐peta‐jensen‐xander‐corvus
http://www.veporns.com/video/the‐shoplicker‐evelin‐stone‐krissy‐lynn
http://www.veporns.com/video/sexperiments‐noelle‐easton‐peta‐jensen‐charles‐dera‐h245a44ef1199cd0
http://www.veporns.com/video/sex‐addicts‐anonymous‐abigail‐mac‐cherie‐deville‐keiran‐lee
http://www.veporns.com/video/disciplining‐his‐mistress‐ryan‐conner‐elsa‐jean‐h245971df94df4d7
http://www.veporns.com/video/our‐babysitters‐butt‐part‐2‐tommy‐gunn‐amara‐romani
http://www.veporns.com/video/the‐navy‐nurse‐lauren‐phillips‐alex‐d‐h245937c323a5402
http://www.veporns.com/video/princesscum‐lily‐adams‐all‐tied‐up
http://www.veporns.com/video/clubsandy‐elena‐koshka‐working‐hard
http://www.veporns.com/video/ra‐ra‐fuck‐my‐ma‐veronica‐rayne
http://www.veporns.com/video/teachers‐tits‐are‐distracting‐bridgette‐b‐alex‐d‐h2458dfe56cca62c
http://www.veporns.com/video/large‐hard‐on‐collider‐xander‐corvus‐jenna‐j‐foxx‐h24589857bbe8e07
http://www.veporns.com/video/league‐of‐pornstars‐a‐xxx‐parody‐rachel‐starr‐luke‐hardy
http://www.veporns.com/video/swipe‐the‐slate‐clean‐part‐three‐ashley‐adams‐michael‐vegas‐xander‐corvus‐
h245a44ef25a4020
http://www.veporns.com/video/dana‐dearmond‐bossy‐bitch‐milfslikeitbig
http://www.veporns.com/video/a‐daring‐first‐date‐anya‐ivy‐charles‐dera
http://www.veporns.com/video/looking‐for‐guidance‐ashly‐anderson‐robby‐echo
http://www.veporns.com/video/chief‐executive‐whore‐lola‐foxx‐danny‐d
http://www.veporns.com/video/get‐the‐picture‐alison‐tyler‐charles‐dera
http://www.veporns.com/video/stuck‐in‐the‐elevator‐bridgette‐b‐xander‐corvus
http://www.veporns.com/video/dont‐go‐through‐that‐door‐cindy‐loarn‐danny‐d
http://www.veporns.com/video/start‐up‐culture‐angel‐wicky‐danny‐d
http://www.veporns.com/video/how‐to‐train‐your‐milf‐krissy‐lynn‐small‐hands
http://www.veporns.com/video/cheating‐with‐a‐cheater‐dillion‐harper‐jenna‐sativa

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DMCA Subpoena - Page 35
                Case 3:19-mc-05027 Document 1-2 Filed 07/24/19 Page 36 of 49
http://www.veporns.com/video/wet‐and‐waiting‐kissa‐sins‐madison‐ivy
http://www.veporns.com/video/co‐eds‐and‐bunk‐beds‐cali‐carter‐jessy‐jones
http://www.veporns.com/video/laying‐pipe‐for‐a‐pornstar‐amia‐miley‐keiran‐lee
http://www.veporns.com/video/pot‐o‐dongs‐carolina‐sweets‐eva‐notty
http://www.veporns.com/video/the‐great‐zz‐egg‐hunt‐luna‐star‐van‐wylde
http://www.veporns.com/video/xanders‐world‐tour‐ep3‐romi‐rain‐xander‐corvus
http://www.veporns.com/video/dear‐keiran‐keiran‐lee‐veruca‐james
http://www.veporns.com/video/let‐them‐eat‐ass‐luna‐star‐xander‐corvus
http://www.veporns.com/video/babygotboobs‐skyla‐novea‐raving‐about‐her‐tits
http://www.veporns.com/video/pussy‐on‐pointe‐bridgette‐b‐val‐dodds
http://www.veporns.com/video/georgies‐workout‐plan‐georgie‐lyall‐sam‐bourne
http://www.veporns.com/video/brazzersexxtra‐2017‐a‐look‐back
http://www.veporns.com/video/too‐big‐for‐buttfucking‐danny‐d‐lucia‐love‐h245a44ef36d2b5e
http://www.veporns.com/video/its‐a‐nice‐day‐for‐a‐white‐lez‐wedding‐dolly‐little‐kymberlee‐anne‐h245a44eef3a89c9
http://www.veporns.com/video/digitalplayground‐skyler‐mckay‐oral‐exam‐h245a4a22af60f39
http://www.veporns.com/video/yoga‐to‐be‐kidding‐me‐layla‐price‐isiah‐maxwell
http://www.veporns.com/video/two‐boobs‐one‐hole‐noelle‐easton‐johnny‐castle
http://www.veporns.com/video/our‐babysitters‐butt‐part‐1‐phoenix‐marie‐amara‐romani
http://www.veporns.com/video/pleasuring‐the‐new‐partner‐ella‐hughes‐danny‐d
http://www.veporns.com/video/shes‐dumping‐you‐dakota‐skye‐bill‐bailey
http://www.veporns.com/video/cult‐of‐love‐giselle‐palmer‐sheridan‐love‐kyle‐mason
http://www.veporns.com/video/dollars‐for‐inches‐lily‐lane‐keiran‐lee‐h245a44eee40178e
http://www.veporns.com/video/bubble‐bath‐booty‐call‐markus‐dupree
http://www.veporns.com/video/babygotboobs‐karlee‐grey‐forbidden‐fruit
http://www.veporns.com/video/the‐ultimate‐pedicure‐keiran‐lee‐chanell‐heart
http://www.veporns.com/video/doing‐the‐dirty‐work‐alena‐croft‐jessy‐jones‐kristen‐scott
http://www.veporns.com/video/the‐dinner‐invitation‐keiran‐lee‐danny‐d‐jasmine‐james‐skyler‐mckay‐h245a44ef2c81f48
http://www.veporns.com/video/ass‐after‐midnight‐anna‐bell‐peaks‐xander‐corvus
http://www.veporns.com/video/candid‐cuckold‐camera‐riley‐reid‐ramon‐h245a44eede7c41e
http://www.veporns.com/video/interview‐with‐a‐busty‐boss‐jasmine‐webb‐jordi‐el‐nio‐polla
http://www.veporns.com/video/the‐great‐car‐wash‐war‐kissa‐sins‐romi‐rain‐johnny‐sins
http://www.veporns.com/video/swipe‐the‐slate‐clean‐part‐one‐ashley‐adams‐xander‐corvus
http://www.veporns.com/video/mom‐hands‐off‐my‐boyfriend‐ava‐addams‐xander‐corvus
http://www.veporns.com/video/the‐agency‐jasmine‐jae‐jordi‐el‐nio‐polla
http://www.veporns.com/video/sports‐suck‐london‐river‐jmac
http://www.veporns.com/video/a‐guilty‐conscience‐bill‐bailey‐peta‐jensen
http://www.veporns.com/video/what‐the‐client‐wants‐the‐client‐gets‐2‐derrick‐ferrari‐miss‐raquel‐bella‐rose
http://www.veporns.com/video/team‐player‐keiran‐lee‐nicole‐aniston‐h24588f3c52a4121
http://www.veporns.com/video/stay‐the‐fuck‐outta‐my‐room‐peta‐jensen‐johnny‐sins
http://www.veporns.com/video/bathing‐your‐friends‐dirty‐mama‐leigh‐darby‐jordi‐el‐nio‐polla
http://www.veporns.com/video/my‐stepsister‐the‐gamer‐sean‐lawless‐kristen‐scott
http://www.veporns.com/video/strokemoff‐subil‐arch‐keiran‐lee‐h245900d7c6df680
http://www.veporns.com/video/lose‐the‐fucking‐attitude‐valentina‐nappi
http://www.veporns.com/video/trading‐sides‐part‐2‐romi‐rain‐xander‐corvus
http://www.veporns.com/video/it‐swallows‐part‐two‐piper‐perri‐johnny‐sins
http://www.veporns.com/video/i‐like‐to‐be‐natural‐ariana‐marie‐keiran‐lee
http://www.veporns.com/video/wish‐upon‐a‐pornstar‐briana‐banks‐keiran‐lee
http://www.veporns.com/video/turning‐tricks‐blair‐williams‐sadie‐pop
http://www.veporns.com/video/the‐care‐package‐janna‐hicks‐justin‐hunt‐h24595637873b475
http://www.veporns.com/video/the‐art‐of‐anal‐mercedes‐carrera‐kyle‐mason
http://www.veporns.com/video/tickling‐the‐ivories‐chloe‐cherry‐joseline‐kelly‐ricky‐johnson
http://www.veporns.com/video/teasing‐the‐teaser‐katy‐jayne‐ricky‐stone

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DMCA Subpoena - Page 36
                Case 3:19-mc-05027 Document 1-2 Filed 07/24/19 Page 37 of 49
http://www.veporns.com/video/a‐dick‐before‐dropout‐danny‐d‐missy‐martinez‐violet‐starr
http://www.veporns.com/video/a‐horny‐devil‐rachel‐starr‐johnny‐sins
http://www.veporns.com/video/bloodthirsty‐biker‐babes‐part‐1‐anna‐bell‐peaks‐felicity‐feline‐h24595e08fb10334
http://www.veporns.com/video/rich‐fucks‐part‐1‐ariana‐marie‐bridgette‐b‐van‐wylde
http://www.veporns.com/video/how‐to‐become‐a‐pornstar‐in‐8‐easy‐inches‐monique‐alexander‐rico‐strong
http://www.veporns.com/video/hamilfton‐a‐xxx‐parody‐katie‐morgan‐isiah‐maxwell‐h24590b54e07850a
http://www.veporns.com/video/ex‐sex‐ashley‐adams‐cassidy‐klein
http://www.veporns.com/video/virgin‐medical‐massage‐keiran‐lee‐kara‐faux
http://www.veporns.com/video/shes‐crazy‐for‐cock‐part‐2‐charles‐dera‐ramon‐ashley‐fires‐h245a44ef20549d8
http://www.veporns.com/video/the‐perfect‐applicant‐part‐2‐ariana‐marie‐jessy‐jones
http://www.veporns.com/video/a‐dirty‐shower‐jewels‐jade‐stallion
http://www.veporns.com/video/stuck‐up‐stepmom‐cory‐chase‐xander‐corvus
http://www.veporns.com/video/sibling‐rivalry‐3‐preston‐parker‐anya‐ivy‐aaliyah‐hadid
http://www.veporns.com/video/how‐to‐fuck‐at‐the‐office‐olivia‐austin‐charles‐dera
http://www.veporns.com/video/bored‐stiff‐chloe‐carter‐jessy‐jones
http://www.veporns.com/video/driving‐mommy‐wild‐ariella‐ferrera‐kyle‐mason
http://www.veporns.com/video/babes‐lucy‐shine‐private‐lesson‐h245a44ee92e0706
http://www.veporns.com/video/dont‐bring‐your‐sister‐around‐me‐keiran‐lee‐nicolette‐shea
http://www.veporns.com/video/big‐stuck‐butt‐prince‐yashua‐mia‐li‐h245a44eed2d6d5f
http://www.veporns.com/video/how‐to‐fuck‐butt‐megan‐rain‐veronica‐avluv‐markus‐dupree‐h245a44eef0e6796
http://www.veporns.com/video/hittin‐that‐xander‐corvus‐august‐ames
http://www.veporns.com/video/team‐building‐sexcercise‐monique‐alexander‐michael‐vegas‐h24593bb48269433
http://www.veporns.com/video/from‐rags‐to‐bitches‐shauna‐skye‐zoey‐taylor
http://www.veporns.com/video/my‐moms‐boyfriends‐cock‐danny‐d‐kristen‐scott
http://www.veporns.com/video/nasty‐checkup‐with‐dr‐darby‐leigh‐darby‐chris‐diamond‐h245a44ef05cc810
http://www.veporns.com/video/bunk‐bed‐head‐kimmy‐granger‐mia‐pearl‐johnny‐sins
http://www.veporns.com/video/latex‐lust‐allie‐haze‐danny‐d
http://www.veporns.com/video/milfs‐grab‐back‐aubrey‐black‐jordi‐el‐nio‐polla
http://www.veporns.com/video/virtual‐ramming‐alessandra‐jane‐danny‐d
http://www.veporns.com/video/my‐wifes‐trainer‐luna‐star‐victoria‐june‐keiran‐lee‐h245a44ef0594ef0
http://www.veporns.com/video/bigwetbutts‐sarah‐banks‐just‐jeans
http://www.veporns.com/video/confessions‐from‐suburbia‐lela‐star‐keiran‐lee‐h245a44eee082c6f
http://www.veporns.com/video/daddys‐debt‐adria‐rae‐charles‐dera‐h2459622317f2a7b
http://www.veporns.com/video/amish‐runaway‐alexa‐nova‐keiran‐lee‐h245900d7c5f09d8
http://www.veporns.com/video/bounce‐that‐bubble‐butt‐dee‐williams‐ramon
http://www.veporns.com/video/cafe‐au‐milf‐isis‐love‐justin‐hunt
http://www.veporns.com/video/latexxx‐kiki‐minaj‐danny‐d
http://www.veporns.com/video/all‐hands‐on‐dick‐ella‐hughes‐gia‐paige‐jessy‐jones
http://www.veporns.com/video/i‐like‐creeps‐cherie‐deville‐jordi‐el‐nio‐polla‐h245a44edceeefbc
http://www.veporns.com/video/fasshionably‐late‐ivy‐lebelle‐bill‐bailey
http://www.veporns.com/video/trapped‐and‐fucked‐charles‐dera‐nicole‐aniston‐h245a44ef37249f0
http://www.veporns.com/video/lose‐the‐fucking‐attitude‐valentina‐nappi‐keiran‐lee
http://www.veporns.com/video/big‐dick‐in‐a‐little‐box‐melissa‐moore‐jessy‐jones
http://www.veporns.com/video/can‐i‐touch‐it‐ariana‐marie‐ryan‐ryder‐h245a44ebb9706d0
http://www.veporns.com/video/undercover‐ass‐valentina‐nappi‐tommy‐gunn
http://www.veporns.com/video/pearly‐whites‐jessica‐jaymes‐van‐wylde‐h245a44ef0a2ae0b
http://www.veporns.com/video/the‐caterer‐freddy‐fox‐amber‐deen
http://www.veporns.com/video/hard‐day‐at‐work‐giselle‐palmer‐honey‐gold‐charles‐dera
http://www.veporns.com/video/shake‐shop‐shag‐kendra‐spade‐markus‐dupree
http://www.veporns.com/video/doing‐the‐dishes‐jordi‐el‐nio‐polla‐karlie‐brooks
http://www.veporns.com/video/queen‐of‐thrones‐part‐4‐a‐xxx‐parody‐ella‐hughes‐rebecca‐moore‐dorian‐del‐isla‐pascal‐
white‐xander‐corvus

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DMCA Subpoena - Page 37
                Case 3:19-mc-05027 Document 1-2 Filed 07/24/19 Page 38 of 49
http://www.veporns.com/video/rich‐fucks‐part‐2‐bridgette‐b‐honey‐gold‐kristen‐scott‐xander‐corvus
http://www.veporns.com/video/porn‐star‐sex‐tips‐madison‐ivy‐keiran‐lee
http://www.veporns.com/video/fucking‐with‐security‐ashley‐adams‐bill‐bailey‐xander‐corvus
http://www.veporns.com/video/thanksgiving‐fuckfeast‐ashley‐fires‐jojo‐kiss‐levi‐cash‐h2459e09e97481c1
http://www.veporns.com/video/cum‐credits‐xander‐corvus‐cali‐carter
http://www.veporns.com/video/tasting‐the‐trophy‐wife‐casey‐calvert‐nicolette‐shea‐charles‐dera
http://www.veporns.com/video/cum‐competition‐ashley‐anderson‐markus‐dupree‐h2459563786b0425
http://www.veporns.com/video/the‐cehoe‐kleio‐valentien‐danny‐d‐h245a44ef2b5b434
http://www.veporns.com/video/brazzers‐house‐2‐day‐1‐abella‐danger‐alexis‐fawx‐keisha‐grey‐kelsi‐monroe‐luna‐star‐megan‐
rain‐monique‐alexander‐nicole‐aniston‐phoenix‐marie‐skyla‐novea‐charles‐dera‐jessy‐jones‐jmac‐sean‐lawless‐toni‐ribas‐
h245a44eed98e992
http://www.veporns.com/video/the‐doctor‐part‐three‐danny‐d‐victoria‐summers‐leigh‐darby‐georgie‐lyall
http://www.veporns.com/video/whats‐your‐fantasy‐lily‐labeau‐markus‐dupree‐xander‐corvus
http://www.veporns.com/video/babes‐mischa‐cross‐oral‐fixation‐h245a44e74b972a6
http://www.veporns.com/video/tiny‐teen‐hooker‐scarlett‐sage‐bill‐bailey‐h245a44ef35adb2b
http://www.veporns.com/video/one‐slutty‐shopping‐spree‐aubrey‐black‐danny‐d
http://www.veporns.com/video/putting‐it‐in‐her‐slot‐danny‐d
http://www.veporns.com/video/the‐exxxceptions‐episode‐5‐aaliyah‐hadid‐johnny‐sins
http://www.veporns.com/video/tits‐out‐like‐a‐light‐anna‐bell‐peaks‐sean‐lawless
http://www.veporns.com/video/conscious‐uncoupling‐massage‐shay‐evans‐danny‐mountain‐h245a16d4d0787a4
http://www.veporns.com/video/the‐stepmom‐the‐graduate‐rachel‐starr‐alex‐d‐h245a44ef339c3eb
http://www.veporns.com/video/the‐fair‐weathered‐slut‐kendall‐karson‐markus‐dupree
http://www.veporns.com/video/the‐perfect‐size‐cory‐chase‐marsha‐may‐sean‐lawless
http://www.veporns.com/video/catch‐the‐garter‐belt‐fuck‐the‐bride‐august‐taylor‐charles‐dera
http://www.veporns.com/video/tight‐as‐tape‐barbie‐sins‐danny‐d
http://www.veporns.com/video/ghostbusters‐xxx‐parody‐part‐1‐keiran‐lee‐monique‐alexander‐h245a44eee724644
http://www.veporns.com/video/sitting‐on‐the‐sitters‐dick‐nina‐elle‐sean‐lawless
http://www.veporns.com/video/the‐whore‐in‐the‐lot‐veronica‐avluv‐danny‐d
http://www.veporns.com/video/it‐puts‐the‐lotion‐on‐the‐cock‐kayla‐kayden‐keiran‐lee
http://www.veporns.com/video/the‐sweet‐taste‐of‐pussy‐kleio‐valentien‐madi‐meadows
http://www.veporns.com/video/a‐brazzers‐christmas‐special‐part‐1‐tyler‐nixon‐alexis‐fawx‐h245a44eecb6d441
http://www.veporns.com/video/show‐my‐dad‐whos‐boss‐sean‐lawless‐aubrey‐sinclair‐h24590cb30973fc8
http://www.veporns.com/video/dicks‐for‐pics‐brooke‐sinclaire‐alex‐legend‐h245a44eee2af449
http://www.veporns.com/video/working‐hard‐tasha‐holz‐danny‐d
http://www.veporns.com/video/putting‐in‐work‐abella‐danger‐isiah‐maxwell
http://www.veporns.com/video/applying‐pressure‐to‐the‐tender‐pussy‐johnny‐sins‐lily‐love
http://www.veporns.com/video/my‐horny‐stepsons‐alexis‐fawx‐small‐hands
http://www.veporns.com/video/happiness‐is‐a‐warm‐bum‐addison‐lee‐jax‐slayher
http://www.veporns.com/video/ill‐take‐it‐thick‐creamy‐sarah‐jessie‐jessy‐jones
http://www.veporns.com/video/ryan‐keely‐contracts‐a‐cock‐ryan‐keely‐keiran‐lee
http://www.veporns.com/video/dont‐touch‐her‐6‐bridgette‐b‐xander‐corvus
http://www.veporns.com/video/ribbon‐fucking‐giselle‐palmer‐johnny‐sins
http://www.veporns.com/video/the‐maltese‐fucker‐lily‐love‐michael‐vegas
http://www.veporns.com/video/big‐booty‐dream‐jeans‐nikki‐benz‐charles‐dera
http://www.veporns.com/video/teen‐trophy‐wife‐kylie‐nicole‐danny‐d
http://www.veporns.com/video/nikkis‐blind‐taste‐test‐nikki‐benz‐danny‐d
http://www.veporns.com/video/doctor‐nurse‐take‐a‐fucking‐break‐aria‐alexander‐sofia‐valletta‐jessy‐jones
http://www.veporns.com/video/getting‐my‐hands‐on‐a‐milf‐bridgette‐b‐lucas‐frost
http://www.veporns.com/video/my‐honey‐wants‐it‐rough‐peta‐jensen‐bill‐bailey
http://www.veporns.com/video/zz‐finishing‐school‐of‐fucking‐jade‐baker‐krissy‐lynn
http://www.veporns.com/video/joslyns‐secret‐shower‐joslyn‐james‐justin‐hunt
http://www.veporns.com/video/cum‐to‐my‐window‐brittany‐andrews‐keiran‐lee

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DMCA Subpoena - Page 38
                Case 3:19-mc-05027 Document 1-2 Filed 07/24/19 Page 39 of 49
http://www.veporns.com/video/digitalplayground‐moriah‐mills‐easter‐egg‐cunt
http://www.veporns.com/video/sneaky‐sharing‐xander‐corvus‐nikki‐hearts‐leigh‐raven
http://www.veporns.com/video/prom‐mom‐bailey‐brooke‐sarah‐jessie‐kyle‐mason
http://www.veporns.com/video/beach‐babes‐boobs‐whitney‐westgate‐chad‐white
http://www.veporns.com/video/painting‐her‐face‐janna‐hicks‐oliver‐flynn
http://www.veporns.com/video/the‐cougar‐and‐the‐virgin‐india‐summer‐jessy‐jones‐h245a44ef2c388fa
http://www.veporns.com/video/lubed‐up‐cupid‐jada‐stevens‐markus‐dupree‐h245a2298dc35972
http://www.veporns.com/video/clandestine‐coochie‐lezley‐zen‐bruce‐venture‐raylin‐ann
http://www.veporns.com/video/hands‐on‐learning‐brandi‐love‐jordi‐el‐nio‐polla
http://www.veporns.com/video/the‐fucking‐food‐inspector‐ava‐addams‐xander‐corvus
http://www.veporns.com/video/respect‐my‐authority‐zoey‐monroe‐keiran‐lee
http://www.veporns.com/video/chastity‐chase‐rachel‐starr‐keiran‐lee
http://www.veporns.com/video/the‐icing‐on‐the‐cock‐brenna‐sparks‐pervs‐on‐patrol
http://www.veporns.com/video/ella‐at‐sunset‐ella‐hughes‐johnny‐sins
http://www.veporns.com/video/queen‐of‐thrones‐part‐3‐a‐xxx‐parody‐ayda‐swinger‐romi‐rain‐danny‐d
http://www.veporns.com/video/in‐the‐lap‐of‐luxury‐jessa‐rhodes‐keiran‐lee
http://www.veporns.com/video/massaged‐by‐her‐mother‐katie‐morgan‐justin‐hunt‐h245a1d952fdc47d
http://www.veporns.com/video/fluids‐on‐the‐flight‐2‐alison‐tyler‐julia‐ann‐danny‐d
http://www.veporns.com/video/film‐class‐coochie‐xander‐corvus‐romi‐rain
http://www.veporns.com/video/a‐sexy‐awakening‐quinn‐wilde‐alex‐legend
http://www.veporns.com/video/fucking‐the‐first‐timer‐emma‐butt‐kiki‐minaj‐jordi‐el‐nio‐polla
http://www.veporns.com/video/santas‐anal‐elves‐jenna‐ivory‐keisha‐grey‐mick‐blue
http://www.veporns.com/video/good‐things‐cum‐in‐small‐and‐big‐packages‐charles‐dera‐lauren‐phillips‐dolly‐leigh‐
h245a44eeed98e46
http://www.veporns.com/video/straightening‐her‐out‐penny‐pax‐danny‐d
http://www.veporns.com/video/spanking‐my‐best‐friends‐mom‐jordi‐el‐nio‐polla‐rebecca‐jane‐smyth‐h245937c32deafb4
http://www.veporns.com/video/a‐treat‐for‐her‐feet‐alexis‐fawx‐keiran‐lee
http://www.veporns.com/video/cant‐get‐enough‐rachel‐roxxx‐mick‐blue‐h245a44eeded8675
http://www.veporns.com/video/car‐tips‐and‐tricks‐ella‐hughes‐keiran‐lee
http://www.veporns.com/video/but‐she‐helps‐me‐study‐michael‐vegas‐lily‐jordan‐h24591dd998c0684
http://www.veporns.com/video/penetrating‐sofia‐sofia‐cucci‐keiran‐lee
http://www.veporns.com/video/rent‐a‐pornstar‐the‐lonely‐bachelor‐ava‐addams‐keiran‐lee
http://www.veporns.com/video/cabang‐a‐bro‐jessica‐jaymes‐keiran‐lee‐h24593bb4816cff5
http://www.veporns.com/video/the‐unforgettable‐anniversary‐kayla‐kayden‐keiran‐lee
http://www.veporns.com/video/priyas‐private‐pounding‐priya‐price‐karlo‐karerra
http://www.veporns.com/video/shady‐spa‐shakedown‐tia‐cyrus‐charles‐dera
http://www.veporns.com/video/cult‐asspirations‐kissa‐sins‐keiran‐lee
http://www.veporns.com/video/stroke‐it‐for‐me‐veronica‐avluv‐xander‐corvus
http://www.veporns.com/video/toeing‐the‐line‐jessy‐jones‐kendall‐kayden‐h245a0eaea002408
http://www.veporns.com/video/ra‐ra‐fuck‐my‐ma‐veronica‐rayne‐keiran‐lee
http://www.veporns.com/video/the‐secret‐to‐succ‐sex‐alex‐harper‐keiran‐lee
http://www.veporns.com/video/the‐milf‐experience‐jessica‐jaymes‐van‐wylde
http://www.veporns.com/video/mommygotboobs‐candi‐kayne‐a‐view‐of‐the‐english‐cuntryside
http://www.veporns.com/video/principal‐photography‐sara‐jay‐jax‐slayher
http://www.veporns.com/video/the‐milf‐experience‐jessica‐ryan‐van‐wylde
http://www.veporns.com/video/the‐princesss‐peach‐a‐xxx‐parody‐markus‐dupree‐harley‐jade‐h2458dfe56cce9db
http://www.veporns.com/video/anal‐fun‐with‐kagneys‐buns‐keiran‐lee‐kagney‐linn‐karter
http://www.veporns.com/video/earning‐her‐allowance‐keiran‐lee‐jaye‐summers‐h245a44eee5e8132
http://www.veporns.com/video/getting‐messy‐with‐the‐wifey‐cristi‐ann‐jmac
http://www.veporns.com/video/bigtitsatwork‐nicole‐aniston‐summertime‐and‐the‐livin‐is‐sleazy
http://www.veporns.com/video/overtime‐tits‐lylith‐lavey‐sean‐lawless
http://www.veporns.com/video/porn‐star‐sex‐tips‐2‐luna‐star‐markus‐dupree

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DMCA Subpoena - Page 39
                Case 3:19-mc-05027 Document 1-2 Filed 07/24/19 Page 40 of 49
http://www.veporns.com/video/fuck‐my‐fishnets‐aleksa‐nicole‐prince‐yashua
http://www.veporns.com/video/zz‐erection‐2016‐part‐2‐nikki‐benz‐isiah‐maxwell
http://www.veporns.com/video/fucking‐the‐feds‐rachel‐starr‐charles‐dera‐keiran‐lee
http://www.veporns.com/video/spanglish‐lessons‐michelle‐thorne‐jordi‐el‐nio‐polla‐h245a44ef2255524
http://www.veporns.com/video/metal‐rear‐solid‐the‐phantom‐peen‐a‐xxx‐parody‐charles‐dera‐casey‐calvert‐
h245a44eefd99d2b
http://www.veporns.com/video/ass‐in‐heat‐johnny‐castle‐isis‐love
http://www.veporns.com/video/boinking‐and‐bowling‐britney‐amber‐alex‐legend
http://www.veporns.com/video/sister‐doesnt‐mind‐sharing‐rebecca‐volpetti‐jordi‐el‐nio‐polla
http://www.veporns.com/video/mom‐visits‐doc‐veronica‐avluv‐danny‐d‐h2458a809b9e269b
http://www.veporns.com/video/obsessive‐cum‐pulsive‐disorder‐harlow‐harrison‐bill‐bailey
http://www.veporns.com/video/if‐the‐dick‐fits‐part‐2‐van‐wylde‐kira‐noir‐h2458dfe56cb1d56
http://www.veporns.com/video/like‐a‐mother‐part‐2‐misty‐stone‐bailey‐brooke‐h245960a2b9e642f
http://www.veporns.com/video/lets‐get‐facials‐2‐nikki‐benz‐charles‐dera‐keiran‐lee‐dani‐daniels
http://www.veporns.com/video/1‐800‐phone‐sex‐line‐10‐lela‐star‐luna‐star‐van‐wylde
http://www.veporns.com/video/realitykings‐daisy‐stone‐fucking‐the‐cable‐guy‐sneakysex
http://www.veporns.com/video/big‐tits‐thesis‐jordi‐el‐nio‐polla‐lucia‐fernandez‐h245a44eed4642b2
http://www.veporns.com/video/trick‐and‐treat‐michael‐vegas‐zoey‐monroe
http://www.veporns.com/video/getting‐off‐the‐typing‐pool‐monique‐alexander‐ryan‐driller‐h24595e08fb7124c
http://www.veporns.com/video/a‐juggling‐sex‐act‐brooke‐wylde‐charles‐dera‐van‐wylde
http://www.veporns.com/video/a‐stepsons‐duty‐brooklyn‐chase‐van‐wylde‐h2459063441d3a13
http://www.veporns.com/video/zz‐sneakshot‐superstars‐moriah‐mills‐nicolette‐shea‐keiran‐lee
http://www.veporns.com/video/learning‐the‐hard‐way‐freddy‐flavas‐roxxy‐lea‐h245a44eef73efe4
http://www.veporns.com/video/luna‐loves‐anal‐keiran‐lee‐luna‐star
http://www.veporns.com/video/rachel‐lets‐her‐hair‐down‐rachel‐starr‐preston‐parker
http://www.veporns.com/video/the‐cock‐healer‐sean‐lawless‐olivia‐fox‐h245a44ef2b9e98f
http://www.veporns.com/video/fucked‐in‐a‐breeze‐michael‐vegas‐sheridan‐love
http://www.veporns.com/video/the‐more‐carolina‐the‐better‐carolina‐cortez‐xander‐corvus
http://www.veporns.com/video/your‐dick‐roommates‐dick‐skyla‐novea‐tyler‐h245900d7c7030f1
http://www.veporns.com/video/hard‐en‐garde‐tia‐cyrus‐johnny‐sins
http://www.veporns.com/video/spilling‐the‐boobs‐johnny‐sins‐isis‐love‐h24588f3db51342d
http://www.veporns.com/video/help‐me‐out‐cory‐chase‐jessy‐jones
http://www.veporns.com/video/yurizans‐cum‐addiction‐yurizan‐beltran‐xander‐corvus
http://www.veporns.com/video/mothers‐little‐helper‐brandi‐love‐justin‐hunt
http://www.veporns.com/video/undress‐my‐sundress‐markus‐dupree‐skyla‐novea‐h245a44ef37d53f0
http://www.veporns.com/video/abella‐bets‐her‐butt‐abella‐danger‐jessy‐jones
http://www.veporns.com/video/the‐bang‐ring‐part‐1‐anya‐olsen‐kissa‐sins‐h245a44ef28dd3a7
http://www.veporns.com/video/if‐the‐dick‐fits‐part‐1‐lucas‐frost‐kira‐noir‐h2458f8f6e730ea6
http://www.veporns.com/video/radiant‐booty‐kayla‐kayden‐xander‐corvus
http://www.veporns.com/video/bodystocking‐butt‐aj‐applegate‐will‐powers
http://www.veporns.com/video/driving‐the‐babysitter‐wild‐gina‐valentina‐keiran‐lee‐h2459563786bce56
http://www.veporns.com/video/the‐fuckening‐angela‐white‐romi‐rain‐keiran‐lee
http://www.veporns.com/video/deep‐dive‐missy‐martinez‐michael‐vegas
http://www.veporns.com/video/switching‐teams‐part‐1‐harley‐jade‐yhivi
http://www.veporns.com/video/stay‐away‐from‐my‐daughter‐keiran‐lee‐ava‐addams‐h245a44ef234e058
http://www.veporns.com/video/this‐was‐your‐idea‐rachel‐starr‐mick‐blue
http://www.veporns.com/video/your‐sons‐a‐fuck‐up‐alison‐tyler‐xander‐corvus
http://www.veporns.com/video/the‐stowaway‐bailey‐brooke‐sean‐lawless‐h245a44ef33d66c4
http://www.veporns.com/video/banging‐the‐butler‐patty‐michova‐danny‐d‐h245a44eed0cb4fc
http://www.veporns.com/video/in‐tents‐fucking‐part‐1‐jojo‐kiss‐karlee‐grey
http://www.veporns.com/video/hardcore‐initiation‐jasmine‐webb‐jordi‐el‐nio‐polla
http://www.veporns.com/video/lost‐in‐brazzers‐episode‐2‐julia‐ann‐danny‐d‐h245a44eef9441af

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DMCA Subpoena - Page 40
                Case 3:19-mc-05027 Document 1-2 Filed 07/24/19 Page 41 of 49
http://www.veporns.com/video/tight‐and‐tanned‐part‐2‐johnny‐castle‐cory‐chase‐aubrey‐rose
http://www.veporns.com/video/the‐wet‐look‐danny‐d‐chantelle‐fox‐h245a084ec052591
http://www.veporns.com/video/powder‐puff‐girl‐jessa‐rhodes‐johnny‐sins
http://www.veporns.com/video/spanking‐the‐secretary‐raven‐bay‐danny‐d
http://www.veporns.com/video/the‐house‐call‐melissa‐lynn‐keiran‐lee
http://www.veporns.com/video/buttfuckers‐delight‐danny‐d‐savana‐styles
http://www.veporns.com/video/i‐dream‐of‐gina‐gina‐valentina‐justin‐hunt
http://www.veporns.com/video/the‐perks‐of‐gettin‐jerked‐summer‐day‐michael‐vegas‐h24596cb099810da
http://www.veporns.com/video/yoga‐for‐perverts‐levi‐cash‐peta‐jensen
http://www.veporns.com/video/a‐big‐titted‐bully‐johnny‐castle‐quinn‐wilde‐h245a44eecaad645
http://www.veporns.com/video/cumming‐in‐jordi‐el‐nio‐polla‐sandra‐star
http://www.veporns.com/video/big‐wet‐bubble‐butt‐bath‐toni‐ribas‐michael‐vegas‐candice‐dare‐h245a44eed506aa8
http://www.veporns.com/video/juicy‐julia‐tony‐de‐sergio‐julia‐de‐lucia
http://www.veporns.com/video/anal‐audit‐romi‐rain‐sean‐lawless
http://www.veporns.com/video/the‐memento‐romi‐rain‐jean‐val‐jean
http://www.veporns.com/video/hard‐pressed‐keiran‐lee
http://www.veporns.com/video/ella‐hughes‐oktoberfucked‐brazzersexxtra
http://www.veporns.com/video/pornstar‐convention‐penetration‐monique‐alexander‐xander‐corvus
http://www.veporns.com/video/white‐coat‐pink‐pussy‐abigail‐mac‐xander‐corvus‐h245a44ef3a99cac
http://www.veporns.com/video/free‐anal‐5‐maddy‐oreilly‐xander‐corvus
http://www.veporns.com/video/2‐feet‐10‐inches‐veronica‐rayne‐keiran‐lee‐h245a44eeca4685b
http://www.veporns.com/video/sharing‐the‐siblings‐part‐1‐xander‐corvus‐lyra‐law‐violet‐starr‐h24588f39ab82553
http://www.veporns.com/video/tease‐and‐stimulate‐alexis‐fawx‐marsha‐may‐michael‐vegas‐h245a44ef2725819
http://www.veporns.com/video/all‐grown‐up‐karter‐foxx‐jean‐val‐jean‐h245a44eece0110e
http://www.veporns.com/video/still‐wet‐aidra‐fox‐keiran‐lee
http://www.veporns.com/video/load‐for‐a‐loan‐danny‐d‐simone‐garza
http://www.veporns.com/video/sensory‐deprivation‐kayla‐kayden‐danny‐mountain‐keiran‐lee
http://www.veporns.com/video/bosss‐bratty‐daughter‐alessa‐savage‐danny‐d‐h245a44eed5d0a56
http://www.veporns.com/video/stay‐at‐home‐slut‐ana‐foxxx‐xander‐corvus
http://www.veporns.com/video/bonnie‐rotten‐nicolette‐shea‐insubordinate‐sub‐hotandmean
http://www.veporns.com/video/putting‐her‐feet‐up‐anna‐bell‐peaks
http://www.veporns.com/video/ghostbusters‐xxx‐parody‐part‐4‐nikki‐benz‐charles‐dera‐monique‐alexander‐xander‐corvus‐
romi‐rain‐isiah‐maxwell‐sean‐lawless‐ana‐foxxx‐h245a44eee76c6ea
http://www.veporns.com/video/cabin‐fever‐lauren‐phillips‐johnny‐sins
http://www.veporns.com/video/the‐easter‐hunny‐abella‐danger‐dean‐van‐damme
http://www.veporns.com/video/the‐fuckerfly‐effect‐alena‐croft‐chloe‐cherry‐xander‐corvus
http://www.veporns.com/video/homeschool‐sex‐ed‐synthia‐fixx‐xander‐corvus‐kimmy‐granger
http://www.veporns.com/video/the‐pussys‐wetter‐on‐the‐other‐side‐eva‐lovia‐xander‐corvus‐h24593bb4828a161
http://www.veporns.com/video/phoenix‐vs‐blake‐blake‐eden‐phoenix‐marie
http://www.veporns.com/video/miss‐bad‐medicine‐15‐h24588f4d833e1d6
http://www.veporns.com/video/miss‐bad‐medicine‐3‐h24588f4d8360622
http://www.veporns.com/video/show‐me‐the‐yoni‐india‐summer‐keiran‐lee
http://www.veporns.com/video/no‐pain‐no‐gpa‐gain‐makayla‐cox‐vienna‐black
http://www.veporns.com/video/domestic‐disruption‐rachel‐starr‐jmac
http://www.veporns.com/video/hardcore‐high‐notes‐phoenix‐marie‐jordi‐el‐nio‐polla
http://www.veporns.com/video/perfect‐pantyhose‐jessy‐jones‐kat‐dior‐h24588f3ab3ed503
http://www.veporns.com/video/her‐first‐big‐sale‐2‐chanel‐preston‐keiran‐lee‐tommy‐gunn
http://www.veporns.com/video/start‐dicking‐around‐shay‐evans‐danny‐mountain‐h24593157c1efe77
http://www.veporns.com/video/head‐to‐toe‐maya‐bijou‐damon‐dice
http://www.veporns.com/video/traffic‐violation‐gina‐valentina‐johnny‐sins
http://www.veporns.com/video/stuck‐n‐fuck‐lena‐paul‐ryan‐driller‐h245941089261980
http://www.veporns.com/video/nurse‐riley‐riley‐reid‐van‐wylde

                                                      36

DMCA Subpoena - Page 41
                Case 3:19-mc-05027 Document 1-2 Filed 07/24/19 Page 42 of 49
http://www.veporns.com/video/strip‐club‐surprise‐nickey‐huntsman‐osa‐lovely‐jessy‐jones
http://www.veporns.com/video/bloodthirsty‐biker‐babes‐part‐3‐anna‐bell‐peaks‐felicity‐feline‐johnny‐sins
http://www.veporns.com/video/dick‐or‐treat‐johnny‐castle‐ariana‐marie
http://www.veporns.com/video/rip‐my‐yoga‐pants‐lylith‐lavey‐jessy‐jones
http://www.veporns.com/video/my‐uncles‐gf‐wants‐my‐dick‐briana‐banks‐jessy‐jones
http://www.veporns.com/video/ladies‐in‐leather‐kristen‐scott‐lilly‐ford
http://www.veporns.com/video/summertime‐and‐the‐livin‐is‐sleazy‐nicole‐aniston‐xander‐corvus
http://www.veporns.com/video/paint‐job‐bailey‐brooke‐kyle‐mason‐h245a44ef09ba323
http://www.veporns.com/video/blow‐team‐blow‐tina‐kay‐jordi‐el‐nio‐polla
http://www.veporns.com/video/the‐cum‐soaked‐gardener‐karmen‐karma‐keiran‐lee
http://www.veporns.com/video/typecasting‐titties‐kirsten‐price‐madi‐meadows
http://www.veporns.com/video/fallen‐fuckbunny‐skyla‐novea‐keiran‐lee‐h245a084f0d01341
http://www.veporns.com/video/wax‐on‐wax‐off‐kat‐dior‐krissy‐lynn
http://www.veporns.com/video/moaning‐in‐the‐morning‐light‐melissa‐moore‐jessy‐jones
http://www.veporns.com/video/lined‐up‐and‐laid‐out‐nicole‐aniston‐johnny‐sins
http://www.veporns.com/video/doctors‐without‐boners‐danny‐d‐samantha‐rone‐h245a44eee3d06d4
http://www.veporns.com/video/happy‐to‐help‐ivy‐lebelle‐xander‐corvus
http://www.veporns.com/video/swamp‐buggy‐booty‐bethany‐benz‐van‐wylde
http://www.veporns.com/video/1‐800‐phone‐sex‐line‐6‐madison‐ivy‐jean‐val‐jean
http://www.veporns.com/video/miss‐bad‐medicine‐2‐h24588f4d834e4eb
http://www.veporns.com/video/skyla‐hates‐studying‐sean‐lawless‐skyla‐novea‐h24590634458c30c
http://www.veporns.com/video/dont‐forget‐to‐fuck‐kimmy‐granger‐keiran‐lee
http://www.veporns.com/video/young‐bitchy‐boss‐danny‐d‐cassidy‐banks
http://www.veporns.com/video/all‐natural‐intern‐michael‐vegas‐valentina‐nappi
http://www.veporns.com/video/xanders‐world‐tour‐ep1‐madison‐ivy‐xander‐corvus
http://www.veporns.com/video/no‐squirting‐in‐class‐dillion‐harper‐romeo‐price
http://www.veporns.com/video/a‐brazzers‐christmas‐special‐part‐3‐charles‐dera‐jillian‐janson‐h245a44eecbd06f1
http://www.veporns.com/video/valentinas‐ass‐is‐a‐work‐of‐art‐danny‐d‐valentina‐bianco‐h2458f76c55e2caa
http://www.veporns.com/video/double‐dare‐seth‐gamble‐buddy‐hollywood‐jenna‐reid‐maya‐bijou
http://www.veporns.com/video/the‐day‐before‐you‐came‐alessandra‐jane‐danny‐d‐h245946404ae1144
http://www.veporns.com/video/she‐wants‐it‐both‐ways‐julia‐ann‐jessy‐jones‐kylie‐page
http://www.veporns.com/video/go‐ham‐or‐go‐home‐cory‐chase‐lexi‐luna
http://www.veporns.com/video/caught‐at‐the‐peephole‐bonnie‐rotten‐gia‐dimarco
http://www.veporns.com/video/acting‐101‐anastasia‐hart‐danny‐d
http://www.veporns.com/video/bon‐appetitties‐danny‐d‐alexis‐adams‐h245a084f10acb7b
http://www.veporns.com/video/porn‐preference‐test‐adriana‐chechik‐xander‐corvus
http://www.veporns.com/video/can‐you‐feel‐the‐tightness‐sean‐lawless‐elsa‐jean‐h24588f3ab02133d
http://www.veporns.com/video/wrong‐place‐right‐time‐cecilia‐lion‐maserati
http://www.veporns.com/video/reverse‐psychology‐tory‐lane‐tommy‐gunn
http://www.veporns.com/video/the‐teen‐in‐the‐tub‐danny‐d‐luna‐rival
http://www.veporns.com/video/maid‐to‐nurture‐august‐taylor‐buddy‐hollywood‐h24588f4107b68b8
http://www.veporns.com/video/the‐cheaters‐choice‐keiran‐lee‐michael‐vegas‐jenna‐ivory
http://www.veporns.com/video/massaging‐mercedes‐melons‐mercedes‐carrera‐jordi‐el‐nio‐polla‐h245a44eefc0a897
http://www.veporns.com/video/destiny‐queen‐of‐footjobs‐destiny‐dixon‐sean‐lawless
http://www.veporns.com/video/betting‐on‐the‐backspin‐nicole‐aniston‐keiran‐lee
http://www.veporns.com/video/how‐to‐take‐a‐load‐trinity‐stclair‐mick‐blue
http://www.veporns.com/video/getting‐off‐on‐the‐job‐nicole‐aniston‐xander‐corvus
http://www.veporns.com/video/sending‐stepmoms‐nudes‐reagan‐foxx‐kyle‐mason
http://www.veporns.com/video/petas‐pool‐time‐johnny‐sins‐peta‐jensen
http://www.veporns.com/video/zz‐marathon‐of‐hump‐ella‐hughes‐tina‐kay‐danny‐d
http://www.veporns.com/video/titty‐film‐school‐britney‐amber‐xander‐corvus‐h245a44ef3665b9b
http://www.veporns.com/video/april‐fools‐honey‐cory‐chase‐sean‐lawless

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DMCA Subpoena - Page 42
                Case 3:19-mc-05027 Document 1-2 Filed 07/24/19 Page 43 of 49
http://www.veporns.com/video/lay‐her‐over‐lena‐paul‐kyle‐mason
http://www.veporns.com/video/kendra‐lust‐nuru‐nymph‐dirtymasseur
http://www.veporns.com/video/the‐magicians‐ass‐istant‐angela‐white‐ramon‐h245a44ef3084367
http://www.veporns.com/video/brazzers‐brazzers‐heavenly‐bodies‐kissa‐sins‐amp‐peta‐jensen‐h245a44eed7c3361
http://www.veporns.com/video/jailhouse‐fuck‐two‐ariella‐ferrera‐xander‐corvus
http://www.veporns.com/video/big‐surprise‐from‐her‐brother‐in‐law‐elsa‐jean‐jessy‐jones
http://www.veporns.com/video/a‐knob‐for‐a‐job‐karter‐foxx‐danny‐d
http://www.veporns.com/video/dressing‐for‐the‐dean‐giselle‐palmer‐danny‐mountain
http://www.veporns.com/video/cock‐locked‐up‐isis‐love‐small‐hands
http://www.veporns.com/video/day‐with‐a‐pornstar‐monique‐monique‐alexander‐danny‐d
http://www.veporns.com/video/happy‐anal‐versary‐jynx‐maze‐keiran‐lee
http://www.veporns.com/video/netdicks‐and‐chill‐sydney‐cole‐keiran‐lee
http://www.veporns.com/video/a‐late‐night‐visitor‐nikki‐capone‐jb‐rodeo
http://www.veporns.com/video/big‐tits‐in‐history‐part‐1‐danny‐d‐rina‐ellis‐h245a44eed371c0f
http://www.veporns.com/video/the‐thirst‐is‐real‐august‐ames‐johnny‐sins‐h245a084f0d1aba0
http://www.veporns.com/video/cumming‐at‐customs‐cherie‐deville‐ryder‐skye‐justin‐hunt
http://www.veporns.com/video/office‐4‐play‐christmas‐bonuses‐ava‐addams‐monique‐alexander‐nicolette‐shea‐romi‐rain‐
keiran‐lee
http://www.veporns.com/video/teaching‐your‐tutor‐to‐suck‐dick‐jordi‐el‐nio‐polla‐zoe‐doll‐ania‐kinski
http://www.veporns.com/video/homemade‐american‐tits‐ariella‐ferrera‐jordi‐el‐nio‐polla‐h24588f3c5535301
http://www.veporns.com/video/progress‐report‐ryan‐keely‐johnny‐sins
http://www.veporns.com/video/cock‐for‐cox‐keiran‐lee‐stella‐cox
http://www.veporns.com/video/personal‐trainers‐jelena‐jensen‐kenzie‐taylor
http://www.veporns.com/video/plowing‐the‐private‐dancer‐bridgette‐b‐keiran‐lee
http://www.veporns.com/video/hammered‐danny‐d‐raven‐bay
http://www.veporns.com/video/our‐sorority‐sucks‐abella‐danger‐jojo‐kiss‐h245a44ef09448bd
http://www.veporns.com/video/storm‐of‐kings‐xxx‐parody‐behind‐the‐scenes‐anissa‐kate‐aruba‐jasmine‐peta‐jensen‐ryan‐
ryder
http://www.veporns.com/video/blowing‐on‐some‐other‐guys‐dice‐charles‐dera‐bridgette‐b‐prince‐yashua‐nina‐kayy
http://www.veporns.com/video/after‐party‐mix‐cassidy‐klein‐simone‐sonay‐damon‐dice
http://www.veporns.com/video/he‐makes‐wifey‐watch‐adriana‐chechik‐nicolette‐shea‐mick‐blue
http://www.veporns.com/video/blowjob‐bootcamp‐jessy‐jones‐harley‐jade‐h24588f3ab3bcadf
http://www.veporns.com/video/my‐scissoring‐stepmom‐ava‐koxxx‐leigh‐darby‐jordi‐el‐nio‐polla
http://www.veporns.com/video/bossy‐bitch‐dana‐dearmond‐xander‐corvus
http://www.veporns.com/video/ass‐safari‐kat‐dior‐mick‐blue
http://www.veporns.com/video/our‐cute‐little‐plaything‐2‐alexis‐fawx‐holly‐hendrix‐charles‐dera
http://www.veporns.com/video/the‐final‐exam‐johnny‐castle‐peta‐jensen
http://www.veporns.com/video/cock‐reading‐eva‐notty‐keiran‐lee‐h2459e09efb30b2b
http://www.veporns.com/video/noise‐cumplaint‐leigh‐raven‐tommy‐gunn
http://www.veporns.com/video/one‐hour‐phot‐ho‐monique‐alexander‐xander‐corvus
http://www.veporns.com/video/massage‐a‐trois‐gia‐paige‐reagan‐foxx‐jessy‐jones
http://www.veporns.com/video/peeping‐stepson‐rebecca‐jane‐smyth‐jordi‐el‐nio‐polla
http://www.veporns.com/video/the‐heat‐wave‐lily‐love‐bruce‐venture‐alena‐croft
http://www.veporns.com/video/vip‐ashly‐anderson‐jessy‐jones‐h2459f0930bb294d
http://www.veporns.com/video/boot‐camp‐osa‐lovely‐johnny‐sins
http://www.veporns.com/video/slut‐hotel‐part‐3‐rachel‐roxxx‐isis‐love‐romi‐rain‐sean‐lawless‐h245a44ef21b6a39
http://www.veporns.com/video/my‐no‐good‐brother‐in‐law‐keiran‐lee‐august‐ames‐h24588f3c5787c64
http://www.veporns.com/video/shes‐always‐naked‐alyssa‐lynn‐lucas‐frost
http://www.veporns.com/video/school‐slut‐ariana‐marie‐zoe‐clark‐sean‐lawless
http://www.veporns.com/video/fast‐times‐on‐a‐first‐date‐jenny‐diamond‐jordi‐el‐nio‐polla‐h245a084eb64ff72
http://www.veporns.com/video/dont‐fuck‐the‐mother‐in‐law‐danny‐d‐amber‐jayne‐h24588f3ab3d1803
http://www.veporns.com/video/double‐timing‐wife‐2‐sarah‐vandella‐johnny‐castle‐preston‐parker‐h2458dfe56c9d424

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DMCA Subpoena - Page 43
                Case 3:19-mc-05027 Document 1-2 Filed 07/24/19 Page 44 of 49
http://www.veporns.com/video/taming‐the‐wild‐wet‐butt‐luna‐star‐markus‐dupree‐h2459181b5fb7427
http://www.veporns.com/video/swingers‐on‐vacation‐part‐1‐alektra‐blue‐nina‐elle‐keiran‐lee‐michael‐vegas
http://www.veporns.com/video/horny‐vs‐homebody‐ariana‐aimes‐cecilia‐lion
http://www.veporns.com/video/whats‐for‐dinner‐chanel‐preston‐keiran‐lee
http://www.veporns.com/video/7‐minutes‐in‐mrs‐heaven‐cathy‐heaven‐jordi‐el‐nio‐polla
http://www.veporns.com/video/milfslikeitbig‐chanel‐preston‐preppies‐in‐pantyhose‐part‐2
http://www.veporns.com/video/selfies‐with‐the‐dean‐kenzie‐reeves
http://www.veporns.com/video/can‐you‐fix‐my‐wi‐fi‐nicolette‐shea‐johnny‐sins‐h245a44eede4565b
http://www.veporns.com/video/tight‐fitting‐house‐sitting‐india‐summer‐jessy‐jones‐kimberly‐moss‐h24588f358369e61
http://www.veporns.com/video/bothered‐by‐the‐bush‐eva‐notty‐melissa‐moore‐tyler‐nixon
http://www.veporns.com/video/shipped‐stripped‐sarah‐jessie‐johnny‐sins
http://www.veporns.com/video/home‐is‐where‐the‐whore‐is‐richelle‐ryan‐cassidy‐banks‐jake‐adams‐h2458d5fd9e13040
http://www.veporns.com/video/realitykings‐khloe‐kapri‐up‐all‐night‐teenslovehugecocks‐h24596cb09e4db7a
http://www.veporns.com/video/the‐dick‐pic‐trick‐nicolette‐shea‐tyler‐nixon
http://www.veporns.com/video/finally‐some‐good‐fucking‐food‐ashleigh‐devere‐danny‐d
http://www.veporns.com/video/onlyteenblowjobs‐emma‐hix‐hide‐and‐seek‐suck
http://www.veporns.com/video/melt‐in‐her‐mouth‐georgie‐lyall‐danny‐d
http://www.veporns.com/video/her‐turn‐to‐cheat‐destiny‐dixon‐sean‐lawless
http://www.veporns.com/video/back‐in‐big‐cock‐action‐nicole‐aniston‐keiran‐lee
http://www.veporns.com/video/alison‐pounces‐on‐pipers‐pussy‐alison‐tyler‐piper‐perri‐h2459063441d8231
http://www.veporns.com/video/a‐parent‐teacher‐meating‐anya‐ivy‐preston‐parker
http://www.veporns.com/video/emo‐chick‐needs‐some‐dick‐kenzie‐reeves‐sean‐lawless
http://www.veporns.com/video/the‐milf‐next‐door‐katie‐morgan‐keiran‐lee
http://www.veporns.com/video/sucked‐by‐the‐soccer‐milf‐diamond‐jackson‐markus‐dupree
http://www.veporns.com/video/bringing‐down‐the‐house‐sarah‐jessie‐jessy‐jones
http://www.veporns.com/video/when‐daddys‐away‐sarah‐banks‐johnny‐sins
http://www.veporns.com/video/cunnilingus‐a‐zz‐medical‐study‐keiran‐lee‐marley‐brinx‐h2458dfe56e89122
http://www.veporns.com/video/pussy‐pressure‐points‐julia‐ann‐van‐wylde
http://www.veporns.com/video/teasing‐toes‐cristal‐caraballo‐bambino
http://www.veporns.com/video/lick‐a‐boss‐diamond‐foxxx‐bobbi‐dylan‐h245a44eef7ca408
http://www.veporns.com/video/a‐pov‐patient‐pounding‐keiran‐lee‐melissa‐moore‐h24588f3db4802d4
http://www.veporns.com/video/its‐going‐to‐be‐lit‐mandy‐muse‐mick‐blue
http://www.veporns.com/video/athena‐for‐dessert‐athena‐palomino‐keiran‐lee
http://www.veporns.com/video/slipping‐it‐in‐the‐soccer‐milf‐london‐river‐damon‐dice
http://www.veporns.com/video/the‐roaring‐whoring‐20s‐violet‐starr‐xander‐corvus
http://www.veporns.com/video/low‐ride‐her‐luna‐star‐xander‐corvus
http://www.veporns.com/video/pornstar‐pr‐crisis‐management‐amia‐miley‐xander‐corvus
http://www.veporns.com/video/pitch‐it‐down‐the‐pipe‐alex‐d
http://www.veporns.com/video/my‐slutty‐valentine‐part‐2‐britney‐amber‐xander‐corvus
http://www.veporns.com/video/squirt‐and‐slurp‐kiki‐minaj‐danny‐d
http://www.veporns.com/video/learning‐the‐fun‐way‐mea‐melone‐bruce‐venture
http://www.veporns.com/video/hr‐whorientation‐diamond‐foxxx‐jmac
http://www.veporns.com/video/pounding‐the‐pool‐boy‐mia‐little‐johnny‐sins
http://www.veporns.com/video/slut‐hotel‐part‐4‐anya‐olsen‐ashley‐fires‐ryan‐driller‐h245960a2ba5f654
http://www.veporns.com/video/doctoring‐the‐results‐julia‐ann‐keiran‐lee
http://www.veporns.com/video/what‐a‐fucking‐coincidence‐amia‐miley
http://www.veporns.com/video/a‐tip‐for‐the‐waitress‐jenna‐j‐foxx‐johnny‐castle
http://www.veporns.com/video/mommy‐issues‐part‐2‐jordi‐el‐nio‐polla‐tiffany‐rain‐h2458dfe56e7345f
http://www.veporns.com/video/shes‐crazy‐for‐cock‐part‐1‐charles‐dera‐ashley‐fires‐h245a44ef200804e
http://www.veporns.com/video/my‐secret‐garden‐nikki‐delano‐keiran‐lee‐h245a44ef04d3247
http://www.veporns.com/video/slut‐hotel‐part‐2‐sean‐lawless‐skyla‐novea‐bailey‐brooke
http://www.veporns.com/video/teacher‐takes‐advantage‐katie‐morgan‐robby‐echo‐h24588f3dbbb03d6

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DMCA Subpoena - Page 44
                Case 3:19-mc-05027 Document 1-2 Filed 07/24/19 Page 45 of 49
http://www.veporns.com/video/office‐anal‐britney‐amber‐markus‐dupree‐h245a44ef078011d
http://www.veporns.com/video/the‐mother‐load‐brooklyn‐chase‐justin‐hunt
http://www.veporns.com/video/dont‐toy‐with‐me‐ashly‐anderson‐cherie‐deville‐jessy‐jones
http://www.veporns.com/video/brazzers‐new‐years‐eve‐party‐kristina‐rose‐phoenix‐marie‐keiran‐lee‐chanel‐preston‐danny‐
d‐jordi‐el‐nio‐polla‐h245a44eedaf30ee
http://www.veporns.com/video/brazzers‐pharmacy‐fuckdown‐anna‐bell‐peaks‐h245a44eedb52b87
http://www.veporns.com/video/prom‐pussy‐eva‐notty‐gia‐paige‐xander‐corvus‐h245a084ec03b32c
http://www.veporns.com/video/sweet‐ass‐candy‐peter‐green‐peyton‐sweet
http://www.veporns.com/video/the‐brazzers‐halftime‐show‐ii‐phoenix‐marie‐charles‐dera‐veronica‐avluv‐michael‐vegas‐
romi‐rain‐brooklyn‐chase‐h245a44ef2b0ad0c
http://www.veporns.com/video/ladies‐first‐bailey‐brooke‐noemie‐bilas
http://www.veporns.com/video/couples‐counselling‐mercedes‐carrera‐olivia‐austin‐keiran‐lee
http://www.veporns.com/video/work‐that‐ass‐phoenix‐marie‐karlo‐karerra‐ramon
http://www.veporns.com/video/anal‐tutor‐holly‐hendrix‐sean‐lawless
http://www.veporns.com/video/kendras‐thanksgiving‐stuffing‐kendra‐lust‐jordi‐el‐nio‐polla
http://www.veporns.com/video/a‐view‐of‐the‐english‐cuntryside‐candi‐kayne‐jordi‐el‐nio‐polla
http://www.veporns.com/video/bubbliest‐butt‐bridgette‐b‐keiran‐lee‐h245a44eedd2de37
http://www.veporns.com/video/mermaid‐vibes‐penny‐pax‐keiran‐lee
http://www.veporns.com/video/buttaholics‐anonymous‐august‐taylor‐keiran‐lee
http://www.veporns.com/video/if‐the‐bra‐fits‐briana‐banks‐jessy‐jones‐h24596cb0990f73b
http://www.veporns.com/video/blessing‐in‐disguise‐keiran‐lee
http://www.veporns.com/video/i‐spy‐rachel‐starr‐jessy‐jones
http://www.veporns.com/video/the‐great‐easter‐egg‐cunt‐jessy‐jones‐tiffany‐watson‐h245932794cbf16e
http://www.veporns.com/video/that‐warm‐and‐fuzzy‐feeling‐adriana‐chechik‐dean‐van‐damme
http://www.veporns.com/video/sunny‐with‐a‐chance‐of‐big‐dick‐juelz‐ventura‐xander‐corvus‐h245a44ef24e4297
http://www.veporns.com/video/private‐dick‐nicolette‐shea‐johnny‐sins‐h2459e09efb431c5
http://www.veporns.com/video/a‐long‐rough‐night‐monique‐alexander‐keiran‐lee
http://www.veporns.com/video/psycho‐anal‐ysis‐danny‐d‐julia‐de‐lucia‐h245a44ef0db5167
http://www.veporns.com/video/doggy‐with‐the‐dean‐steve‐holmes‐lena‐paul
http://www.veporns.com/video/tight‐and‐tanned‐part‐1‐cory‐chase‐aubrey‐rose‐h24588f3aaee97b2
http://www.veporns.com/video/always‐thick‐chanel‐preston‐danny‐mountain
http://www.veporns.com/video/sit‐on‐it‐and‐spin‐abella‐danger‐markus‐dupree
http://www.veporns.com/video/doctoradventures‐lauren‐phillips‐stress‐test‐sex
http://www.veporns.com/video/kat‐got‐your‐dick‐kat‐dior‐bill‐bailey‐levi‐cash
http://www.veporns.com/video/nailing‐the‐neighborhood‐bully‐sheridan‐love‐small‐hands
http://www.veporns.com/video/doctor‐d‐sperm‐service‐kayla‐green‐danny‐d
http://www.veporns.com/video/anal‐glory‐danny‐d‐aj‐applegate‐h245a44eeceab458
http://www.veporns.com/video/wait‐your‐turn‐monique‐alexander‐isiah‐maxwell‐ivy‐lebelle
http://www.veporns.com/video/yoga‐freaks‐episode‐9‐abella‐danger‐brenna‐sparks
http://www.veporns.com/video/pressing‐news‐xander‐corvus‐romi‐rain‐h24588f410727157
http://www.veporns.com/video/ambers‐pantyhose‐bill‐bailey‐amber‐ivy
http://www.veporns.com/video/fighting‐milf‐temptations‐ashley‐fires‐brad‐knight
http://www.veporns.com/video/caddyshag‐ashley‐lane‐marc‐rose
http://www.veporns.com/video/asking‐for‐it‐anon‐sofi‐ryan‐keiran‐lee
http://www.veporns.com/video/whats‐my‐grade‐again‐charles‐dera‐august‐taylor
http://www.veporns.com/video/the‐interns‐turn‐katrina‐jade‐charles‐dera
http://www.veporns.com/video/post‐party‐quickie‐for‐mommy‐jordi‐el‐nio‐polla‐cory‐chase‐h245a44ef0d1d7dc
http://www.veporns.com/video/teacher‐tease‐jordi‐el‐nio‐polla‐sam‐bourne‐blanche‐bradburry‐h24588f39add1dbf
http://www.veporns.com/video/the‐stranger‐bill‐bailey‐nicole‐aniston
http://www.veporns.com/video/im‐not‐a‐regular‐mom‐im‐a‐cool‐mom‐ryan‐keely‐xander‐corvus
http://www.veporns.com/video/cock‐in‐the‐stall‐danny‐d‐susy‐gala
http://www.veporns.com/video/a‐natural‐distraction‐hadley‐viscara‐charles‐dera

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DMCA Subpoena - Page 45
                Case 3:19-mc-05027 Document 1-2 Filed 07/24/19 Page 46 of 49
http://www.veporns.com/video/a‐hardcore‐massage‐from‐hell‐emily‐addison‐violet‐starr
http://www.veporns.com/video/pervert‐in‐the‐park‐keiran‐lee‐romi‐rain‐alexis‐fawx‐h245a44ef0acf0a4
http://www.veporns.com/video/midnight‐titty‐madness‐katrina‐jade‐bill‐bailey‐jessy‐jones‐h245a44eefe28a38
http://www.veporns.com/video/an‐open‐minded‐marriage‐cathy‐heaven‐mea‐melone‐chris‐diamond
http://www.veporns.com/video/girls‐who‐squat‐mandy‐muse‐ramon
http://www.veporns.com/video/pinkblot‐test‐monique‐alexander‐markus‐dupree
http://www.veporns.com/video/laying‐carpet‐krissy‐lynn‐xander‐corvus
http://www.veporns.com/video/gfs‐mom‐wants‐it‐bad‐parker‐swayze‐xander‐corvus
http://www.veporns.com/video/cleaning‐up‐his‐mess‐brandi‐love‐justin‐hunt
http://www.veporns.com/video/getting‐steamy‐phoenix‐marie‐lauren‐phillips‐angel‐smalls
http://www.veporns.com/video/holistic‐healing‐keiran‐lee‐britney‐amber‐h24588f37c5cace5
http://www.veporns.com/video/wet‐naughty‐sponge‐bath‐party‐ariella‐ferrera‐danny‐d
http://www.veporns.com/video/disobeying‐the‐mistress‐monique‐alexander‐keiran‐lee
http://www.veporns.com/video/preppies‐in‐pantyhose‐part‐2‐chanel‐preston‐van‐wylde
http://www.veporns.com/video/a‐run‐for‐his‐money‐felicity‐feline‐johnny‐castle
http://www.veporns.com/video/just‐jeans‐sarah‐banks‐xander‐corvus
http://www.veporns.com/video/babes‐violet‐starr‐house‐arrest‐h245a44eeb38d921
http://www.veporns.com/video/make‐me‐wet‐ella‐knox‐johnny‐sins
http://www.veporns.com/video/peeping‐the‐pornstar‐aletta‐ocean‐danny‐d
http://www.veporns.com/video/dr‐buttfucker‐alison‐tyler‐xander‐corvus
http://www.veporns.com/video/the‐floor‐massage‐kendall‐kayden‐danny‐mountain
http://www.veporns.com/video/banana‐nut‐muffin‐veronica‐avluv‐buddy‐hollywood
http://www.veporns.com/video/zz‐motel‐dicking‐the‐drifter‐kleio‐valentien‐charles‐dera
http://www.veporns.com/video/the‐coachs‐wife‐cory‐chase‐jmac
http://www.veporns.com/video/final‐exam‐slam‐session‐jessy‐jones‐lena‐paul‐h24592bf85c38c68
http://www.veporns.com/video/give‐the‐gift‐of‐dick‐adriana‐chechik‐markus‐dupree
http://www.veporns.com/video/lets‐get‐facials‐chanel‐preston‐monique‐alexander‐tommy‐gunn‐xander‐corvus
http://www.veporns.com/video/hung‐out‐to‐dry‐cassidy‐klein‐danny‐d
http://www.veporns.com/video/lets‐massage‐the‐babysitter‐dahlia‐sky‐alura‐jenson‐jean‐val‐jean‐h245a44eef770a04
http://www.veporns.com/video/oh‐no‐you‐dont‐audrey‐bitoni‐nicole‐aniston‐charles‐dera
http://www.veporns.com/video/good‐taste‐raven‐hart
http://www.veporns.com/video/diamond‐is‐your‐boss‐diamond‐jackson‐jordi‐el‐nio‐polla‐h245a44eee20538a
http://www.veporns.com/video/sweaty‐ass‐workout‐danny‐d‐sophia‐laure
http://www.veporns.com/video/taking‐artistic‐liberties‐mandy‐muse‐markus‐dupree
http://www.veporns.com/video/insubordinate‐sub‐bonnie‐rotten‐nicolette‐shea
http://www.veporns.com/video/horny‐and‐dangerous‐abigail‐mac‐johnny‐sins
http://www.veporns.com/video/mommygotboobs‐joslyn‐james‐late‐riser‐gets‐laid
http://www.veporns.com/video/prude‐and‐prejudice‐gina‐valentina‐india‐summer
http://www.veporns.com/video/yoga‐freaks‐episode‐six‐kimber‐woods‐jean‐val‐jean‐h245a44ef3ba7eae
http://www.veporns.com/video/dont‐touch‐her‐5‐valentina‐nappi‐keiran‐lee‐h245960a2b9cbc74
http://www.veporns.com/video/take‐me‐home‐jaye‐summers‐jmac
http://www.veporns.com/video/pop‐up‐cock‐aryana‐adin‐markus‐dupree
http://www.veporns.com/video/bubble‐butt‐jeans‐ramon‐summer‐brielle‐h24588f3dbf27839
http://www.veporns.com/video/kelly‐madison‐a‐hard‐day‐at‐work‐h245a4a24ed7e8f6
http://www.veporns.com/video/kneading‐a‐teen‐ramon‐dillion‐harper‐h2459b657afc1c01
http://www.veporns.com/video/rip‐my‐jeans‐keiran‐lee‐angela‐white
http://www.veporns.com/video/hold‐the‐phone‐kimmy‐granger‐bill‐bailey
http://www.veporns.com/video/kleio‐cassidy‐kleio‐valentien‐cassidy‐klein
http://www.veporns.com/video/freshen‐up‐and‐hookup‐ayumi‐anime‐honey‐gold‐h24596cb098ee117
http://www.veporns.com/video/boning‐her‐bodyguard‐isis‐love‐preston‐parker
http://www.veporns.com/video/here‐for‐oral‐support‐amber‐chase‐preston‐parker
http://www.veporns.com/video/tits‐thighs‐and‐office‐supplies‐kayla‐green‐danny‐d

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DMCA Subpoena - Page 46
                Case 3:19-mc-05027 Document 1-2 Filed 07/24/19 Page 47 of 49
http://www.veporns.com/video/break‐the‐sperm‐bank‐phoenix‐marie‐charles‐dera‐michael‐vegas‐h2458a979e4bce06
http://www.veporns.com/video/tearing‐up‐her‐rug‐monique‐alexander‐nat‐turnher
http://www.veporns.com/video/the‐biggest‐whore‐in‐hollywood‐august‐ames‐keiran‐lee
http://www.veporns.com/video/the‐slutwalker‐christie‐stevens‐jessy‐jones
http://www.veporns.com/video/a‐deep‐cleaning‐monique‐alexander‐johnny‐castle
http://www.veporns.com/video/making‐a‐good‐first‐impression‐misty‐stone‐keiran‐lee
http://www.veporns.com/video/whats‐taking‐her‐so‐long‐monique‐alexander‐xander‐corvus‐h245a44ef3a0c927
http://www.veporns.com/video/legend‐vs‐rookie‐alina‐west‐bridgette‐b‐h24589857bc704f7
http://www.veporns.com/video/the‐horniest‐woman‐on‐earth‐missy‐martinez‐xander‐corvus
http://www.veporns.com/video/yoga‐freaks‐episode‐eight‐xander‐corvus‐jessy‐jones‐sarah‐banks
http://www.veporns.com/video/moms‐twist‐of‐date‐diamond‐jackson‐jessy‐jones‐crystal‐rae‐h245a44ef028b538
http://www.veporns.com/video/soaking‐stepmom‐osa‐lovely‐markus‐dupree
http://www.veporns.com/video/nasty‐nuru‐ella‐nova‐toni‐ribas
http://www.veporns.com/video/queen‐vs‐pawn‐jordan‐pryce‐jordi‐el‐nio‐polla
http://www.veporns.com/video/first‐impressions‐jordi‐el‐nio‐polla‐jimena‐lago‐amber‐jayne‐h245937c32355fda
http://www.veporns.com/video/chasing‐that‐big‐d‐keiran‐lee‐bridgette‐b‐ava‐addams‐angela‐white‐h245a1580d309e8a
http://www.veporns.com/video/fireside‐fap‐cali‐carter‐keiran‐lee
http://www.veporns.com/video/smoothie‐slut‐joseline‐kelly‐bruce‐venture
http://www.veporns.com/video/arch‐support‐olive‐glass‐johnny‐sins
http://www.veporns.com/video/slippery‐scissoring‐ayumi‐anime‐darcie‐dolce
http://www.veporns.com/video/son‐needs‐a‐doc‐doc‐needs‐a‐cock‐alison‐tyler‐xander‐corvus
http://www.veporns.com/video/bridgette‐b‐get‐your‐head‐in‐the‐game‐pornstarslikeitbig
http://www.veporns.com/video/last‐sleepover‐ever‐darcie‐dolce‐violet‐starr‐h24593bb48fe800a
http://www.veporns.com/video/bed‐head‐breakfast‐eva‐lovia‐mick‐blue
http://www.veporns.com/video/never‐marry‐a‐milf‐michael‐vegas‐damon‐dice‐reagan‐foxx
http://www.veporns.com/video/theres‐a‐pornstar‐in‐my‐house‐nicole‐aniston‐jessy‐jones
http://www.veporns.com/video/cocktoberfest‐nina‐elle‐keiran‐lee
http://www.veporns.com/video/toying‐with‐a‐pornstar‐nikki‐benz‐danny‐d
http://www.veporns.com/video/you‐can‐cream‐on‐me‐rachel‐starr‐erik‐everhard‐anissa‐kate‐h24588f358392166
http://www.veporns.com/video/zz‐medical‐center‐bruce‐venture‐parker‐swayze‐h245a44ef3e5a864
http://www.veporns.com/video/the‐bookworm‐courtney‐taylor‐tony‐martinez‐h245a44ef2ac2e12
http://www.veporns.com/video/coming‐for‐candy‐candy‐alexa‐erik‐everhard‐h245a44eedfe5a29
http://www.veporns.com/video/infiltrating‐kim‐k‐lela‐star‐sean‐lawless‐h24588f50a47eb0c
http://www.veporns.com/video/can‐i‐crash‐and‐bang‐your‐mom‐cytherea‐jordi‐el‐nio‐polla
http://www.veporns.com/video/how‐do‐i‐look‐jaclyn‐taylor‐chad‐white
http://www.veporns.com/video/oily‐yoga‐kira‐noir‐johnny‐sins
http://www.veporns.com/video/hungry‐for‐a‐job‐rachel‐roxxx‐skyla‐novea‐jean‐val‐jean
http://www.veporns.com/video/california‐creaming‐kissa‐sins‐johnny‐sins
http://www.veporns.com/video/my‐stepdaughters‐secret‐danny‐d‐alessa‐savage‐h245916c668ab6f2
http://www.veporns.com/video/alexis‐and‐chanel‐alexis‐fawx‐chanel‐preston‐keiran‐lee
http://www.veporns.com/video/phoenix‐maries‐ass‐gets‐danny‐dd‐phoenix‐marie‐danny‐d
http://www.veporns.com/video/ladies‐of‐the‐night‐chelsey‐lanette‐tina‐walker‐danny‐d‐h245a44eef6c599c
http://www.veporns.com/video/scanner‐scandal‐jessa‐rhodes‐charles‐dera
http://www.veporns.com/video/pumping‐under‐pressure‐alina‐lopez‐johnny‐castle
http://www.veporns.com/video/ride‐it‐out‐abigail‐mac‐preston‐parker‐h24588f3c527b7fc
http://www.veporns.com/video/pornstar‐protection‐program‐alexis‐fawx‐prince‐yashua‐h245a084f82a3582
http://www.veporns.com/video/a‐madison‐massage‐august‐ames‐madison‐ivy‐h245a0eae7709833
http://www.veporns.com/video/breaking‐and‐scissoring‐adriana‐chechik‐aj‐applegate
http://www.veporns.com/video/fucking‐friends‐daddy‐kendall‐woods‐sean‐lawless
http://www.veporns.com/video/putting‐her‐tits‐to‐good‐use‐sara‐jay‐kyle‐mason‐h2458a979e47c1ab
http://www.veporns.com/video/burst‐on‐my‐balloons‐jessa‐rhodes‐keiran‐lee
http://www.veporns.com/video/the‐bra‐collector‐skyla‐novea‐jmac‐h245a0eae9fc684b

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DMCA Subpoena - Page 47
                  Case 3:19-mc-05027 Document 1-2 Filed 07/24/19 Page 48 of 49
http://www.veporns.com/video/bloodthirsty‐biker‐babes‐part‐2‐anna‐bell‐peaks‐felicity‐feline‐charles‐dera‐tommy‐gunn‐
h24595e08fb2f54f
http://www.veporns.com/video/stepmoms‐sweet‐glory‐hole‐diamond‐foxxx‐peter‐green‐h2459b657a72c8cf
http://www.veporns.com/video/house‐humping‐jessa‐rhodes‐keiran‐lee
http://www.veporns.com/video/massaging‐my‐stepmom‐xander‐corvus‐alexis‐fawx‐h245a44eefc7f908
http://www.veporns.com/video/tias‐sneaky‐steam‐tia‐cyrus‐johnny‐sins
http://www.veporns.com/video/stepmoms‐side‐hustle‐alura‐jenson‐eliza‐ibarra
http://www.veporns.com/video/doing‐double‐duty‐quinn‐wilde‐keiran‐lee
http://www.veporns.com/video/a‐mature‐magic‐jillian‐janson‐jessy‐jones
http://www.veporns.com/video/radiant‐booty‐2‐abella‐danger‐markus‐dupree
http://www.veporns.com/video/gamer‐heaven‐cathy‐heaven‐danny‐d‐h245937c3236f9b3
http://www.veporns.com/video/day‐with‐a‐pornstar‐nikki‐nikki‐benz‐johnny‐sins
http://www.veporns.com/video/not‐another‐happy‐ending‐missy‐martinez‐keiran‐lee‐h245a084f167e6b5
http://www.veporns.com/video/anal‐angel‐eva‐angelina‐keiran‐lee‐h2458d5fe0970db5
http://www.veporns.com/video/personal‐trainers‐session‐1‐keiran‐lee‐kendra‐lust‐h24588f3581eda1b
http://www.veporns.com/video/the‐wet‐blanket‐jenna‐j‐foxx‐danny‐d
http://www.veporns.com/video/the‐deans‐slut‐harlow‐harrison‐johnny‐sins
http://www.veporns.com/video/the‐bang‐ring‐part‐3‐anya‐olsen‐markus‐dupree‐h245a44ef2950b75
http://www.veporns.com/video/wedding‐planning‐pt‐2‐lauren‐phillips‐johnny‐sins
http://www.veporns.com/video/car‐wash‐coochie‐sean‐lawless‐harlow‐harrison‐h245a44eedf251bf
http://www.veporns.com/video/a‐side‐piece‐of‐pornstars‐alexis‐fawx‐monique‐alexander‐rachel‐starr‐keiran‐lee‐
h245a44eecd1fef0
http://www.veporns.com/video/zz‐courthouse‐part‐three‐peta‐jensen‐sean‐lawless‐h245a44ef3d4371b
http://www.veporns.com/video/the‐naughty‐nuru‐masseuse‐ember‐snow‐keiran‐lee
http://www.veporns.com/video/ice‐cream‐you‐cream‐kristen‐scott‐toni‐ribas
http://www.veporns.com/video/doing‐life‐and‐doing‐your‐wife‐misty‐stone‐xander‐corvus
http://www.veporns.com/video/bound‐to‐be‐pleasurable‐bridgette‐b‐eva‐notty‐kyle‐mason
http://www.veporns.com/video/santas‐twerkshop‐alena‐croft‐michael‐vegas
http://www.veporns.com/video/double‐cups‐with‐no‐make‐up‐dillion‐harper‐markus‐dupree
http://www.veporns.com/video/our‐valedick‐torian‐aspen‐rose‐johnny‐sins
http://www.veporns.com/video/fucking‐her‐uncanny‐valley‐bailey‐brooke‐keiran‐lee
http://www.veporns.com/video/the‐mile‐low‐club‐alix‐lynx‐charles‐dera
http://www.veporns.com/video/milf‐squad‐vegas‐the‐stakeout‐eva‐notty‐xander‐corvus‐h2458a979e2eb019
http://www.veporns.com/video/realitykings‐sienna‐day‐wet‐and‐ready‐mikesapartment‐h2458d5fd951fb22
http://www.veporns.com/video/hoes‐in‐pantyhose‐bill‐bailey‐karlee‐grey‐h2458d5fd9e0e2c0
http://www.veporns.com/video/button‐mashing‐sean‐lawless‐gina‐valentina
http://www.veporns.com/video/stormys‐secret‐stormy‐daniels‐keiran‐lee
http://www.veporns.com/video/turn‐me‐off‐and‐on‐again‐athena‐palomino‐keiran‐lee

I, the undersigned, do solemnly and sincerely declare and CERTIFY UNDER

PENALTY OF PERJURY that:

1. I am an agent authorized to act on behalf of the owner, being named “MG Premium Ltd", of exclusive intellectual
property rights that are allegedly infringed.

2. I have a good faith belief that the use of the materials in the manner complained of is not authorized by the copyright
owner, its agent, or the law.

3. To the best of my knowledge the information contained within this notice is accurate and correct.



                                                           43

DMCA Subpoena - Page 48
                  Case 3:19-mc-05027 Document 1-2 Filed 07/24/19 Page 49 of 49
4. I acknowledge that there may be adverse legal consequences for making false or bad faith allegations of copyright
infringement by using this process


Thank you very much

Signed,

Adam D’Ambrosio— DMCA Agent




An authorized representative for and on behalf of

MG Premium Ltd

195‐197 Old Nicosia‐Limassol Road,

Block 1 Dali Industrial Zone,

Cyprus 2540



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DMCA Subpoena - Page 49
